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                     EXHIBIT C
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        United States Patent                                                          ( 10 ) Patent No.: US 10,607,134 B1
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( 58 ) Field of Classification Search
         CPC                                          GOON 3/006                 Primary Examiner — Hal Schnee
         See application file for complete search history .
                                                                                 (57)                           ABSTRACT
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                                                                                 Aspects of the disclosure generally relate to computing
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                                                                                 devices, systems, methods, and /or applications for learning
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                                                                 Avatar
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                                                    10m
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Comparison of OpenGL and Direct3D , retrieved from <URL :                        22 , 2014 , 4 pages .
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DBA_TABLES , retrieved from <URL: http://wikipedia.com > on                      on Nov. 12 , 2014 , 3 pages.
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com > on Dec. 13 , 2014 , 7 pages.                                               Nov. 9 , 2014 , 5 pages.
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2014 , 7 pages .                                                                 2014 , 5 pages .
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software, retrieved from < URL : http://blog.mashape.com/list-of-50
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                    27
                                                                                                             Network Interface
                                                       APproligcatmosn DSpatcae                       16


                              Storage OS                                                                     Alternaive Memory
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                                             Cache
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                                                                                  Memory                                                                 Interface
 70DCoemvpuitceng                                                                                12
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                           and            AfCiurvtcoamnsrcue ACAAOUnit)(Operation OPrbocjescintg                                                   12



                                                                                                   Unit         AcquistonInterface Modifcaton Iterface Memory Storage
          21                                                                                                                                                                FIG
                                                                                                                                                                            2
                                                                                                                                                                            .


                        Display                                                                                                          Object Object Object        11



       DCoemvpuitceng                                                                                                    APprloicgartomn Avatr 615a 615b             18

                                            23                           Human machine Interface Proces r                               605
Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 9 of 133 PageID #: 328


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                  and            AfCiurvtcoamnsrcue ACAAOUnit)O(peration POrbocjescintg Recognizer                                                           12




                                                                              Picture                         AcquistonInterface Modifcaton Iterface              Memory Storage
        21                                                                                                                                                                              FIG
                                                                                                                                                                                        3
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               Display                                                                                                                         Object Object Object                11
                                                                                                                   PRiencdture APprloicgartomn
       DCoemvpuitcneg Human machine Interface Proces r
                         23                                                                                         91
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Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 10 of 133 PageID #: 329


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                  and            AfCiurvtcoamnsrcue ACAAOUnit)O(peration POrbocjescintg Recognizer                                                        12




                                                                  Unit
                                                                              Sound                           AcquistonInterface Modifcaton Iterface Memory Storage
        21                                                                                                                                                                    FIG
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               Display                                                                                                                                   Object Object   11
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       DCoemvpuitcneg Human machine Interface Proces r
                         23                                                                                         96                        605
                                                                                                                                                            615a         18
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                         6150                                 B
                                                                                                             615a

                                                                                                 Agent Smith

                                                              B



                                                   8m

                                                                                                       13m
                                                                  78 °
                                                        Avatar
                                            332
                                                                          211 °

                                                                  605
               615b

                                          10m
                                                              L
                                                              1




                                                        FIG . 5A
                                                                                                                          140

  ObjectProcessing Unit                                                                                             525
     Collection of ObjectRepresentations
               635aa 635ab 635ac 635ad                635ba 635bb 635bc                635ca 635cb 635cc
        Object Representation                     Object Representation ObjectRepresentation
         Type Identity Distance Bearing            Type Distance Bearing             Type Distance Bearing
         Person Agent Smith 13m      78            Rock 10m       211 °             Robot 8m       332 °

    630aa 630ab 630ac 630ad                     630ba 630bb 630bc                 630ca 630cb 630cc
                                     625a                            625b                             625c

                                                        FIG . 5B
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                                                        Arithmeic          UnitLogic
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                                       Proces r                                        211                           Memory
Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 13 of 133 PageID #: 332


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                                                               526

           Instruction Set
            Function (Parameter1 , Parameter2 , Parameter3, ... )
                                        FIG . 7A
                                                               526

           Instruction Set
            SELECT Coll , Col2 ... FROM T611 , Tb12 ... ;

                                        FIG . 7B
                                                               526

           Instruction Set
            iconst Value

                                        FIG . 7C
                                                               526

           Instruction Set
            add Register1 Register2

                                        FIG . 7D
                                                               526

           Instruction Set
            000000 00001 00010 00110 00000 100000

                                        FIG . 7E
Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 14 of 133 PageID #: 333


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                                                         525                   527

  Collection of Object Representations                         Extra Info
                                                               time info , location
                                                               info , computed
                                                               info , visual
                                                               info , acoustic
                                                               info , contextual
                                                               info , etc.
                                    FIG . 8A




                                                         526                   527

  Instruction Set                                              Extra Info
                                                               time info , location
                                                               info , computed
                                                               info , visual
                                                               info , acoustic
                                                               info , contextual
                                                               info , etc.
                                    FIG . 8B
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                               forveatmairn'gs   AfCiurvtcoamnsrcue Unit)ACAAO(Operation POrbocjescintg                                                                Storage
                                                                                                          Unit         AcquistonInterface Modifcaton Interface    12




                                                               18
                                                                                                                                                                       Memory
                                                                                                           Object Object Object                                                  FIG
                                                                                                                                                                                 9
                                                                                                                                                                                 .

                                                                                            PAprloigcatomn Avatar 615a 615b
                  Proces r                                                                                                  605

                 21
       DCoemvpuitceng Display Human machine Interface  23




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                                                              eration
                                                                                         Unit         AcquistonInterface Modifcaton Interface
        Network S e r v e r
                                                                                                                                                                      FIG
                                                                                                                                                                      10
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       70                               21       18                                                                                                     27


                         Display               11                                          Object Object Object      ***
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                                   23

               DCoemvpiutceng Human machine Interface Proces r             APprloigcatomn Avatr 615a 615b
                                                                                                                                                     Memory Storage
  50
Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 17 of 133 PageID #: 336


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                                                               615a     615b           18

             Processor
   605
                     Application Program
                       Avatar                Object Object            Object

                                                                                                  100

  ACAAO Unit                               140                 120                     130

                       Object                    Acquisition            Modification
                       Processing                Interface              Interface
                       Unit


      Artificial
      Intelligence                                                                          530
      Unit                                                     520
                                                                               Knowledgebase
                                  Knowledge Structuring Unit


                       Decision -making Unit

                                                               550

                                  Confimation Unit




                                                     FIG . 11
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                Object Processing                      Acquisition Interface            120
               Unit                                                                           520                 530

  Knowledge                                                                                             Knowledgebase
  Structuring Unit                                                                     800ax
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                   I Col of Ooi Rep                          Instruction Set          526a2
                                           3                 Instruction Set
                                          ?3 525a                                     526a1
                                                             Instruction Set
                  i Coll of Ob Rep                           Instruction Set


                                                                                       800ab
      Knowledge Cell
                                                                                       800aa
     Knowledge Cell

                                                        FIG . 12
Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 19 of 133 PageID #: 338


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                ObjectProcessing                    140    Acquisition Interface                 120
               Unit                                                                                    520                 530

  Knowledge                                                                                                      Knowledgebase
  Structuring Unit                                                                              800ax
      Knowledge
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                                                            FIG . 13
Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 20 of 133 PageID #: 339


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                Object Processing                Acquisition Interface            120
               Unit                                                                     520                 530

  Knowledge                                                                                       Knowledgebase
  Structuring Unit                                                               800ax
      Knowledge
      Cell
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             1 Col ofOb Rep                             Instruction Set
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                      Col of ObiRep                 }
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                                                        Instruction Set
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                      Coll ofOb Rep                     Instruction Set
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              Col of Ob Rep 3                                              3
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       525bn       ***                                                  152624
              CollofOb Rep                                               526a3
        525b1 CollofOb Rep
                                                        Instruction Set
                                                                         526a2
                           ***                          Instruction Set
       525an
                      Coll of ObiRep                    Instruction Set
                      Coll of Ob Rep
        525a1                                                                   526a1

                 i Col ofOb Rep                    i Instruction Set


                                                                                 800ab
      Knowledge Cell
                                                                                 800aa
     Knowledge Cell

                                                  FIG . 14
Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 21 of 133 PageID #: 340


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                ObjectProcessing              140   Acquisition Interface             120
               Unit                                                                         520                 530

  Knowledge                                                                                           Knowledgebase
  Structuring Unit                                                                  800ax
      Knowledge
     Cell                Coll of Ob Rep                    Instruction Set
                              ***         w
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                         Coll of Ob Rep                    Instruction Set !

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     Knowledge                                        w




     Cell                Collof Oo Rep                                         3

      525dn                               3                Instruction Set 526a6
       525d1             CollofOb Rep                      Instruction Set          526a5
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       525bn                  **                           Instruction Set 526a3
       525b1             Coll of Ob Rep                    Instruction Set          526a2
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     Knowledge
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       525ani
      525a1              CollofOb Rep                      Instruction Set          526a1


                                                     FIG . 15
Case 1:22-cv-01466-MN Document 1-3 Filed 11/07/22 Page 22 of 133 PageID #: 341


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        852          )0 (
 853
                                                                      853
                                              ?-?
                                                                            852

                  MBodel                                     MDodel
                                                                                     FIG
                                                                                     16
                                                                                     .




                  MAodel                                     MCodel
        852
  853

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                                                       852
              c
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                            800zb                             800cc

   Knowledge Cell                      Knowledge Cell
         Occurrences = 10                           Occurrences = 15
         Weight= 0.4                                Weight= 0.6

                 85321                                                     85322
                                       Knowledge Cell
                                                           800za

                                                FIG . 17A

                            800zb                             8003C                                800zd

   Knowledge Cell                      Knowledge Cell                      Knowledge Cell
         Occurrences = 10                               Occurrences = 15           Occurrences = 1
         Weight= 0.385                              Weight=0.577                   Weight=0.038
                                                                                               85323
                                                                           85322
                  8531                 Knowledge Cell
                                                           800za
                                                FIG . 17B

                            800zb                            B003c                                 800zd
   Knowledge Cell                      Knowledge Cell                      Knowledge Cell
         Occurrences = 11                               Occurrences = 15           Occurrences = 1
         Weight=0.407                               Weight= 0.556                  Weight= 0.037
                                                                                              -85323
                 85371                                                     85322
                                       Knowledge Cell
                                                           800za
                                                FIG . 17C
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                                                                                                                                                                                530d
                                      Knowledg   Cell



                 80 ce Knowledg Cel
                 80 cd KnowledgCell
                                                                                                                                                                                       18
                                                                                                                                                                                       .
                                                                                                                                                                                       FIG
                 80 C Knowledg
                                             Cel
                  80 cb Knowledg Cel
  CofKonlewlcetdigosne 80 ca          Knowledg   Cell



                                                        KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing            Unit
                                                                                                                                                                                520
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                             Layer :854e Layer                                Layer Layer                                Layer Layer                                        530a
                                                                       854d                                      8546                    854b                    854a
                             KCnoewledlge 80 e CKnoewledlge 80 ed CKnoewl dlge 80 ec CKnoewl dlge                       853e2 80 eb
                                                                    8.53e4
                                                                                          8 5 3 e
                             KCnoewl dlge            CKnoewl dlge             KCnoewl dlge CKnoewl dlge                  CKnoewl dlge           853e1 80 ea
                                                                              CKnoewl dlge        CKnoewl dlge            CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                                   19
                                                                                                                                                                                   .
                                                                                                                                                                                   FIG
                             KCnoewl dlge *** CKnoewl dlge                    CKnoewl dlge        CelKnowledge           CKnoewl dlge             CKnoewledlge

                                                                                                  CKnoewl ldge            CKnoewlidlge            CKnoewl ldge
                                                    CeKnowledge               CKnoewl dlge        KCnoewl dlge
  Netuwroalk
                                                                                                                                                                             125
                             KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dtge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                            520
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                             Layer :854e Layer                          Layer Layer Layer Layer                                                             530a
                                                                   854d            8546 854b 854a
                             KCnoewledlge           CKnoewl dlge      CKnoewl dlge       CKnoewl dlge
                                                   CKnoewl dlge       CWhoewl dlge       CKnoewl dlge         CKnoewl dlge    853
                                                                                                                                                 800

                             KCelnowledge   ***    CKnoewl dlge       CKnoewl dlge       KCnoewl dlge        CKnoewl dlge         CKnoewl dlge
                                                                                                                                                                   20
                                                                                                                                                                   .
                                                                                                                                                                   FIG
                                                                                         CKneowledge         CKnoewl dlge         CKnoewledlge

                             KCelnowledge          KCnowel ldge       CKnoewlidlge       CeiKnowledg          CKnoweldlge         CKnoewl ldge
                                                                      KCnoewl dlge       KCnoewl dlge
  Netuwroalk
                             KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                            520
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                                                                         80 he KCnoewldlge                     CelKnowledge
                                                                                                                                                                530b

                                            80 hd CKnoewldlge
                                                                              853h4
                             KCnoewl dlge                              853h                                                              CKnoewl dlge
                                                                                                                                                      8 0 h a
                                                                                             80 c
                                                                                                CKnoewl dlge                     853h1
                                                                                                                                                                       21
                                                                                                                                                                       .
                                                                                                                                                                       FIG
                              CKneowldgse                                                      KCnoewl dlge                   853h2
                                                        KCnoewl dlge                                           CKnoewl dlge CKnoewl dlge
                                                                                                                                         8 0 h b

                             KCnoewl dlge
  Graph

                             KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                520
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                                                                                                                                                                      530c
                             Sequnce    CKnoewledlge   :
                                                              CKnoewl dlge     CKnoewl dlge        CKnoewl dlge        KCnoewl dlge         CKnoewledlge



                    Sequnce            CKnoewledlge           CKnoewl dlge     CKnoewl dlge        KCnoewl dlge         CKnoewl dlge        CKnoewl dlge 533

                             CKnoewledlge KCnoewl dlge CKnoewl dlge KCnoewl dlge CKneowledlg CelKnowledge
                    Sequnce                            ***                                                                                                                   FIG
                                                                                                                                                                             22
                                                                                                                                                                             .




                    Sequnce  K
                             C n oew l   dlg e K
                                               C n o
                                                   e w l
                                                       :
                                                         dlg e K
                                                               Cn o
                                                                  e wl  dl
                                                                         g e  K
                                                                              C n o
                                                                                  e w l dlg e     CKnoewledlge KCnoewl dlge

                               K
                               C n o
                                   e w l d l
                                           g e K
                                               C n o
                                                   e w l dlg e K
                                                               C n o
                                                                   ew l  dlge C
                                                                              K n e
                                                                                  o  w l e dl g e  K
                                                                                                   C n o
                                                                                                       e w l dlg e K
                                                                                                                   C n o
                                                                                                                       e w l dlg e
  CofSoelqucetnioes Sequ nce

                                       KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
  KnowledgStruc ing   Unit
                                                                                                                                                                      520
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                                                                                                                                                                                                                530d
         Knowledg          Cell
                                                                                                                    ***
   80 c Knowledg           Cell
   80 ob Knowledg
                           Cell

   80 a                                                              526a 526a5                                                          526 4 526a3 526a2 526a1
                                      SetInstruction                                ISet|nstruction ISnsteruction                                  SetInstruction SInsteruction SetInstruction SetInstruction
                                                                                                                                                                                                                 23
                                                                                                                                                                                                                 .
                                                                                                                                                                                                                 FIG


                                                       52 a5                52 a4                                         52 a3          52 a2                            52 a1
  CofKonlewlcetdigosne CKnoewl dlge ColofObRep           98       Col
                                                                  of
                                                                  Rep
                                                                  Obi                                  Col
                                                                                                       Obj
                                                                                                       of
                                                                                                       Rep                        Coll
                                                                                                                                  Ob
                                                                                                                                  of
                                                                                                                                  Rep              Coll
                                                                                                                                                   Rep
                                                                                                                                                   Obj
                                                                                                                                                   of                                                Col
                                                                                                                                                                                                     Obj
                                                                                                                                                                                                     of
                                                                                                                                                                                                     Rep




                                                                                                                                                                                                                540
  Decison -making                                                                                                                                                                                                125
                                                           52515 ColofObjRep 52 14 CollofObiRep 52 13 CollofObjRep 52 12 CollofObjRep 5251 CollofObjRep
  ObjectProces ingUnit                Coll
                                      Rep
                                      Obj
                                      of
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                                                                                                                                                                                                                530d
                  Knowledg Cell
                                                                                                                    ***
   80 c Cell
   80 ob Knowledg
                  Cell

   80 a                                                              526a 526a5                                                          526 4 526a3 526a2 526a1
                                      SetInstruction                                ISet|nstruction ISnsteruction                                  SetInstruction SInsteruction SetInstruction SetInstruction
                                                                                                                                                                                                                 24
                                                                                                                                                                                                                 .
                                                                                                                                                                                                                 FIG


                                                       52 a5                52 a4                                         52 a3          52 a2                            52 a1
  CofKonlewlcetdigosne CKnoewl dlge ColofObRep           98       Col
                                                                  of
                                                                  Rep
                                                                  Obi                                  Col
                                                                                                       Obj
                                                                                                       of
                                                                                                       Rep                        Coll
                                                                                                                                  Ob
                                                                                                                                  of
                                                                                                                                  Rep              Coll
                                                                                                                                                   Rep
                                                                                                                                                   Obj
                                                                                                                                                   of                                                Col
                                                                                                                                                                                                     Obj
                                                                                                                                                                                                     of
                                                                                                                                                                                                     Rep




                                                                                                                                                                                                                540
  Decison -making                                                                                                                                                                                                125
                                                                                                                                                                                                   11




                                                           52513 ColofObjRep 52 12 CollofObjRep 52 1 CollofObjRep 52 1 CollofObRep 5251 CollofObjRep                                                            140
  ObjectProces ingUnit                Coll
                                      Rep
                                      Obj
                                      of
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                                                                                                                                                           530d
                              CKnoewledlge CollofObiRep          Coll
                                                                 Obi
                                                                 of
                                                                 Rep               Coll
                                                                                   Obi
                                                                                   of
                                                                                   Rep            Coll
                                                                                                  Obi
                                                                                                  of
                                                                                                  Rep              Coll
                                                                                                                   Obj
                                                                                                                   of
                                                                                                                   Rep                  of
                                                                                                                                        Coll
                                                                                                                                        Rep
                                                                                                                                        Obj




                                                                   52 d5 52 d4 52 d3 52 d2 52 01
              80 rd CKneowledge CollofObjRep                     of
                                                                 Coll
                                                                 Rep
                                                                 Obi               Coll
                                                                                   Obi
                                                                                   of
                                                                                   Rep            Coll
                                                                                                  of
                                                                                                  Ob
                                                                                                  Rep              Col
                                                                                                                   Rep
                                                                                                                   Obi
                                                                                                                   of                   Coll
                                                                                                                                        Rep
                                                                                                                                        Obi
                                                                                                                                        of



              80 rc KCelnowledge CollofObiRep             ***    Coll
                                                                 Obi
                                                                 of
                                                                 Rep              Coll
                                                                                  Obi
                                                                                  of
                                                                                  Rep             Coll
                                                                                                  Obi
                                                                                                  of
                                                                                                  Rep              Coll
                                                                                                                   of
                                                                                                                   Obi
                                                                                                                   Rep                  Coll
                                                                                                                                        of
                                                                                                                                        Obi
                                                                                                                                        Rep        52 c1          FIG
                                                                                                                                                                  25
                                                                                                                                                                  .


              80 rb CelKnowledge CollofObiRep             :


                                                                 Coll
                                                                 Rep
                                                                 Obi
                                                                 of                Coll
                                                                                   Obj
                                                                                   of
                                                                                   Rep            Coll
                                                                                                  of
                                                                                                  Rep
                                                                                                  Ob               Coll
                                                                                                                   Obi
                                                                                                                   of
                                                                                                                   Rep                  Coll
                                                                                                                                        Obi
                                                                                                                                        of
                                                                                                                                        Rep
                                                                                                                                                   52 02
  CofKonlewlcetdigosne 80 ra CKnoewledlge       Col
                                                Obi
                                                of
                                                Rep       & o    Coll
                                                                 Rep
                                                                 Obi
                                                                 of                Obi
                                                                                   of
                                                                                   Coll
                                                                                   Rep            Col
                                                                                                  Rep
                                                                                                  Obi
                                                                                                  of               Col
                                                                                                                   Obi
                                                                                                                   of
                                                                                                                   Rep                  Coll
                                                                                                                                        of
                                                                                                                                        Obi
                                                                                                                                        Rep



  Decis on -making                                                                                 ? ?                                                      125
                                                     52515 CollofObRep 52 14 CollofObiRep 52 13          52 12 CollofObiRep 52 1 CollofObiRep              140
  Object   Procesing                            Coll
                                                Obi
                                                of
                                                Rep                                               Coll
                                                                                                  of
                                                                                                  Rep
                                                                                                  Ob
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                             Layer                                     Layer                     Layer                       Layer                    Layer                     Layer                 530a
                                                            854e                       854d                                                 854c                     854b                      854a
                                                                                                  CKnoewl dlge               KCnoewl dlge
                                                                       CKnoewl dlge               CKnoewl dlge               KCnoewl dlge             KCelnowledge              CKneowledlge
                                                                                      0.25                                                                            0.35
                                                                                      0.75 Cell
                                                                                                                 80 td
                                 CKnoewl dlge                                                    KCnoewl dlge                KCnoewledlge             CKnoewl dlge 0.35 CKneowledlge 80 ta
                                                                       KCnoewledlge 85314 853t                     0.80
                                                                                                                                                                    8 5 3 t 1
                                                            80 te                                CKnoewledlge      0.20      CKnoewl dlge CKnoewl dlge KCnoewledlge
                                                                                                                                              1
                                                                                                                                                                      0.30                                   FIG
                                                                                                                                                                                                             26
                                                                                                                                                                                                             ,


                                                                                                80 tc 80 tb  8 5 3 t 2
                                 CKnoewl dlge                          KCnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge

  Netuwroalk                     CKnoewledlge               .

                                                                       KCnoewledlge              KCnoewl dlge                KCnoewl dlge
                                                                                                                                                                                                      540
  Decison -makingUnit                                                                                                                                                                                  125
                                                                                                                                                                                                      140
  Object Unit  Procesing   Col
                           Ob
                           of
                           Rep                  CObi
                                                 Repol of
                                                            :


                                                                    525en Obj
                                                                    Coll
                                                                    Ob
                                                                    of
                                                                    Rep   525e1
                                                                          Rep
                                                                          of
                                                                          Col                 525dn
                                                                                              Rep
                                                                                              Ob
                                                                                              of Cal
                                                                                              Col   52501
                                                                                                    Rep
                                                                                                    Ob
                                                                                                    of                    525cn Col
                                                                                                                          Obi
                                                                                                                          of
                                                                                                                          Coll
                                                                                                                          Rep   52501
                                                                                                                                Rep
                                                                                                                                Obi
                                                                                                                                of
                                                                                                                              ***
                                                                                                                                                   525bn
                                                                                                                                                   Rep
                                                                                                                                                   Obj
                                                                                                                                                   of 5251
                                                                                                                                                   Coll  Rep
                                                                                                                                                         Ob
                                                                                                                                                         of
                                                                                                                                                         Coll                525an Col
                                                                                                                                                                             Coll
                                                                                                                                                                             Ob
                                                                                                                                                                             of
                                                                                                                                                                             Rep   of
                                                                                                                                                                                   525a1
                                                                                                                                                                                   Rep
                                                                                                                                                                                   Obi
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                                                                                                                                    KCnoewl dlge 80 ub                                530b
                                                   80.15 53u1                                                           0.60 0.30
                         80 ua KCnoewldlge                                           CKnoewl dlge
                                                                                                                                           0.10
                                                   0.85                                                         85302
                                                                                                                                    CKnoewledlge           KCnoewl dlge

                                                           CKnoewl dlge                             80 uc CKnoewldlge
                                    CKnoewledlge                  80 ud   0.20 CKnoewl dlge
                                                                                                             853u 8534                                                                       27
                                                                                                                                                                                             .
                                                                                                                                                                                             FIG

                                                                                                      0.80
                                                                                                                                    CKnoewl dlge
                                                                                                                                                   80 ue
                                    CKnoewl dlge                                     CKnoewl dlge
  Graph
                                                                                                                                                                                      540
  Decison -making Unit                                                                                                                                                                 125
                                                                                                                                                                                      140
        Procesing
  Object Unit                  Coll
                               of
                               Ob
                               Rep Col
                                    Ob
                                    of
                                    Rep
                                        *** Coll
                                            525en Col
                                            Ob
                                            of
                                            Rep   Obi
                                                  of
                                                  525e1
                                                  Rep                                   5250n Col
                                                                                        Rep
                                                                                        Ob
                                                                                        of
                                                                                        Col   52501
                                                                                              Rep
                                                                                              Ob
                                                                                              of                 525cn Col
                                                                                                                 Coll
                                                                                                                 Obi
                                                                                                                 of
                                                                                                                 Rep   525c1
                                                                                                                       Rep
                                                                                                                       Obj
                                                                                                                       of              525bn Col
                                                                                                                                       Rep
                                                                                                                                       Ob
                                                                                                                                       of
                                                                                                                                       Col   5251
                                                                                                                                             Rep
                                                                                                                                             Ob
                                                                                                                                             of              ColofO5b2j5Raenp Coll
                                                                                                                                                                              of
                                                                                                                                                                              525a1
                                                                                                                                                                              Rep
                                                                                                                                                                              Ob
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                                                                                                                                                                    530c
                                       CKnoewledlge             CKnoewledlge      KCnoewledlge       CellKnowledge      KCnoewledlge          CKneowledge
                         Sequ nce                     ***




                                                                     80 de 80 d 80 dc 80 db 80 da
          53 wd                        KCnoewl dlge             CKnoewledlge      KCnoewledlge        CKnoewledlge      CKnoewl dlge          CKnoewl dlge
                         Sequnce
                   53 WC Sequ nce KCnoewldlge                   CKnoewledlge      KCnoewl dlge        KCnoewl dlge      CKnoewl dlge          CKnoewl dlge 80 ca           FIG
                                                                                                                                                                           28
                                                                                                                                                                           .


                   53 wb Sequ nce CKnoewledlge        en 3      CKnoewledlge      CKnoewledlge       CKnoewledlge       CKnoewl dlge          CKnoewl dlge
                                                                                                                                                           8 0 cb

  CofSolequctnioes 53 wa Sequ nce CKnoewledlge        :

                                                                CKnoewledlge      CKnoewl dlge        KCnoewl dlge      KCnoewledlge          CKnoewl dlge
                                                                                                                                                                     540
  Decison -making Unit                                                                                                                                                125
                                                                                                                                                                     140
         Procesing
  Object Unit                       Coll
                                    of
                                    Ob
                                    Rep Col
                                         Ob
                                         of
                                         Rep
                                             *** Coll
                                                 525en Col
                                                 Ob
                                                 of
                                                 Rep   Obi
                                                       of
                                                       525e1
                                                       Rep                     5250n Col
                                                                               Rep
                                                                               Ob
                                                                               of
                                                                               Col   52501
                                                                                     Rep
                                                                                     Ob
                                                                                     of           525cn Col
                                                                                                  Coll
                                                                                                  Obi
                                                                                                  of
                                                                                                  Rep   525c1
                                                                                                        Rep
                                                                                                        Obj
                                                                                                        of           525bn Col
                                                                                                                     Rep
                                                                                                                     Ob
                                                                                                                     of
                                                                                                                     Col   5251
                                                                                                                           Rep
                                                                                                                           Ob
                                                                                                                           of          ColofO5b2j5Raenp Coll
                                                                                                                                                        of
                                                                                                                                                        525a1
                                                                                                                                                        Rep
                                                                                                                                                        Ob
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 100
 130                                                                                                            11

                                              215
                                                    Arithmeic          UnitLogic
                                                                                                        214

                                                     DInestcroudeirn                     RAergisateyr
                                                                                                                           FIG
                                                                                                                           29
                                                                                                                           .


                                                                                   213
                                                    IRnestgriucteonr
                                                                                   212                                    12

       MAUCnAitO Iondtifercaon                      CPorungtream
                                   Proces r                                        211                           Memory
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                                                                                   9130Step                                                                                                9135Step                                                                                                                                          9140Step                                                                                                                                                                                                 9145Step



             ranewcofoeStep9125pblrejsicvnetacinogts                         orofcthefwepblijsernctsaihotns                                          mapisatlthattdeahrtaemicsrnahtelg ocofandthefrebplijsercntsaiotns                                                                                    setsformoreioneorthefenxsitrcu tsiotngfthewcaopivreatlsaihtenrdg
                                                       oofcnewtheblmjpeactritong                                                                                                                                                                                                                                                                                                                                                                                                            o,oneormorebytheapevrfaotrimaonrsgoneormorebythefdsetsforineisftriucnsteitodn thefwcaopivreartlsaihtenrdg
                                                                                                                                                                          bthenewcofoeltjewcteicont
                                                                                                                                                                                                                                                                                                                                                                             coforepbljscnetaions                                                                                                                                                                                                  crofoepblsjncetaions
                                                                                                              repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          30




 M9e1th0od
                       rofocafepbilsjernctvasinotgs                                      setsforimoreoneorfanrseitcruitvsotng                                                                                                                                                                                                                                                            thescfrofoetpblijsercnitsaotgnssetsimoreoronefwiththecnStep9120soitrruecltsaiotend
                                                                                                                                                                                                           ofocthefblrijercatsiotngmoreoneorfwithther9115Stepepisrentsationsiforostheanpvetrautcaisnorg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      otheaforpveratainrg
                                                                                                                           aano9110Stepvpeartairng
                                            9105Step
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                     9220Step                                                                                                                                                                                                                                                    9230Step                                                                                                                                                                                            9235Step



                                                       setsforiormoreaonethefnsticrupastitongfwthecaoipvreatlsahienrdg rofoconatbeplajsenctaei9225Stepodofctthenewnbomsplaeatrwcatecisoahntlofcthefandroeplibsrjecntsaiconts                    setsforimoreoneorftheenxsitrcutsiontgfthewcaoivpreatlsahitenrdg
             roofanewcepblsjenictva ontgs                                                                                                                                                                                                                                                                                                                                                                                     oneormore,bytheapoevrfaotrmiaonrgsoneormorebythefdsetsforineisftriucnsteitodnthefcwaopvireartlsaihtenrdg
                                                                                                                                                                                                                                                                                                              crofoeplbjscnetaions                                                                                                                                                                                                       coforepbljscnetaions
                                                                                                                                                                                                                           roepbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .




 M9e2th0od

                      rofocafepbilsjernctvasinotgs                                                                                                       forsetsimoreoneorfnarseitcruitvsotng                                                                                                                               cftlrofoepbiahjsrenctsaieotgnssetsimoreoronefwiththec9215nSteposirtrueclstaiotend
                                                                                                                                                                                                                                                                                                                                                                                                        atheoforpveartainrg
                                                                                                                                                                                            aano9210Stepvpeartairng
                                            9205Step
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                   9325Step                                                                             9S3te0p


                                                                                                                                                                                                                                 9Sofcsoftheandr3ltepirecstin5spaotmions                                                                                                                        octheawithsfS9pvrtei3artle4asinp0etrmgd                                                                                                                                                                                9Ssthefwcat3oirvp4eartls5pahmierndg
             ofocranewsebltcjrietvcaontmgs                         oofcsthenewbltmjrepcatricotnmsgcofthefrwoeltpirscentisaohtmns                                           mapisatltthatdeahrtaemicsrnahtelg thenewsbofocetlrjwcetiaconmts                                                                                                                 iforsormeonethefnxietorcutrsieontg                                                                                                                                                      oneormoreo,bytheapevrfaotrimaonrsgsetsforoneormoreibythefdnesitfriucnsteitodn
                                                                                                                                                                                                                                                                                                                                                                                                                                   ofcroeplbjscnetiaotsn                                                                                                                                                                                               ofcorelpbjscnetiaotsn
                                             repsntaio roeofpbsjnteaciotns                                                                                                                                                                                             roepbjsnetacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               32




 M9e3th0od
                    ofocsrafeblticjretvsicaontmgs                                                              setsforimoreoneorfanrseitcruitvsotng                                                                                                      ofocsthefbltirjercltasicotnmsg                                                                                                                                                   oofcstheftbliojrectiscaontmgsmoreorfonethewcrStep9eoip 3rsetnl2sahti0eodnsforsitheaonpvetarutcaisnorg
                                                                                                                                                                                                                                                                                    moreoneorfwithther9315Stepepisrentsationsiforostheanpvetrautcaisnorg
                                                                                                                                                 aano9Stepvpea3rt1airn0g
                                             S9rept3se0ntap5ions
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                    9425Step                                                       9Step430                                                                                                9435Step                                                                                                                                         9440Step                                                                                                                                                                                                  9S4te5p



                                                                             orofcthefwepblijsernctsaihotns                                          mapisatlthattdeahrtaemicsrnahtelg oofcandthefrebplijsercntsaiotns                                                                                    forsetsmoreioneorthefenxsitrcu tsiotngfthewcaopirel tcashienodg                                                                                                                         oneormore,bytheaperlfiocramtinog onebythefdoormpeiofratrnsioetds cthefwoforbiljertcasihetodn
             roofanewcepblsjenictva ontgs              oofcnewtheblmjpeactritong                                                                                          bthenewcofoeltjewcteicont                                                                                                                                                                                                                                                                                                                                              iforostheanpetlriuactisnog
                                                                                                                                                                                                                                                                                                                                                                            crofoepbljsncetaiotns
                                                                                                              repsntaio repsntaio                                                                                                                                                                                                                                                                                                                                                                                                                                                                repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             33
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             FIG




 M9e4th0od

                      rofocafepbilsjernctvasinotgs                                       setsforimoreoneorfanrseitcruitvsotng
                                                                                                                                                                                                          cofothefblrijerlcatsiotngmoreoneorfwithther9415Stepepisrentsationsisforotheanpetlriuatc sinog                                                                                   thescfrofoetpblijsercnitsaotgnssetsimoreoneorthefwithcnStep9420soitrurecltsaiotend
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           aforothepelriactinog
                                                                                                                          aano9pSle4tirca1etio0npg
                                            9405Step
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                    9520Step                                                                                                                                                                                                                                                  9530Step                                                                                                                                                                                                          9535Step




                                                       iforsoneormathefntieorcutrpasieotngfthewcaopirel tcasihenodg onatbrofoceplajsenctai9525Stepodofctthenewbnmpalsoealtrewacteicsaohtnlofcthefandroeplibsjrecntsaiconts                    forisetsmoreoneorftheenxsitrcutsiontgfthewcaopirel tcashienodg                                                                                                                     oneormore,bytheaperlfiocramtinog dooneormbythefpeiofratrnisoetds iforostheanpetlriuactisnogcthewfoforlbijertlcascihetodn
             roofanewcepblsjenictva ontgs
                                                                                                                                                                                                                                                                                                               coforepbljscnetaions
                                                                                                                                                                                                                         roepbsjnteacios                                                                                                                                                                                                                                                                                                              repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  34
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FIG




 M9e5th0od

                      rofocafepbilsjernctvasinotgs                                                                                                       setsforimoreoneorfnarseitcruictvsotng                                                                                                                              cftlrofoepbiahjsrenctsaieotgnssetsmoreioneorfwiththec9515nSteposirtrueclstaiotend
                                                                                                                                                                                                                                                                                                                                                                                                          aotheforpelriactinog
                                                                                                                                                                                             aanop9Slei5trca1eion0pg
                                            9505Step
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                    9625Step                                                                            9Step630                                                                                                                                                                                                                                                                             9640Step                                                                                                                                                                                                       9645Step


                                                                                                                                                                                                                                  9Stepofcsfotheandr6lteipr3cstein5saotmions
             ofocranewsebltcjrietvcaontmgs                         oofcsthenewbltmjrepcatricotnmsgcofthefrwoeltpirscentisaohtmns                                           mapisatltthatdeahrtaemicsrnahtelg thenewsbofocetlrjwcetiaconmts                                                                                                                    iforsoneormethefnxietorcutrsieontgthefwcaopirel ctasihenodg                                                                                                              oneormorea,bytheperlfiocramtinogoneormorebythefdopeifratnsioetds iofsatnpelorhiuactresinog ofcsthefwotlirerctlsaiohtenmds
                                                                                                                                                                                                                                                                                                                                                                                                                            sofcoretplbrjsecntaiomtsn
                                             repsntaio roeofpbsjnteaciotns                                                                                                                                                                                                 roepbjsnetacios                                                                                                                                                                                                                                                                                                                                                                         roepbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     35




 M9e6th0od
                    ofocsrafeblticjretvsicaontmgs                                                              setsforimoreoneorfanrseitcruitvsotng                                                                                                         ofocsthefbltirjercltasicotnmsg                                                                                                                                     oofcstheftbliojrectiscaontmgsmoreoneorthefwcrStep9620eopirsetnlsahtieoiosfordntheanspetlriuatc isnog
                                                                                                                                                                                                                                                                                       onemoreorfwithther9615Stepepirsenstationsisforotheanpetlriuatc sinog
                                                                                                                                                aano9pSle6tirca1etio0npg
                                             S9rept6se0ntap5ions
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 18a




                                                             16m
                                                       615a 61
                                            605a                                            36
                                                                                            .
                                                                                            FIG
                                                                                             000000




            OR X

           OSS SORR
                      COR QR

                       RR RRRR
                                           615ac WIN           °
                                                               329
                                                                                913

                                                                                      18m
                                                                        615ab
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 18b




         615ba        289m
                                                       615b
                                                               154m

                                                                                             37
                                                                                             .
                                                                                             FIG

                               80                 56

                                                                        186
                                       605b
                                                         331
                                                         °


                                               103m
                                                                         141m
                                                                         .

                               615bd
                                                                615bc
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 18b




            615ba       LL
                             289m                                                            1



                    W



                                                            615b
                                                                    154m

                                                                                                  38
                                                                                                  .
                                                                                                  FIG

                                    80                 56

       os
                                                                             186
                                            605b
                                                              331
                                                              °


                                                    103m
                                                                              141m
                                                                              .

                                    615bd
                                                                     615bc
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  18C        450
                                                                                                             13


  PPP



   1

  1
                                                                                                  M.         12
                                                                                                             11
                                                                                                             10
                                                                                                             9
                                                                                                             8
                                                                                                             7


                                                605 2                   605c3                    manMA




                            605 1                                                                  PA
                                                                                                        ..        FIG
                                                                                                                  .
                                                                                                                  39


   1                                                        61502
  EL
                                        61501                                   61503            mom




                                                                                                             6
                                                                                                             5
                                                                                                             4
                                                                                                             3
                                                                                                             2
                                                                                                             1

  1




   29




 101    10         9   8            7                               4       3           2    1
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                                                    US 10,607,134 B1
                       1                                                                           2
      ARTIFICIALLY INTELLIGENT SYSTEMS,                            The artificial intelligence unit may be further configured to :
     DEVICES , AND METHODS FOR LEARNING                              cause the processor circuit to execute the first one or more
             AND /OR USING AN AVATAR'S                            instruction sets for operating the avatar of the application
        CIRCUMSTANCES FOR AUTONOMOUS                              correlated with the first collection of object representations,
                   AVATAR OPERATION                            5 the causing performed in response to the anticipating of the
                                                                  artificial intelligence unit , wherein the avatar of the appli
                            FIELD                                 cation performs one or more operations defined by the first
                                                                  one or more instruction sets for operating the avatar of the
    The disclosure generally relates to computing devices 10 application         correlated with the first collection of object
 and /or systems. The disclosure includes devices , appara representations .
 tuses, systems, and related methods for providing advanced          In certain embodiments, the processor circuit includes one
 learning, anticipating, decision making , automation , and /or or more processor circuits . In further embodiments , the
 other functionalities .                                          application includes a computer game, a virtual world , a 3D
                                                                   graphics application , a 2D graphics application , a web
                   COPYRIGHT NOTICE                            15 browser, a media application , a word processing application ,
                                                                  a spreadsheet application , a database application, a forms
    A portion of the disclosure of this patent document based application , an operating system , a device control
 contains material which is subject to copyright protection . application , a system control application , or a computer
  The copyright owner has no objection to the facsimile application . In further embodiments, at least one of: the
 reproduction by anyone of the patent document or the patent 20 processor circuit, the memory unit, or the artificial intelli
 disclosure as it appears in the Patent and Trademark Office         gence unit of the system are part of a single computing
 patent file or records, but otherwise reserves all copyright        device .
 rights whatsoever.                                                    In some embodiments , the memory unit includes one or
                                                                    more memory units. In further embodiments, the memory
                        BACKGROUND                               25 unit resides on a remote computing device or a remote
                                                                    computing system . The remote computing device or the
    Applications and/or avatars thereof commonly operate by remote computing system may include a server, a cloud , a
 receiving a user's operating directions in various circum          computing device , or a computing system accessible over a
 stances . Instructions are then executed to effect the operation network or an interface .
 of an application and /or avatar based on user's operating 30 In certain embodiments , the artificial intelligence unit
 directions. Hence, applications and / or avatars rely on the includes a circuit , a computing apparatus, a computing
 user to direct their behaviors. Commonly employed appli            system , or a hardware element. In further embodiments, the
 cation and /or avatar operating techniques lack a way to learn artificial intelligence unit includes an application . In further
 operation ofan application and /or avatar and enable autono        embodiments , the artificial intelligence unit is coupled to the
 mous operation of an application and/or avatar.                 35 memory unit. In further embodiments , the artificial intelli
                                                                    gence unit is a hardware element that is part of, an appli
                           SUMMARY                                  cation operating on , or an element coupled to the processor
                                                                    circuit. In further embodiments , the artificial intelligence
    In some aspects , the disclosure relates to a system for unit is part of or coupled to the application . In further
 learning and using an avatar's circumstances for autono- 40 embodiments , the artificial intelligence unit is part of or
 mous avatar operating . The system may be implemented at coupled to the avatar of the application . In further embodi
 least in part on one or more computing devices. In some ments, the system further comprises: an additional processor
 embodiments, the system comprises: a processor circuit circuit , wherein the artificial intelligence unit is a hardware
 configured to execute instruction sets of an application . The element that is part of, an application operating on , or an
 system may further comprise: a memory unit configured to 45 element coupled to the additional processor circuit . In fur
 store data . The system may further comprise : an artificial ther embodiments , the artificial intelligence unit is a hard
 intelligence unit configured to . The artificial intelligence ware element that is part of, an application operating on , or
 unit may be configured to : receive a first collection ofobject an element coupled to a remote computing device or a
 representations, the first collection of object representations remote computing system . In further embodiments , the
 including one or more object representations representing 50 artificial intelligence unit is attachable to the processor
 one or more objects of the application . The artificial intel circuit . In further embodiments , the artificial intelligence
 ligence unit may be further 30 configured to: receive a first unit is attachable to the application . In further embodiments ,
 one or more instruction sets for operating an avatar of the the artificial intelligence unit is attachable to the avatar of the
 application . The artificial intelligence unit may be further application. In further embodiments , the artificial intelli
 configured to : learn the first collection of object represen- 55 gence unit is embedded or built into the processor circuit . In
 tations correlated with the first one or more instruction sets further embodiments , the artificial intelligence unit is
 for operating the avatar of the application . The artificial       embedded or built into the application . In further embodi
 intelligence unitmay be further configured to : receive a new      ments , the artificial intelligence unit is embedded or built
 collection of object representations, the new collection of into the avatar of the application . In further embodiments,
 object representations including one or more object repre- 60 the artificial intelligence unit is provided as a feature of the
 sentations representing one or more objects of the applica        processor circuit . In further embodiments , the artificial intel
 tion . The artificial intelligence unit may be further config     ligence unit is provided as a feature of the application . In
 ured to : anticipate the first one or more instruction sets for further embodiments , the artificial intelligence unit is pro
 operating the avatar of the application correlated with the vided as a feature of the avatar of the application . In further
 first collection of object representations based on at least a 65 embodiments , the artificial intelligence unit is further con
 partial match between the new collection of object repre figured to : take control from , share control with , or release
 sentations and the first collection of object representations. control to the processor circuit. In further embodiments , the
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                                3                                                                  4
 artificial intelligence unit is further configured to : take       The receiving the one or more properties of the one or more
 control from , share control with , or release control to the     objects of the application may include at least one of:
 application . In further embodiments , the artificial intelli     accessing or reading a scene graph or a data structure used
 gence unit is further configured to : take control from , share   for organizing the one or more objects of the application .
 control with , or release control to the avatar of the applica- 5 The receiving the one or more properties of the one or more
 tion .                                                            objects of the application may include detecting the one or
    In some embodiments, the one or more objects of the more properties of the one ormore objects of the application
 application include a 2D model, a 3D model , a 2D shape , a in a picture of the avatar's surrounding. The receiving the
 3D shape , a graphical user interface element, a form ele one or more properties of the one or more objects of the
 ment, a data or database element, a spreadsheet element, a 10 application may include detecting the one ormore properties
 link , a picture , a text, a number, or a computer object. In of the one ormore objects of the application in a sound from
 further embodiments , the one or more objects of the appli the avatar's surrounding.
 cation include one or more objects of the application in the      In certain embodiments , the system further comprises : an
 avatar's surrounding . The avatar's surrounding may include object processing unit configured to receive collections of
 an area of interest around the avatar. In further embodi- 15 object representations, wherein the first or the new collec
 ments, the avatar of the application includes a user -control tion of object representations is received by the object
  lable object of the application . In further embodiments , an processing unit.
 avatar's circumstance includes one or more objects of the         In some embodiments , the first one or more instruction
 application .                                                  sets for operating the avatar of the application include one or
     In certain embodiments, the first collection of object 20 more instruction sets that temporally correspond to the first
 representations is received at a first time. In further embodi collection of object representations. The one or more
 ments, the new collection of object representations is instruction sets that temporally correspond to the first col
 received at a new time. In further embodiments, the first lection of object representations may include one or more
 collection of object representations includes a unit ofknowl instruction sets executed at a time of generating the first
 edge of the avatar's circumstance at a first time. In further 25 collection of object representations. The one or more
  embodiments, the new collection of object representations instruction sets that temporally correspond to the first col
 includes a unit of knowledge of the avatar's circumstance at lection of object representations may include one or more
 a new time. In further embodiments , an object representation instruction sets executed prior to generating the first collec
 includes one or more properties of an object of the appli        tion of object representations . The one or more instruction
 cation . In further embodiments , an object representation 30 sets that temporally correspond to the first collection of
 includes one or more information on an object of the object representations may include one or more instruction
 application . In further embodiments, the first or the new       sets executed within a threshold period of time prior to
 collection of object representations includes or is associated generating the first collection of object representations. The
 with a time stamp, an order, or a timerelated information. In one or more instruction sets that temporally correspond to
 further embodiments, the first collection of object represen- 35 the first collection of object representationsmay include one
 tations includes a comparative collection of object repre or more instruction sets executed subsequent to generating
 sentations whose at least one portion can be used for the first collection of object representations. The one ormore
 comparisonswith at least one portion ofcollections of object instruction sets that temporally correspond to the first col
 representations subsequent to the first collection of object lection of object representations may include one or more
 representations, the collections of object representations 40 instruction sets executed within a threshold period of time
 subsequent to the first collection of object representations subsequent to generating the first collection of object rep
 comprising the new collection of object representations. In resentations. The one or more instruction sets that tempo
  further embodiments , the first collection of object represen rally correspond to the first collection of object representa
 tations includes a comparative collection of object repre tions may include one or more instruction sets executed
 sentations that can be used for comparison with the new 45 within a threshold period of time prior to generating the first
 collection of object representations. In further embodiments , collection of object representations and a threshold period of
 the new collection of object representations includes an            time subsequent to generating the first collection of object
 anticipatory collection of object representations that can be       representations.
  compared with collections of object representations whose            In certain embodiments, the first one or more instruction
 correlated one or more instruction sets for operating the 50 sets for operating the avatar of the application include one or
 avatar of the application can be used for anticipation of one more instruction sets executed in operating the avatar of the
  or more instruction sets to be executed in autonomous application . In further embodiments, the first one or more
 operating of the avatar of the application . In further embodi instruction sets for operating the avatar of the application are
 ments , the first collection of object representations includes part of the application . In further embodiments, the first one
  a stream of collections of object representations . In further 55 or more instruction sets for operating the avatar of the
  embodiments , the new collection of object representations application are part of the avatar of the application . In
  includes a stream of collections of object representations.       further embodiments, the first one or more instruction sets
     In some embodiments , the receiving the first collection of for operating the avatar of the application include one or
 object representations includes receiving one or more prop more inputs into or one or more outputs from the processor
  erties of the one or more objects of the application . The one 60 circuit . In further embodiments , the first one or more instruc
  or more properties of the one or more objects of the tion sets for operating the avatar of the application include
  application may include one ormore information on the one a value or a state of a register or an element of the processor
  ormore objects of the application . The receiving the one or circuit . In further embodiments, the first one or more instruc
 more properties of the one ormore objects of the application tion sets for operating the avatar of the application include
 may include receiving the one or more properties of the one 65 at least one of: a command , a keyword , a symbol, an
  or more objects of the application from an engine , an instruction , an operator, a variable , a value, an object, a data
 environment, or a system used to implement the application . structure , a function , a parameter, a state, a signal, an input,
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 an output, a character, a digit , or a reference thereto . In the avatar of the application includes at least one of: tracing,
 further embodiments, the first one or more instruction sets profiling, or instrumentation of a register of the processor
 for operating the avatar of the application include a source circuit, the memory unit, a storage, or a repository where the
 code , a bytecode, an intermediate code, a compiled code , an first one or more instruction sets for operating the avatar of
 interpreted code , a translated code , a runtime code , an 5 the application are stored . In further embodiments, the
 assembly code , a structured query language (SQL ) code, or receiving the first one or more instruction sets for operating
 a machine code . In further embodiments, the first one or the avatar of the application includes at least one of: tracing ,
 more instruction sets for operating the avatar of the appli profiling, or instrumentation of the processor circuit, a
 cation include one or more code segments, lines of code, virtual machine , a runtime engine, an operating system , an
 statements, instructions, functions, routines, subroutines, or 10 execution stack , a program counter, or a processing element.
 basic blocks. In further embodiments , the first one ormore        In further embodiments, the receiving the first one or more
 instruction sets for operating the avatar of the application instruction sets for operating the avatar of the application
 include one or more instruction sets for operating the includes at least one of: tracing, profiling , or instrumentation
 application .                                                     of the processor circuit or tracing , profiling, or instrumen
    In some embodiments , the receiving the first one or more 15 tation of a component of the processor circuit . In further
 instruction sets for operating the avatar of the application embodiments, the receiving the first one or more instruction
 includes receiving the first one or more instruction sets for sets for operating the avatar of the application includes at
 operating the avatar of the application executed by the least one of tracing, profiling , or instrumentation of the
 processor circuit . In further embodiments , the receiving the application . In further embodiments , the receiving the first
 first one or more instruction sets for operating the avatar of 20 one or more instruction sets for operating the avatar of the
 the application includes receiving the first one or more application includes at least one of: tracing , profiling, or
 instruction sets for operating the avatar of the application as instrumentation of the avatar of the application . In further
 they are executed by the processor circuit . In further embodiments, the receiving the firstone or more instruction
 embodiments, the receiving the first one or more instruction sets for operating the avatar of the application includes at
 sets for operating the avatar of the application includes 25 least one of: tracing, profiling , or instrumentation at a source
 obtaining the first one or more instruction sets for operating code write time, a compile time, an interpretation time, a
 the avatar of the application from the processor circuit . In translation time, a linking time, a loading time, or a runtime.
 further embodiments, the receiving the first one or more In further embodiments , the receiving the first one ormore
 instruction sets for operating the avatar of the application instruction sets for operating the avatar of the application
 includes receiving the first one or more instruction sets for 30 includes at least one of: tracing, profiling, or instrumentation
 operating the avatar of the application from a register or an of one or more code segments, lines of code, statements,
 element of the processor circuit. In further embodiments , the instructions, functions, routines, subroutines , or basic
 receiving the first one or more instruction sets for operating blocks. In further embodiments , the receiving the first one or
 the avatar of the application includes receiving the first one more instruction sets for operating the avatar of the appli
 or more instruction sets for operating the avatar of the 35 cation includes at least one of: tracing , profiling, or instru
 application from at least one of: the memory unit , a virtual mentation of a user input. In further embodiments, the
 machine, a runtime engine , a hard drive, a storage device, a receiving the first one or more instruction sets for operating
 peripheral device , a network connected device , or a user. In the avatar of the application includes at least one of: a
  further embodiments, the receiving the first one or more manual, an automatic , a dynamic , or a just in time ( JIT )
  instruction sets for operating the avatar of the application 40 tracing, profiling, or instrumentation . In further embodi
 includes receiving the first one or more instruction sets for ments, the receiving the first one or more instruction sets for
 operating the avatar of the application from a plurality of operating the avatar of the application includes utilizing at
 processor circuits , applications, memory units, virtual least one of a .NET tool, a .NET application programming
 machines, runtime engines, hard drives, storage devices , interface ( API), a Java tool, a Java API, a logging tool, or an
 peripheral devices , network connected devices, or users. In 45 independent tool for obtaining instruction sets . In further
 further embodiments, the receiving the first one or more embodiments, the receiving the first one or more instruction
 instruction sets for operating the avatar of the application sets for operating the avatar of the application includes
 includes obtaining the first one or more instruction sets for utilizing an assembly language . In further embodiments , the
 operating the avatar of the application from the application . receiving the first one or more instruction sets for operating
 In further embodiments , the receiving the first one or more 50 the avatar of the application includes utilizing a branch or a
 instruction sets for operating the avatar of the application jump. In further embodiments, the receiving the first one or
 includes obtaining the first one or more instruction sets for more instruction sets for operating the avatar of the appli
 operating the avatar of the application from the avatar of the cation includes a branch tracing or a simulation tracing. In
 application . In further embodiments, the receiving the first further embodiments, the system further comprises: an inter
 one or more instruction sets for operating the avatar of the 55 face configured to receive instruction sets , wherein the first
 application includes receiving the one or more instruction one or more instruction sets for operating the avatar of the
 sets for operating the avatar of the application at a source application are received via the interface . The interfacemay
 code write time, a compile time, an interpretation time, a include an acquisition interface .
 translation time, a linking time, a loading time, or a runtime.    In certain embodiments , the first collection of object
 In further embodiments , the receiving the first one or more 60 representations correlated with the first one or more instruc
 instruction sets for operating the avatar of the application tion sets for operating the avatar of the application include
 includes at least one of: tracing, profiling, or instrumentation a unit of knowledge of how the avatar of the application
 of a source code, a bytecode, an intermediate code , a operated in a circumstance . In further embodiments, the first
 compiled code , an interpreted code , a translated code , a collection of object representations correlated with the first
 runtime code , an assembly code, a structured query language 65 one or more instruction sets for operating the avatar of the
 (SQL ) code, or a machine code . In further embodiments , the application are included in a neuron , a node, a vertex, or an
 receiving the first one or more instruction sets for operating element of a knowledgebase . The knowledgebase may
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 include a neural network , a graph , a collection ofsequences,     collections of object representations correlated with one or
 a sequence, a collection of knowledge cells, a knowledge        more instruction sets for operating the avatar of the appli
 structure , or a data structure. Some of the neurons, nodes ,   cation include a user's knowledge, style, or methodology of
 vertices, or elements may be interconnected . In further        operating the avatar of the application in circumstances. In
 embodiments, the first collection of object representations 5 further embodiments, the plurality of collections of object
 correlated with the first one or more instruction sets for representations correlated with one or more instruction sets
 operating the avatar of the application are structured into a for operating the avatar of the application are stored on a
 knowledge cell. In further embodiments, the knowledge cell remote computing device or a remote computing system . In
 is included in a neuron , a node, a vertex , or an element of a further embodiments, the plurality of collections of object
 knowledgebase. The knowledgebase may include a neural 10 representations correlated with one or more instruction sets
 network , a graph , a collection of sequences, a sequence , a for operating the avatar of the application include an artifi
 collection of knowledge cells, a knowledge structure, or a cial intelligence system for knowledge structuring, storing ,
 data structure. Some of the neurons, nodes , vertices, or or representation . The artificial intelligence system for
 elements may be interconnected . In further embodiments , knowledge structuring, storing, or representation may
 the learning the first collection of object representations 15 include at least one of: a deep learning system , a supervised
 correlated with the first one or more instruction sets for         learning system , an unsupervised learning system , a neural
 operating the avatar of the application includes correlating network , a search - based system , an optimization - based sys
 the first collection ofobject representationswith the first one tem , a logic -based system , a fuzzy logic-based system , a
 or more instruction sets for operating the avatar of the tree -based system , a graph -based system , a hierarchical
 application . The correlating the first collection of object 20 system , a symbolic system , a sub -symbolic system , an
 representations with the first one or more instruction sets for evolutionary system , a genetic system , a multi -agent system ,
 operating the avatar of the application may include gener          a deterministic system , a probabilistic system , or a statistical
 ating a knowledge cell, the knowledge cell comprising the          system .
 first collection of object representations correlated with the        In certain embodiments, the anticipating the first one or
  first one or more instruction sets for operating the avatar of 25 more instruction sets for operating the avatar of the appli
 the application . The correlating the first collection of object cation correlated with the first collection of object represen
 representationswith the first one ormore instruction sets for tations based on at least a partial match between the new
 operating the avatar of the application may include struc collection of object representations and the first collection of
 turing a unit of knowledge of how the avatar of the appli object representations includes comparing at least one por
 cation operated in a circumstance. In further embodiments , 30 tion of the new collection of object representations with at
 the learning the first collection of object representations least one portion of the first collection of object represen
 correlated with the first one or more instruction sets for tations. The at least one portion of the new collection of
 operating the avatar of the application includes learning a object representations may include at least one object rep
 user's knowledge , style , or methodology of operating the resentation or at least one object property of the new
 avatar of the application in a circumstance .                    35 collection of object representations. The at least one portion
     In some embodiments , the learning the first collection of of the first collection of object representations may include
 object representations correlated with the first one or more at least one object representation or at least one object
 instruction sets for operating the avatar of the application property of the first collection of object representations. In
  includes storing the first collection of object representations further embodiments, the anticipating the first one or more
 correlated with the first one or more instruction sets for 40 instruction sets for operating the avatar of the application
 operating the avatar of the application into thememory unit, correlated with the first collection of object representations
 the memory unit comprising a plurality of collections of based on at least a partial match between the new collection
 object representations correlated with one or more instruc of object representations and the first collection of object
 tion sets for operating the avatarof the application . In further representations includes comparing at least one object rep
 embodiments, the plurality of collections of object repre- 45 resentation from the new collection ofobject representations
 sentations correlated with one or more instruction sets for with at least one object representation from the first collec
 operating the avatar of the application include a neural tion of object representations. In further embodiments , the
 network , a graph , a collection of sequences, a sequence , a comparing at least one object representation from the new
 collection of knowledge cells , a knowledgebase , a knowl collection of object representations with at least one object
 edge structure, or a data structure. In further embodiments, 50 representation from the first collection of object represen
 the plurality of collections of object representations corre    tations includes comparing at least one object property of the
 lated with one or more instruction sets for operating the at least one object representation from the new collection of
 avatar of the application are organized into a neuralnetwork , object representations with at least one object property of the
 a graph , a collection of sequences, a sequence , a collection at least one object representation from the first collection of
 of knowledge cells , a knowledgebase, a knowledge struc- 55 object representations. In further embodiments , the antici
 ture, or a data structure . In further embodiments, one or         pating the first one or more instruction sets for operating the
 more collection ofobject representations correlated with one       avatar of the application correlated with the first collection
 or more instruction sets for operating the avatar of the of object representations based on at least a partial match
 application of the plurality of collections of object repre between the new collection of object representations and the
 sentations correlated with one or more instruction sets for 60 first collection of object representations includes comparing
 operating the avatar of the application are included in one or at least one object property of at least one object represen
 more neurons, nodes , vertices, or elements of a knowledge tation from the new collection of object representations with
 base . The knowledgebase may include a neural network , a at least one object property of at least one object represen
 graph , a collection of sequences, a sequence , a collection of tation from the first collection of object representations .
 knowledge cells , a knowledge structure, or a data structure . 65 In some embodiments, the anticipating the first one or
 Some of the neurons, nodes, vertices , or elements may be          more instruction sets for operating the avatar of the appli
 interconnected . In further embodiments , the plurality of         cation correlated with the first collection of object represen
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 tations based on at least a partial match between the new between at least one object representation from the new
 collection ofobject representations and the first collection of collection of object representations and at least one object
 object representations includes determining that there is at representation from the first collection of object represen
 least a partial match between the new collection of object tations. The determining that there is at least a partial match
  representations and the first collection of object representa- 5 between at least one object representation from the new
  tions. In further embodiments, the determining that there is collection of object representations and at least one object
 at least a partialmatch between the new collection of object representation from the first collection of object represen
 representations and the first collection of object representa     tations may include determining that there is at least a partial
 tions includes determining that there is at least a partial match between at least one object property of the at least one
 match between one or more portions of the new collection 10 object representation from the new collection of object
 of object representations and one or more portions of the first representations and at least one object property of the at least
 collection of object representations. In further embodiments, one object representation from the first collection of object
 the determining that there is at least a partial match between representations.
 the new collection of object representations and the first            In certain embodiments , the causing the processor circuit
 collection of object representations includes determining 15 to execute the first one ormore instruction sets for operating
 that a similarity between at least one portion of the new the avatar of the application correlated with the first collec
 collection of object representations and at least one portion tion of object representations includes causing the processor
 of the first collection of object representations exceeds a        circuit to execute the first one or more instruction sets for
 similarity threshold . In further embodiments, the determin        operating the avatar of the application correlated with the
 ing that there is at least a partial match between the new 20 first collection of object representations instead of or prior to
 collection of object representations and the first collection of   an instruction set that would have been executed next. In
 object representations includes determining a substantial further embodiments , the causing the processor circuit to
 similarity between at least one portion of the new collection execute the first one or more instruction sets for operating
 of object representations and at least one portion of the first the avatar of the application correlated with the first collec
 collection of object representations. The substantial similar- 25 tion of object representations includes modifying one or
 ity may be achieved when a similarity between the at least more instruction sets of the processor circuit. In further
 one portion of the new collection of object representations embodiments, the causing the processor circuit to execute
 and the at least one portion of the first collection of object the first one ormore instruction sets for operating the avatar
 representations exceeds a similarity threshold . The substan of the application correlated with the first collection of
 tial similarity may be achieved when a number or a per- 30 object representations includes modifying a register or an
 centage of matching or partially matching portions of the element of the processor circuit. In further embodiments, the
 new collection of object representations and portions of the causing the processor circuit to execute the first one or more
 first collection of object representations exceeds a threshold instruction sets for operating the avatar of the application
 number or threshold percentage . In further embodiments, the correlated with the first collection of object representations
 determining that there is at least a partial match between the 35 includes inserting the first one or more instruction sets for
 new collection of object representations and the first collec operating the avatar of the application correlated with the
 tion of object representations includes determining that a first collection of object representations into a register or an
 number or a percentage ofmatching or partially matching element of the processor circuit. In further embodiments, the
 object representations from the new collection of object causing the processor circuit to execute the first one or more
 representations and from the first collection of object rep- 40 instruction sets for operating the avatar of the application
 resentations exceeds a threshold number or threshold per correlated with the first collection of object representations
 centage. The matching or partially matching object repre        includes redirecting the processor circuit to the first one or
 sentations from the new collection of object representations more instruction sets for operating the avatar of the appli
 and from the first collection of object representationsmay be cation correlated with the first collection of object represen
 determined factoring in at least one of: a type of an object 45 tations. In further embodiments , the causing the processor
 representation , an importance of an object representation , a circuit to execute the first one or more instruction sets for
 threshold for a similarity in an object representation , or a operating the avatar of the application correlated with the
 threshold for a difference in an object representation . In first collection ofobject representations includes redirecting
 further embodiments , the determining that there is at least a the processor circuit to one or more alternate instruction sets ,
 partial match between the new collection of object repre- 50 the alternate instruction sets comprising the first one ormore
 sentations and the first collection of object representations instruction sets for operating the avatar of the application
 includes  determining that a number or a percentage of correlated with the first collection of object representations.
 matching or partially matching object properties from the In further embodiments, the causing the processor circuit to
 new collection of object representations and from the first execute the first one or more instruction sets for operating
 collection of object representations exceeds a threshold 55 the avatar of the application correlated with the first collec
 number or threshold percentage. The matching or partially tion of object representations includes transmitting, to the
 matching object properties from the new collection of object processor circuit for execution , the first one ormore instruc
 representations and from the first collection of object rep      tion sets for operating the avatar of the application correlated
 resentations may be determined factoring in at least one of: with the first collection of object representations. In further
 an association of an object property with an object repre- 60 embodiments , the causing the processor circuit to execute
 sentation , a category of an object property , an importance of the first one or more instruction sets for operating the avatar
 an object property, a threshold for a similarity in an object of the application correlated with the first collection of
 property, or a threshold for a difference in an object property. object representations includes issuing an interrupt to the
 In further embodiments,the determining that there is at least processor circuit and executing the first one or more instruc
 a partialmatch between the new collection of object repre- 65 tion sets for operating the avatar of the application correlated
 sentations and the first collection of object representations with the first collection of object representations following
 includes determining that there is at least a partial match        the interrupt. In further embodiments, the causing the pro
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 cessor circuit to execute the first one ormore instruction sets     causing the processor circuit to execute the first one or more
 for operating the avatar of the application correlated with the     instruction sets for operating the avatar of the application
 first collection of object representations includes causing the     correlated with the first collection of object representations
 application to execute the first one or more instruction sets       includes modifying at least one of: the memory unit, a
 for operating the avatar of the application correlated with the 5 register of the processor circuit, a storage, or a repository
 first collection of object representations. In further embodi      where instruction sets are stored or used . In further embodi
 ments, the causing the processor circuit to execute the first ments , the causing the processor circuit to execute the first
 one or more instruction sets for operating the avatar of the one or more instruction sets for operating the avatar of the
 application correlated with the first collection of object application correlated with the first collection of object
 representations includes modifying one or more instruction 10 representations includes modifying at least one of: an ele
 sets of the application . In further embodiments, the causing ment of the processor circuit, an element of the application ,
 the processor circuit to execute the first one ormore instruc    an element of the avatar of the application , a virtual
 tion sets for operating the avatar of the application correlated machine, a runtime engine, an operating system , an execu
 with the first collection of object representations includes tion stack , a program counter , or a user input. In further
 modifying the application . In further embodiments , the 15 embodiments , the causing the processor circuit to execute
 causing the processor circuit to execute the first one ormore the first one or more instruction sets for operating the avatar
  instruction sets for operating the avatar of the application of the application correlated with the first collection of
 correlated with the first collection of object representations object representations includes modifying one or more
 includes redirecting the application to the first one or more instruction sets at a source code write time, a compile time,
 instruction sets for operating the avatar of the application 20 an interpretation time, a translation time, a linking time, a
 correlated with the first collection of object representations. loading time, or a runtime. In further embodiments , the
 In further embodiments, the causing the processor circuit to causing the processor circuit to execute the first one or more
 execute the first one or more instruction sets for operating instruction sets for operating the avatar of the application
 the avatar of the application correlated with the first collec correlated with the first collection of object representations
 tion of object representations includes redirecting the appli- 25 includes modifying one or more code segments , lines of
 cation to one or more alternate instruction sets, the alternate     code , statements, instructions, functions , routines, subrou
 instruction sets comprising the first one or more instruction       tines, or basic blocks . In further embodiments , the causing
 sets for operating the avatar of the application correlated the processor circuit to execute the first one or more instruc
 with the first collection of object representations. In further tion sets for operating the avatar of the application correlated
 embodiments, the causing the processor circuit to execute 30 with the first collection of object representations includes a
 the first one or more instruction sets for operating the avatar manual, an automatic , a dynamic , or a just in time ( JIT )
 of the application correlated with the first collection of instrumentation of the application . In further embodiments,
 object representations includes causing the avatar of the the causing the processor circuit to execute the first one or
 application to execute the first one or more instruction sets more instruction sets for operating the avatar of the appli
 for operating the avatar of the application correlated with the 35 cation correlated with the first collection of object represen
 first collection of object representations. In further embodi tations includes a manual , an automatic , a dynamic, or a just
 ments, the causing the processor circuit to execute the first in time (JIT) instrumentation of the avatar of the application .
 one or more instruction sets for operating the avatar of the In further embodiments , the causing the processor circuit to
 application correlated with the first collection of object execute the first one or more instruction sets for operating
 representations includes modifying one or more instruction 40 the avatar of the application correlated with the first collec
 sets of the avatar of the application . In further embodiments , tion of object representations includes utilizing one or more
 the causing the processor circuit to execute the first one or of a .NET tool, a .NET application programming interface
 more instruction sets for operating the avatar of the appli         (API), a Java tool, a Java API, an operating system tool, or
 cation correlated with the first collection of object represen      an independent tool for modifying instruction sets . In further
 tations includes modifying the avatar of the application . In 45 embodiments, the causing the processor circuit to execute
  further embodiments , the causing the processor circuit to the first one or more instruction sets for operating the avatar
 execute the first one or more instruction sets for operating of the application correlated with the first collection of
 the avatar of the application correlated with the first collec object representations includes utilizing at least one of: a
 tion of object representations includes redirecting the avatar dynamic, an interpreted , or a scripting programming lan
 of the application to the first one or more instruction sets for 50 guage. In further embodiments , the causing the processor
 operating the avatar of the application correlated with the circuit to execute the first one or more instruction sets for
  first collection of object representations. In further embodi operating the avatar of the application correlated with the
 ments , the causing the processor circuit to execute the first first collection of object representations includes utilizing at
 one or more instruction sets for operating the avatar of the least one of: a dynamic code, a dynamic class loading , or a
 application correlated with the first collection of object 55 reflection . In further embodiments , the causing the processor
 representations includes redirecting the avatar of the appli        circuit to execute the first one or more instruction sets for
 cation to one or more alternate instruction sets , the alternate operating the avatar of the application correlated with the
 instruction sets comprising the first one or more instruction first collection of object representations includes utilizing an
 sets for operating the avatar of the application correlated assembly language. In further embodiments, the causing the
 with the first collection of object representations. In further 60 processor circuit to execute the first one ormore instruction
 embodiments , the causing the processor circuit to execute sets for operating the avatar of the application correlated
 the first one or more instruction sets for operating the avatar with the first collection of object representations includes
 of the application correlated with the first collection of utilizing at least one of: a metaprogramming , a self-modi
 object representations includes modifying a source code, a fying code , or an instruction set modification tool. In further
 bytecode, an intermediate code, a compiled code, an inter- 65 embodiments , the causing the processor circuit to execute
 preted code , a translated code , a runtime code, an assembly      the first one or more instruction sets for operating the avatar
 code , or a machine code. In further embodiments, the              of the application correlated with the first collection of
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 object representations includes utilizing at least one of: just application , an information on the avatar's circumstance , an
  in time (JIT ) compiling, JIT interpretation , JIT translation , information on an object, an information on an object
 dynamic recompiling , or binary rewriting . In further representation , an information on a collection of object
 embodiments, the causing the processor circuit to execute representations, an information on an instruction set , an
 the first one or more instruction sets for operating the avatar 5 information on the application , an information on the pro
 of the application correlated with the first collection of cessor circuit, or an information on a user. In further
 object representations includes utilizing at least one of: a embodiments, the artificial intelligence unit is further con
 dynamic expression creation , a dynamic expression execu          figured to : learn the first collection of object representations
 tion , a dynamic function creation , or a dynamic function        correlated with the at least one extra information . The
 execution. In further embodiments , the causing the proces- 10 learning the first collection of object representations corre
 sor circuit to execute the first one ormore instruction sets for lated with at least one extra information may include cor
 operating the avatar of the application correlated with the relating the first collection ofobject representationswith the
  first collection of object representations includes adding or at least one extra information . The learning the first collec
 inserting additional code into a code of the application . In tion of object representations correlated with at least one
 further embodiments, the causing the processor circuit to 15 extra information may include storing the first collection of
 execute the first one or more instruction sets for operating object representations correlated with the at least one extra
 the avatar of the application correlated with the first collec information into the memory unit. In further embodiments,
 tion of object representations includes at least one of: the anticipating the first one or more instruction sets for
 modifying , removing, rewriting, or overwriting a code of the operating the avatar of the application correlated with the
 application . In further embodiments, the causing the pro- 20 first collection of object representations based on at least a
 cessor circuit to execute the first one or more instruction sets    partial match between the new collection of object repre
 for operating the avatar of the application correlated with the     sentations and the first collection of object representations
 first collection of object representations includes at least one    includes anticipating the firstone ormore instruction sets for
 of: branching, redirecting , extending , or hot swapping a operating the avatar of the application correlated with the
  code of the application . In further embodiments , the causing 25 first collection of object representations based on at least a
 the processor circuit to execute the first one ormore instruc      partialmatch between an extra information correlated with
  tion sets for operating the avatar of the application correlated the new collection of object representations and an extra
 with the first collection of object representations includes information correlated with the first collection of object
 adding or inserting additional code into a code of the avatar representations. The anticipating the first one or more
  of the application . In further embodiments, the causing the 30 instruction sets for operating the avatar of the application
 processor circuit to execute the first one or more instruction correlated with the first collection of object representations
  sets for operating the avatar of the application correlated based on at least a partial match between an extra informa
 with the first collection of object representations includes at tion correlated with the new collection of object represen
 least one of:modifying , removing , rewriting, or overwriting tations and an extra information correlated with the first
  a code of the avatar of the application . In further embodi- 35 collection of object representations may include comparing
 ments , the causing the processor circuit to execute the first an extra information correlated with the new collection of
  one or more instruction sets for operating the avatar of the object representations and an extra information correlated
 application correlated with the first collection of object with the first collection of object representations. The antici
  representations includes at least one of: branching , redirect pating the first one or more instruction sets for operating the
 ing , extending, or hot swapping a code of the avatar of the 40 avatar of the application correlated with the first collection
 application . In further embodiments, the causing the pro of object representations based on at least a partial match
 cessor circuit to execute the first one or more instruction sets between an extra information correlated with the new col
 for operating the avatar of the application correlated with the lection of object representations and an extra information
 first collection of object representations includes implement correlated with the first collection of object representations
  ing a user's knowledge, style , or methodology of operating 45 may include determining that a similarity between an extra
 the avatar of the application in a circumstance . In further information correlated with the new collection of object
 embodiments , the system further comprises : an interface representations and an extra information correlated with the
  configured to cause execution of instruction sets, wherein first collection of object representations exceeds a similarity
  the executing the first one or more instruction sets for threshold .
 operating the avatar of the application correlated with the 50 In some embodiments , the system of further comprises: a
  first collection of object representations by the processor user interface, wherein the artificial intelligence unit is
 circuit is caused by the interface . The interface may include further configured to : cause the user interface to present a
 a modification interface .                                         user with an option to execute the first one or more instruc
     In some embodiments, the avatar's performing the one or tion sets for operating the avatar of the application correlated
 more operations defined by the first one or more instruction 55 with the first collection of object representations . In further
 sets for operating the avatar of the application correlated embodiments, the system of further comprises: a user inter
 with the first collection of object representations includes face, wherein the artificial intelligence unit is further con
 implementing a user's knowledge, style, or methodology of figured to : receive, via the user interface, a user's selection
 operating the avatar of the application in a circumstance.         to execute the first one ormore instruction sets for operating
     In certain embodiments, the artificial intelligence unit is 60 the avatar of the application correlated with the first collec
  further configured to : receive at least one extra information . tion of object representations .
  In further embodiments, the at least one extra information           In further embodiments, the artificial intelligence unit is
 include one or more of: a time information , a location further configured to : rate the executed first one or more
  information , a computed information , a visual information , instruction sets for operating the avatar of the application
 an acoustic information , or a contextual information . In 65 correlated with the first collection of object representations.
 further embodiments, the at least one extra information            The rating the executed first one ormore instruction sets for
 include one or more of: an information on the avatar of the        operating the avatar of the application correlated with the
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 first collection ofobject representations may include causing       tions correlated with the second one or more instruction sets
 a user interface to display the executed first one or more for operating the avatar of the application include creating a
 instruction sets for operating the avatar of the application connection between the first collection of object represen
 correlated with the first collection of object representations tations correlated with the first one or more instruction sets
 along with one or more rating values as options to be 5 for operating the avatar of the application and the second
 selected by a user . The rating the executed first one or more collection of object representations correlated with the sec
 instruction sets for operating the avatar of the application ond one or more instruction sets for operating the avatar of
 correlated with the first collection of object representations the application . The connection may include or be associated
 may include rating the executed first one ormore instruction with at least one of: an occurrence count, a weight, a
 sets for operating the avatar of the application correlated 10 parameter, or a data . In further embodiments, the learning
 with the first collection of object representations without a the first collection of object representations correlated with
 user input.                                                          the first one ormore instruction sets for operating the avatar
     In certain embodiments, the system further comprises : a of the application and the learning the second collection of
 user interface, wherein the artificial intelligence unit is object representations correlated with the second one or
 further configured to : cause the user interface to present a 15 more instruction sets for operating the avatar of the appli
 user with an option to cancel the execution of the executed cation include updating a connection between the first
 first one or more instruction sets for operating the avatar of collection of object representations correlated with the first
 the application correlated with the first collection of object one or more instruction sets for operating the avatar of the
 representations. In further embodiments, the canceling the application and the second collection of object representa
 execution of the executed first one or more instruction sets 20 tions correlated with the second one or more instruction sets
 for operating the avatar of the application correlated with the for operating the avatar of the application . The updating the
  first collection of object representations includes restoring connection between the first collection of object represen
 the processor circuit , the application , or the avatar of the tations correlated with the first one or more instruction sets
 application to a prior state . The restoring the processor for operating the avatar of the application and the second
 circuit , the application , or the avatar of the application to a 25 collection of object representations correlated with the sec
 prior state may include saving the state of the processor ond one or more instruction sets for operating the avatar of
 circuit, the application , or the avatar of the application prior the application may include updating at least one of: an
 to executing the first one or more instruction sets for occurrence count, a weight, a parameter, or a data included
 operating the avatar of the application correlated with the         in or associated with the connection . In further embodi
  first collection of object representations .                   30 ments, the learning the first collection of object representa
     In some embodiments , the system further comprises: an tions correlated with the first one ormore instruction sets for
  input device configured to receive a user's operating direc operating the avatar of the application includes storing the
    ons, the user's operating directions for instructing the first collection of object representations correlated with the
 processor circuit, the application , or the avatar of the appli first one or more instruction sets for operating the avatar of
 cation on how to operate the avatar of the application . 35 the application into a first node of a knowledgebase, and
     In certain embodiments, the autonomous avatar operating wherein the learning the second collection of object repre
 includes a partially or a fully autonomous avatar operating . sentations correlated with the second one ormore instruction
  The partially autonomous avatar operating may include sets for operating the avatar of the application includes
 executing the first one or more instruction sets for operating storing the second collection of object representations cor
 the avatar of the application correlated with the first collec- 40 related with the second one or more instruction sets for
  tion of object representations responsive to a user confir operating the avatar of the application into a second node of
 mation . The fully autonomous avatar operating may include the knowledgebase . The knowledgebase may include a
 executing the first one or more instruction sets for operating neural network , a graph , a collection of sequences, a
 the avatar of the application correlated with the first collec sequence, a collection of knowledge cells , a knowledge
 tion of object representations without a user confirmation . 45 structure , or a data structure . The knowledgebase may be
     In some embodiments , the artificial intelligence unit is stored in the memory unit . The learning the first collection
 further configured to : receive a second collection of object of object representations correlated with the first one or
 representations, the second collection of object representa        more instruction sets for operating the avatar of the appli
 tions including one or more object representations repre cation and the learning the second collection of object
 senting one or more objects of the application ; receive a 50 representations correlated with the second one or more
 second one or more instruction sets for operating an avatar instruction sets for operating the avatar of the application
 of the application , and learn the second collection of object     may include creating a connection between the first node
 representations correlated with the second one or more             and the second node. The learning the first collection of
 instruction sets for operating the avatar of the application . In object representations correlated with the first one or more
 further embodiments , the second collection of object repre- 55 instruction sets for operating the avatar of the application
 sentations is received at a second time. In further embodi        and the learning the second collection of object representa
 ments, the second collection of object representations tions correlated with the second one or more instruction sets
 includes a unit of knowledge of the avatar's circumstance at       for operating the avatar of the application may include
 a second time. In further embodiments, the second collection       updating a connection between the first node and the second
 of object representations includes a stream of collections of 60 node. In further embodiments, the first collection of object
 object representations. In further embodiments, the second representations correlated with the first one or more instruc
 collection of object representations includes or is associated tion sets for operating the avatar of the application is stored
 with a time stamp, an order, or a timerelated information . In   into a first node of a neural network and the second collec
 further embodiments , the learning the first collection of tion of object representations correlated with the second one
 object representations correlated with the first one or more 65 or more instruction sets for operating the avatar of the
 instruction sets for operating the avatar of the application application is stored into a second node of the neural
 and the learning the second collection of object representa         network . The first node and the second node may be
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 connected by a connection . The first node may be part of a representations including one or more object representations
 first layer of the neural network and the second node may be representing one or more objects of an application . The
 part of a second layer of the neural network . In further method may further comprise : (b ) receiving a first one or
 embodiments, the first collection of object representations more instruction sets for operating an avatar of the applica
 correlated with the first one or more instruction sets for 5 tion by the processor circuit. The method may further
 operating the avatar of the application is stored into a first comprise: (c ) learning the first collection of object repre
 node of a graph and the second collection of object repre          sentations correlated with the first one or more instruction
 sentations correlated with the second one or more instruction      sets for operating the avatar of the application , the learning
 sets for operating the avatar of the application is stored into of (c ) performed by the processor circuit . The method may
 a second node of the graph . The first node and the second 10 further comprise : (d ) receiving a new collection of object
 node may be connected by a connection. In further embodi        representations by the processor circuit, the new collection
 ments, the first collection of object representations corre     of object representations including one or more object
 lated with the first one ormore instruction sets for operating representations representing one or more objects of the
 the avatar of the application is stored into a first node of a application . The method may further comprise : (e ) antici
 sequence and the second collection of object representations 15 pating the first one or more instruction sets for operating the
 correlated with the second one or more instruction sets for avatar of the application correlated with the first collection
 operating the avatar of the application is stored into a second of object representations based on at least a partial match
 node of the sequence .                                            between the new collection of object representations and the
   In some aspects, the disclosure relates to a non - transitory   first collection of object representations , the anticipating of
 computer storage medium having a computer program 20 (e ) performed by the processor circuit . The method may
 stored thereon , the program including instructions that when further comprise: (f) executing the first one ormore instruc
 executed by one ormore processor circuits cause the one or tion sets for operating the avatar of the application correlated
 more processor circuits to perform operations comprising : with the first collection of object representations, the execut
 receiving a first collection of object representations, the first ing of ( f) performed in response to the anticipating of (e ).
 collection of object representations including one or more 25 The method may further comprise: (g ) performing, by the
 object representations representing one or more objects of an avatar of the application , one or more operations defined by
 application . The operations may further comprise: receiving the first one ormore instruction sets for operating the avatar
 a first one ormore instruction sets for operating an avatar of of the application correlated with the first collection of
 the application . The operationsmay further comprise : learn object representations .
 ing the first collection of object representations correlated 30 In certain embodiments , the receiving of (b ) includes
 with the first one or more instruction sets for operating the receiving the first one or more instruction sets for operating
 avatar of the application . The operations may further com        the avatar of the application from the processor circuit or
 prise: receiving a new collection of object representations , from another processor circuit. In further embodiments , the
 the new collection ofobject representations including one or executing of (f) is performed by the processor circuit or by
 more object representations representing one or more 35 another processor circuit .
 objects of the application . The operations may further com           The aforementioned system , the non -transitory computer
 prise : anticipating the first one or more instruction sets for storage medium , and /or the method may include any ele
 operating the avatar of the application correlated with the ments, operations , steps, and embodiments of the above
  first collection of object representations based on at least a described systems, non - transitory computer storage media ,
 partial match between the new collection of object repre- 40 and /or methods as applicable as well as the following
 sentations and the first collection of object representations . embodiments .
  The operations may further comprise : causing an execution          In some embodiments , the first one or more instruction
 of the first one or more instruction sets for operating the sets for operating the avatar of the application include one or
 avatar of the application correlated with the first collection more instruction sets executed in operating the avatar of the
 ofobject representations, the causing performed in response 45 application . In further embodiments, the first one or more
 to the anticipating the first one or more instruction sets for instruction sets for operating the avatar of the application are
 operating the avatar of the application correlated with the part of the application . In further embodiments , the first one
 first collection of object representations based on at least a or more instruction sets for operating the avatar of the
 partial match between the new collection of object repre application are part of the avatar of the application . In
 sentations and the first collection of object representations , 50 further embodiments, the first one or more instruction sets
 wherein the avatar of the application performs one or more for operating the avatar of the application include one or
 operations defined by the first one or more instruction sets more inputs into or one or more outputs from a processor
 for operating the avatar of the application correlated with the circuit. In further embodiments, the first one ormore instruc
 first collection of object representations.                      tion sets for operating the avatar of the application include
     In some embodiments , the receiving the first one or more 55 a value or a state of a register or an element of a processor
 instruction sets for operating the avatar of the application circuit . In further embodiments, the first one or more instruc
  includes receiving the first one or more instruction sets for tion sets for operating the avatar of the application include
 operating the avatar of the application from the one ormore at least one of: a command , a keyword , a symbol, an
 processor circuits or from another one or more processor instruction , an operator, a variable, a value , an object, a data
 circuits . In further embodiments , the execution of the first 60 structure, a function , a parameter, a state, a signal, an input,
 one or more instruction sets for operating the avatar of the an output, a character, a digit , or a reference thereto . In
 application correlated with the first collection of object further embodiments, the first one or more instruction sets
 representations is performed by the one or more processor for operating the avatar of the application include a source
 circuits or by another one or more processor circuits.            code , a bytecode, an intermediate code, a compiled code, an
    In some aspects, the disclosure relates to a method com- 65 interpreted code , a translated code, a runtime code, an
 prising: (a ) receiving a first collection of object representa assembly code , a structured query language (SQL ) code, or
 tions by a processor circuit, the first collection of object        a machine code . In further embodiments , the first one or
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 more instruction sets for operating the avatar of the appli mentation of a processor circuit, a virtualmachine, a runtime
 cation include one or more code segments , lines of code , engine, an operating system , an execution stack , a program
 statements, instructions, functions , routines, subroutines, or counter, or a processing element. In further embodiments ,
 basic blocks. In further embodiments , the first one or more the receiving the first one or more instruction sets for
 instruction sets for operating the avatar of the application 5 operating the avatar of the application includes at least one
 include one or more instruction sets for operating the of: tracing , profiling , or instrumentation of a processor
 application.                                                    circuit or tracing , profiling, or instrumentation of a compo
    In certain embodiments, the receiving the first one or nent of a processor circuit. In further embodiments , the
 more instruction sets for operating the avatar of the appli     receiving the first one or more instruction sets for operating
 cation includes receiving the first one or more instruction 10 the avatar of the application includes at least one of: tracing,
 sets for operating the avatar of the application executed by profiling, or instrumentation of the application . In further
 a processor circuit . In further embodiments, the receiving embodiments, the receiving the first one or more instruction
 the first one ormore instruction sets for operating the avatar sets for operating the avatar of the application includes at
 of the application includes receiving the first one or more least one of: tracing, profiling , or instrumentation of the
  instruction sets for operating the avatar of the application as 15 avatar of the application . In further embodiments , the receiv
  they are executed by a processor circuit. In further embodi        ing the first one or more instruction sets for operating the
 ments , the receiving the first one or more instruction sets for avatar of the application includes at least one of: tracing,
 operating the avatar of the application includes obtaining the      profiling , or instrumentation at a source code write time, a
 first one or more instruction sets for operating the avatar of      compile time, an interpretation time, a translation time, a
 the application from a processor circuit. In further embodi- 20 linking time, a loading time, or a runtime. In further embodi
 ments, the receiving the first one or more instruction sets for     ments , the receiving the first one or more instruction sets for
 operating the avatar of the application includes receiving the      operating the avatar of the application includes at least one
 first one or more instruction sets for operating the avatar of      of: tracing, profiling, or instrumentation of one ormore code
 the application from a register or an element of a processor        segments , lines of code, statements, instructions, functions,
 circuit. In further embodiments , the receiving the firstone or 25 routines, subroutines, or basic blocks. In further embodi
 more instruction sets for operating the avatar of the appli ments , the receiving the first one or more instruction sets for
 cation includes receiving the first one or more instruction operating the avatar of the application includes at least one
  sets for operating the avatar of the application from at least of: tracing , profiling, or instrumentation of a user input. In
 one of: the memory unit , virtual machine , a runtime further embodiments, the receiving the first one or more
  engine , a hard drive , a storage device , a peripheral device, a 30 instruction sets for operating the avatar of the application
 network connected device , or a user. In further embodi includes at least one of: a manual, an automatic , a dynamic,
 ments , the receiving the first one or more instruction sets for or a just in time (JIT ) tracing, profiling, or instrumentation .
 operating the avatar of the application includes receiving the In further embodiments, the receiving the first one or more
  first one or more instruction sets for operating the avatar of instruction sets for operating the avatar of the application
 the application from a plurality of processor circuits , appli- 35 includes utilizing at least one of: a .NET tool, a .NET
 cations, memory units , virtual machines, runtime engines , application programming interface (API), a Java tool, a Java
 hard drives , storage devices , peripheral devices, network API, a logging tool, or an independent tool for obtaining
 connected devices , or users. In further embodiments , the instruction sets. In further embodiments , the receiving the
 receiving the first one or more instruction sets for operating first one or more instruction sets for operating the avatar of
 the avatar of the application includes obtaining the first one 40 the application includes utilizing an assembly language. In
 or more instruction sets for operating the avatar of the further embodiments, the receiving the first one or more
 application from the application . In further embodiments, instruction sets for operating the avatar of the application
 the receiving the first one or more instruction sets for includes utilizing a branch or a jump. In further embodi
 operating the avatar ofthe application includes obtaining the ments , the receiving the first one or more instruction sets for
  first one or more instruction sets for operating the avatar of 45 operating the avatar of the application includes a branch
 the application from the avatar of the application. In further tracing or a simulation tracing. In further embodiments, the
 embodiments, the receiving the first one or more instruction receiving the first one or more instruction sets for operating
 sets for operating the avatar of the application includes the avatar of the application includes receiving the first one
 receiving the one or more instruction sets for operating the or more instruction sets for operating the avatar of the
 avatar of the application at a source code write time, a 50 application via an interface . The interface may include an
 compile time, an interpretation time, a translation time, a acquisition interface .
 linking time, a loading time, or a runtime. In further embodi         In some embodiments, the learning the first collection of
 ments, the receiving the first one or more instruction sets for object representations correlated with the first one or more
 operating the avatar of the application includes at least one instruction sets for operating the avatar of the application
 of tracing , profiling , or instrumentation of a source code , a 55 includes storing the first collection of object representations
 bytecode , an intermediate code , a compiled code, an inter         correlated with the first one or more instruction sets for
 preted code , a translated code , a runtime code, an assembly operating the avatar of the application into a memory unit,
 code, a structured query language (SQL ) code, or a machine the memory unit comprising a plurality of collections of
 code. In further embodiments, the receiving the first one or object representations correlated with one or more instruc
 more instruction sets for operating the avatar of the appli- 60 tion sets for operating the avatar of the application .
 cation includes at least one of: tracing , profiling, or instru        In certain embodiments, the executing the first one or
 mentation of a register of a processor circuit, a memory unit, more instruction sets for operating the avatar of the appli
 a storage , or a repository where the first one or more cation correlated with the first collection of object represen
  instruction sets for operating the avatar of the application are tations includes executing the first one or more instruction
 stored . In further embodiments, the receiving the first one or 65 sets for operating the avatar of the application correlated
 more instruction sets for operating the avatar of the appli with the first collection of object representations instead of
 cation includes at least one of: tracing, profiling, or instru      or prior to an instruction set that would have been executed
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 next. In further embodiments, the executing the first one or first one ormore instruction sets for operating the avatar of
 more instruction sets for operating the avatar of the appli the application correlated with the first collection of object
 cation correlated with the first collection of object represen     representations. In further embodiments , the executing the
 tations includes modifying one or more instruction sets of a first one or more instruction sets for operating the avatar of
 processor circuit . In further embodiments, the executing the 5 the application correlated with the first collection of object
 first one or more instruction sets for operating the avatar of representations includes causing the avatar of the application
 the application correlated with the first collection of object to execute the first one or more instruction sets for operating
 representations includes modifying a register or an element the avatar of the application correlated with the first collec
 of a processor circuit. In further embodiments, the executing tion of object representations. In further embodiments , the
 the first one or more instruction sets for operating the avatar 10 executing the first one or more instruction sets for operating
 of the application correlated with the first collection of the avatar of the application correlated with the first collec
 object representations includes inserting the first one or tion of object representations includes modifying one or
 more instruction sets for operating the avatar of the appli more instruction sets of the avatar of the application . In
 cation correlated with the first collection of object represen     further embodiments, the executing the first one or more
 tations into a register or an elementof a processor circuit. In 15 instruction sets for operating the avatar of the application
 further embodiments , the executing the first one or more correlated with the first collection of object representations
 instruction sets for operating the avatar of the application includes modifying the avatar of the application . In further
 correlated with the first collection of object representations embodiments, the executing the first one ormore instruction
 includes redirecting a processor circuit to the first one or sets for operating the avatar of the application correlated
 more instruction sets for operating the avatar of the appli- 20 with the first collection of object representations includes
 cation correlated with the first collection of object represen     redirecting the avatar of the application to the first one or
 tations. In further embodiments , the executing the first one more instruction sets for operating the avatar of the appli
 or more instruction sets for operating the avatar of the cation correlated with the first collection of object represen
 application correlated with the first collection of object tations. In further embodiments, the executing the first one
 representations includes redirecting a processor circuit to 25 or more instruction sets for operating the avatar of the
 one or more alternate instruction sets, the alternate instruc     application correlated with the first collection of object
 tion sets comprising the first one or more instruction sets for representations includes redirecting the avatar of the appli
 operating the avatar of the application correlated with the cation to one or more alternate instruction sets, the alternate
  first collection of object representations . In further embodi instruction sets comprising the first one or more instruction
 ments, the executing the firstone or more instruction sets for 30 sets for operating the avatar of the application correlated
 operating the avatar of the application correlated with the with the first collection of object representations. In further
 first collection of object representations includes transmit embodiments , the executing the first one or more instruction
 ting , to a processor circuit for execution, the first one or sets for operating the avatar of the application correlated
 more instruction sets for operating the avatar of the appli with the first collection of object representations includes
 cation correlated with the first collection of object represen- 35 modifying a source code, a bytecode, an intermediate code,
 tations. In further embodiments, the executing the first one a compiled code, an interpreted code , a translated code, a
 or more instruction sets for operating the avatar of the           runtime code, an assembly code, or a machine code . In
 application correlated with the first collection of object         further embodiments, the executing the first one or more
 representations includes issuing an interrupt to a processor instruction sets for operating the avatar of the application
 circuit and executing the first one or more instruction sets for 40 correlated with the first collection of object representations
 operating the avatar of the application correlated with the includes modifying at least one of: a memory unit , a register
  first collection of object representations following the inter of a processor circuit , a storage , or a repository where
 rupt. In further embodiments , the executing the first one or instruction sets are stored or used . In further embodiments ,
 more instruction sets for operating the avatar of the appli         the executing the first one or more instruction sets for
 cation correlated with the first collection of object represen- 45 operating the avatar of the application correlated with the
 tations includes causing the application to execute the first first collection of object representations includesmodifying
 one or more instruction sets for operating the avatar of the at least one of: an elementof a processor circuit, an element
 application correlated with the first collection of object of the application , an element of the avatar of the applica
 representations. In further embodiments , the executing the tion , a virtual machine, a runtime engine , an operating
 first one or more instruction sets for operating the avatar of 50 system , an execution stack , a program counter, or a user
 the application correlated with the first collection of object input. In further embodiments, the executing the first one or
 representations includes modifying one or more instruction more instruction sets for operating the avatar of the appli
 sets of the application . In further embodiments , the execut cation correlated with the first collection of object represen
 ing the first one or more instruction sets for operating the tations includes modifying one or more instruction sets at a
 avatar   of the application correlated with the first collection 55 source code write time, a compile time, an interpretation
 of object representations includesmodifying the application . time, a translation time, a linking time, a loading time, or a
 In further embodiments , the executing the first one or more runtime. In further embodiments, the executing the first one
 instruction sets for operating the avatar of the application or more instruction sets for operating the avatar of the
 correlated with the first collection of object representations application correlated with the first collection of object
 includes redirecting the application to the first one or more 60 representations includes modifying one or more code seg
 instruction sets for operating the avatar of the application ments , lines of code , statements, instructions, functions ,
 correlated with the first collection of object representations . routines, subroutines, or basic blocks. In further embodi
  In further embodiments , the executing the first one or more ments , the executing the first one or more instruction sets for
  instruction sets for operating the avatar of the application operating the avatar of the application correlated with the
 correlated with the first collection of object representations 65 first collection of object representations includes a manual,
 includes redirecting the application to one ormore alternate an automatic , a dynamic, or a just in time ( JIT ) instrumen
 instruction sets , the alternate instruction sets comprising the tation of the application . In further embodiments, the execut
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 ing the first one or more instruction sets for operating the branching , redirecting , extending, orhot swapping a code of
 avatar of the application correlated with the first collection the avatar of the application . In further embodiments, the
 of object representations includes a manual , an automatic , a executing the first one or more instruction sets for operating
 dynamic , or a just in time (JIT) instrumentation of the avatar the avatar of the application correlated with the first collec
 of the application . In further embodiments , the executing the 5 tion of object representations includes implementing a user's
 first one or more instruction sets for operating the avatar of knowledge, style , or methodology of operating the avatar of
 the application correlated with the first collection of object the application in a circumstance. In further embodiments ,
 representations includes utilizing one or more of a .NET the executing the first one or more instruction sets for
 tool, a .NET application programming interface (API), a operating the avatar of the application correlated with the
 Java tool, a Java API, an operating system tool, or an 10 first collection of object representations includes executing
 independent tool for modifying instruction sets. In further        the first one or more instruction sets for operating the avatar
 embodiments , the executing the first one or more instruction      of the application correlated with the first collection of
 sets for operating the avatar of the application correlated        object representations via an interface. The interface may
 with the first collection of object representations includes include a modification interface .
 utilizing at least one of: a dynamic , an interpreted , or a 15 In certain embodiments, the operations of the non -tran
 scripting programming language. In further embodiments , sitory computer storage medium and /or the method further
 the executing the first one or more instruction sets for comprise : receiving at least one extra information . In some
 operating the avatar of the application correlated with the embodiments, the operations of the non -transitory computer
 first collection of object representations includes utilizing at storage medium and /or the method further comprise: learn
 least one of: a dynamic code , a dynamic class loading , or a 20 ing the first collection of object representations correlated
 reflection . In further embodiments, the executing the first with the at least one extra information . In certain embodi
 one or more instruction sets for operating the avatar of the ments , the operations of the non -transitory computer storage
 application correlated with the first collection of object medium and/ or the method further comprise : presenting, via
 representations includes utilizing an assembly language. In a user interface , a user with an option to execute the first one
  further embodiments, the executing the first one or more 25 or more instruction sets for operating the avatar of the
 instruction sets for operating the avatar of the application application correlated with the first collection of object
 correlated with the first collection of object representations representations. In some embodiments , the operations of the
  includes utilizing at least one of: a metaprogramming , a non - transitory computer storage medium and /or the method
 self -modifying code, or an instruction set modification tool. further comprise : receiving, via a user interface, a user's
 In further embodiments, the executing the first one or more 30 selection to execute the first one ormore instruction sets for
 instruction sets for operating the avatar of the application operating the avatar of the application correlated with the
 correlated with the first collection of object representations first collection of object representations. In certain embodi
 includes utilizing at least one of: just in time ( JIT ) compil ments , the operations of the non -transitory computer storage
 ing, JIT interpretation , JIT translation , dynamic recompiling , medium and/or the method further comprise : rating the
 or binary rewriting . In further embodiments , the executing 35 executed first one or more instruction sets for operating the
 the first one or more instruction sets for operating the avatar avatar of the application correlated with the first collection
 of the application correlated with the first collection of of object representations. In some embodiments, the opera
 object representations includes utilizing at least one of: a tions of the non - transitory computer storage medium and /or
 dynamic expression creation, a dynamic expression execu           themethod further comprise: presenting , via a user interface,
 tion , a dynamic function creation , or a dynamic function 40 a user with an option to cancel the execution of the executed
 execution . In further embodiments , the executing the first first one or more instruction sets for operating the avatar of
 one or more instruction sets for operating the avatar of the the application correlated with the first collection of object
 application correlated with the first collection of object representations. In certain embodiments , the operations of
 representations includes adding or inserting additional code the non - transitory computer storage medium and /or the
 into a code of the application . In further embodiments, the 45 method further comprise: receiving, via an input device , a
 executing the first one or more instruction sets for operating user's operating directions, the user's operating directions
 the avatar of the application correlated with the first collec    for instructing the processor circuit, the application , or the
 tion of object representations includes at least one of:          avatar of the application on how to operate the avatar of the
 modifying , removing , rewriting, or overwriting a code of the    application . In some embodiments , the operations of the
 application . In further embodiments , the executing the first 50 non -transitory computer storage medium and/or the method
  one or more instruction sets for operating the avatar of the further comprise : receiving a second collection of object
 application correlated with the first collection of object representations, the second collection of object representa
  representations includes at least one of: branching , redirect tions including one or more object representations repre
  ing , extending, or hot swapping a code of the application . In senting one or more objects of the application ; receiving a
  further embodiments, the executing the first one or more 55 second one or more instruction sets for operating the avatar
  instruction sets for operating the avatar of the application of the application ; and learning the second collection of
 correlated with the first collection of object representations object representations correlated with the second one or
  includes adding or inserting additional code into a code of more instruction sets for operating the avatar of the appli
 the avatar of the application. In further embodiments , the cation .
  executing the first one or more instruction sets for operating 60 In some aspects , the disclosure relates to a system for
 the avatar of the application correlated with the first collec learning an avatar's circumstances for autonomous avatar
 tion of object representations includes at least one of: operating . The system may be implemented at least in part
 modifying , removing, rewriting, or overwriting a code of the on one or more computing devices . In some embodiments,
 avatar of the application. In further embodiments, the the system comprises: a processor circuit configured to
 executing the first one ormore instruction sets for operating 65 execute instruction sets of an application . The system may
 the avatar of the application correlated with the first collec     further comprise: a memory unit configured to store data .
 tion of object representations includes at least one of:            The system may further comprise : an artificial intelligence
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 unit . The artificial intelligence unit may be configured to :      first collection of object representations based on at least a
 receive a first collection of object representations, the first     partial match between the new collection of object repre
 collection of object representations including one or more          sentations and the first collection of object representations.
 object representations representing one or more objects of           The artificial intelligence unit may be further configured to :
 the application . The artificial intelligence unitmay be further 5 cause the processor circuit to execute the first one or more
 configured to : receive a first one ormore instruction sets for instruction sets for operating the avatar of the application
 operating an avatar of the application . The artificial intelli correlated with the first collection of object representations,
 gence unit may be further configured to : learn the first the causing performed in response to the anticipating of the
 collection of object representations correlated with the first artificial intelligence unit, wherein the avatar of the appli
 one or more instruction sets for operating the avatar of the 10 cation performs one or more operations defined by the first
 application.                                                        one or more instruction sets for operating the avatar of the
    In some aspects, the disclosure relates to a non - transitory application correlated with the first collection of object
 computer storage medium having a computer program representations.
 stored thereon , the program including instructions that when          In some aspects , the disclosure relates to a non -transitory
 executed by one or more processor circuits cause the one or 15 computer storage medium having a computer program
 more processor circuits to perform operations comprising: stored thereon , the program including instructions that when
 receiving a first collection of object representations, the first executed by one or more processor circuits cause the one or
 collection of object representations including one or more more processor circuits to perform operations comprising :
 object representations representing one or more objects of an accessing a memory unit that comprises a plurality of
 application . The operations may further comprise : receiving 20 collections of object representations correlated with one or
 a first one or more instruction sets for operating an avatar of more instruction sets for operating an avatar of an applica
 the application . The operations may further comprise : learn tion , the plurality of collections of object representations
 ing the first collection of object representations correlated correlated with one or more instruction sets for operating the
 with the first one or more instruction sets for operating the avatar of the application including a first collection of object
 avatar of the application .                                      25 representations correlated with a first one or more instruc
    In some aspects , the disclosure relates to a method com         tion sets for operating the avatar of the application . The
 prising: (a ) receiving a first collection of object representa operations may further comprise : receiving a new collection
 tions by a processor circuit, the first collection of object of object representations, the new collection of object rep
 representations including one or more object representations resentations including one or more object representations
 representing one or more objects of an application. The 30 representing one or more objects of the application . The
 method may further comprise : (b ) receiving a first one or operations may further comprise: anticipating the first one or
 more instruction sets for operating an avatar of the applica more instruction sets for operating the avatar of the appli
 tion by the processor circuit. The method may further cation correlated with the first collection of object represen
 comprise : (c ) learning the first collection of object repre   tations based on at least a partial match between the new
 sentations correlated with the first one or more instruction 35 collection of object representations and the first collection of
 sets for operating the avatar of the application , the learning object representations. The operations may further com
 of (c ) performed by the processor circuit.                     prise : causing an execution of the first one or more instruc
     The aforementioned system , the non -transitory computer tion sets for operating the avatar of the application correlated
 storage medium , and /or the method may include any ele with the first collection of object representations, the causing
 ments, operations, steps, and embodiments of the above 40 performed in response to the anticipating the first one or
 described systems, non - transitory computer storage media , more instruction sets for operating the avatar of the appli
 and /or methods as applicable as well as the following cation correlated with the first collection of object represen
 embodiments .                                                tations based on at least a partial match between the new
    In some aspects , the disclosure relates to a system for collection of object representations and the first collection of
 using an avatar's circumstances for autonomous avatar 45 object representations , wherein the avatar of the application
 operating . The system may be implemented at least in part performs one or more operations defined by the first one or
 on one or more computing devices. In some embodiments, more instruction sets for operating the avatar of the appli
 the system comprises: a processor circuit configured to cation correlated with the first collection of object represen
 execute instruction sets of an application . The system may tations .
 further comprise: a memory unit configured to store data . 50 In some aspects, the disclosure relates to a method com
  The system may further comprise : an artificial intelligence prising : (a ) accessing a memory unit that comprises a
 unit. The artificial intelligence unit may be configured to : plurality of collections of object representations correlated
 access the memory unit that comprises a plurality of col with one or more instruction sets for operating an avatar of
 lections of object representations correlated with one or           application , the plurality of collections of object repre
 more instruction sets for operating an avatar of the applica- 55 sentations correlated with one or more instruction sets for
 tion , the plurality of collections of object representations operating the avatar of the application including a first
 correlated with one or more instruction sets for operating the collection of object representations correlated with a first
 avatar of the application including a first collection of object one or more instruction sets for operating the avatar of the
 representations correlated with a first one or more instruc      application , the accessing of (a ) performed by a processor
 tion sets for operating the avatar of the application . The 60 circuit. The method may further comprise : (b ) receiving a
 artificial intelligence unit may be further configured to: new collection of object representations by the processor
 receive a new collection of object representations, the new          circuit , the new collection of object representations includ
 collection of object representations including one or more ing one or more object representations representing one or
 object representations representing one or more objects of more objects of the application . The method may further
 the application . The artificial intelligence unit may be further 65 comprise: (c) anticipating the first one or more instruction
 configured to : anticipate the first one ormore instruction sets    sets for operating the avatar of the application correlated
 for operating the avatar of the application correlated with the     with the first collection of object representations based on at
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 least a partial match between the new collection of object representations includes one or more object representations.
 representations and the first collection of object representa       In further embodiments, the first stream of collections of
 tions , the anticipating of ( c ) performed by the processor object representations is received over a first time period. In
 circuit. The method may further comprise: (d ) executing the further embodiments, the new stream of collections of object
 first one or more instruction sets for operating the avatar of 5 representations is received over a new time period . In further
 the application correlated with the first collection of object
 representations, the executing of (d ) performed in response embodiments
                                                                     resentations
                                                                                    , the first stream of collections of object rep
                                                                                   includes    a unit of knowledge of the avatar's
 to the anticipating of (c). The method may further comprise : circumstance over a first            time period . In further embodi
 (e ) performing , by the avatar of the application , one ormore ments , the new stream of collections          of object representa
 operations    defined by the first one or more  instruction sets 10 tions includes   a unit of  knowledge
 for operating the avatar of the application correlated with the stance over a new time period. In further   of  the avatar's circum
  first collection of object representations .                                                                       embodiments , an
                                                                     object representation    includes  one or
     The aforementioned system , the non -transitory computer object of the application. In further embodimentsmore   properties of an
 storage medium , and/or the method may include any ele                                                                    , an object
 ments, operations, steps, and embodiments of the above is representation includes one or more information on an
 described systems, non - transitory computer storage media, object  the new
                                                                            of the application . In further embodiments, the first or
                                                                                stream of collections of object representations
 and/or methods as applicable as well as the following
 embodiments .                                                   includes or is associated with a time stamp , an order, or a
    In some aspects, the disclosure relates to a system for time related information . In further embodiments, the first
 learning and using an avatar's circumstances for autono- 20 stream of collections of object representations includes a
 mous avatar operating . The system may be implemented at comparative stream of collections of object representations
 least in part on one or more computing devices. In some whose at least one portion can be used for comparisons with
 embodiments , the system comprises: a processor circuit at least one portion of streams of collections of object
 configured to execute instruction sets of an application . The representations subsequent to the first stream of collections
 system may further comprise: a memory unit configured to 25 of object representations, the streams of collections of object
 store data . The system may further comprise : an artificial representations subsequent to the first stream of collections
 intelligence unit. The artificial intelligence unit may be of object representations comprising the new stream of
 configured to : receive a first stream of collections of object collections of object representations. In further embodi
 representations, the first stream of collections of object ments , the first stream of collections of object representa
 representations including one or more object representations 30 tions includes a comparative stream of collections of object
 representing one or more objects of the application . The representations that can be used for comparison with the
 artificial intelligence unit may be further configured to : new stream of collections of object representations. In
 receive a first one or more instruction sets for operating an further embodi nts, the new stream of collections of object
 avatar of the application . The artificial intelligence unitmay representations includes an anticipatory stream of collec
 be further configured to : learn the first stream of collections 35 tions of object representations that can be compared with
 of object representations correlated with the first one or streams of collections of object representations whose cor
 more instruction sets for operating the avatar of the appli         related one or more instruction sets for operating the avatar
 cation . The artificial intelligence unit may be further con       of the application can be used for anticipation of one or more
 figured to : receive a new stream of collections of object          instruction sets to be executed in autonomous operating of
 representations, the new stream of collections of object 40 the avatar of the application .
 representations including one or more object representations          In some embodiments , the receiving the first stream of
 representing one or more objects of the application . The collections of object representations includes receiving one
 artificial intelligence unit may be further configured to : or more properties of the one or more objects of the
 anticipate the first one or more instruction sets for operating application . The one or more properties of the one or more
 the avatar of the application correlated with the first stream 45 objects of the application may include one or more infor
 of collections of object representations based on at least a mation on the one or more objects of the application . The
 partial match between the new stream of collections of receiving the one or more properties of the one or more
 object representations and the first stream of collections of objects of the application may include receiving the one or
 object representations. The artificial intelligence unit may be more properties of the one ormore objects of the application
 further configured to : cause the processor circuit to execute 50 from an engine, an environment, or a system used to
 the first one or more instruction sets for operating the avatar implement the application . The receiving the one or more
 of the application correlated with the first stream of collec properties of the one or more objects of the application may
 tions of object representations, the causing performed in include at least one of: accessing or reading a scene graph or
 response to the anticipating of the artificial intelligence unit , a data structure used for organizing the one or more objects
 wherein the avatar of the application performs one or more 55 of the application . The receiving the one or more properties
 operations defined by the first one or more instruction sets of the one or more objects of the application may include
 for operating the avatar of the application correlated with the detecting the one or more properties of the one or more
 first stream of collections of object representations.             objects of the application in a picture of the avatar's sur
    In certain embodiments, the first stream of collections of rounding . The receiving the one or more properties of the
 object representations includes one or more collections of 60 one ormore objects of the application may include detecting
 object representations, and wherein each collection of object the one or more properties of the one or more objects of the
 representations of the first stream of collections of object application in a sound from the avatar's surrounding .
 representations includes one or more object representations .         In certain embodiments , the system further comprises : an
 In further embodiments, the new stream of collections of object processing unit configured to receive streams of
 object representations includes one or more collections of 65 collections of object representations , wherein the first or the
 object representations, and wherein each collection of object new stream of collections of object representations is
 representations of the new stream of collections of object received by the object processing unit .
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    In some embodiments , the first one or more instruction first stream of collections of object representations corre
 sets for operating the avatar of the application include one or lated with the first one ormore instruction sets for operating
 more instruction sets that temporally correspond to the first the avatar of the application . The correlating the first stream
 stream of collections of object representations. The one or of collections of object representations with the first one or
 more instruction sets that temporally correspond to the first 5 more instruction sets for operating the avatar of the appli
 stream of collections of object representations may include cation may include structuring a unit of knowledge of how
 one or more instruction sets executed at a time of generating the avatar of the application operated in a circumstance . In
 the first stream of collections of object representations. The further embodiments , the learning the first stream of collec
 one or more instruction sets that temporally correspond to tions of object representations correlated with the first one or
 the first stream of collections of object representations may 10 more instruction sets for operating the avatar of the appli
 include one or more instruction sets executed prior to cation includes learning a user's knowledge, style , or meth
  generating the first stream of collections of object represen     odology of operating the avatar of the application in a
 tations. The one or more instruction sets that temporally circumstance .
 correspond to the first stream of collections of object rep           In certain embodiments, the learning the first stream of
 resentations may include one or more instruction sets 15 collections of object representations correlated with the first
 executed within a threshold period of time prior to gener one or more instruction sets for operating the avatar of the
 ating the first stream of collections of object representations . application includes storing the first stream of collections of
  The one or more instruction sets that temporally correspond object representations correlated with the first one or more
 to the first stream of collections of object representations instruction sets for operating the avatar of the application
 may include one or more instruction sets executed subse- 20 into the memory unit, the memory unit comprising a plu
 quent to generating the first stream of collections of object rality of streams of collections of object representations
 representations. The one or more instruction sets that tem         correlated with one ormore instruction sets for operating the
 porally correspond to the first stream of collections of object avatar of the application . In further embodiments, the plu
 representations may include one or more instruction sets rality of streams of collections of object representations
 executed within a threshold period of time subsequent to 25 correlated with one ormore instruction sets for operating the
 generating the first stream of collections of object represen avatar of the application include a neural network , a graph ,
 tations. The one or more instruction sets that temporally a collection of sequences , a sequence, a collection of knowl
 correspond to the first stream of collections of object rep edge cells, a knowledgebase , a knowledge structure , or a
 resentations may include one or more instruction sets data structure. In further embodiments , the plurality of
 executed within a threshold period of time prior to gener- 30 streams of collections of object representations correlated
 ating the first stream of collections of object representations with one or more instruction sets for operating the avatar of
 and a threshold period of time subsequent to generating the the application are organized into a neural network, a graph ,
 first stream of collections of object representations.             a collection of sequences , a sequence, a collection of knowl
     In some embodiments, the first stream of collections of edge cells, a knowledgebase , a knowledge structure , or a
 object representations correlated with the first one or more 35 data structure . In further embodiments, one ormore streams
 instruction sets for operating the avatar of the application of collections of object representations correlated with one
  include a unit of knowledge of how the avatar of the or more instruction sets for operating the avatar of the
 application operated in a circumstance . In further embodi application of the plurality of streams of collections of
 ments, the first stream of collections of object representa        object representations correlated with one or more instruc
 tions correlated with the first one ormore instruction sets for 40 tion sets for operating the avatar of the application are
 operating the avatar of the application are included in a included in one or more neurons, nodes, vertices , or ele
 neuron , a node, a vertex , or an element of a knowledgebase. ments of a knowledgebase . The knowledgebase may include
  The knowledgebase may include a neural network , a graph , a neural network , a graph , a collection of sequences , a
 a collection of sequences, a sequence, a collection ofknowl sequence , a collection of knowledge cells , a knowledge
 edge cells , a knowledge structure, or a data structure. Some 45 structure , or a data structure. Some of the neurons, nodes,
 of the neurons, nodes, vertices, or elements are intercon         vertices, or elements are interconnected . In further embodi
 nected. In further embodiments, the first stream of collec        ments, the plurality of streams of collections of object
 tions of object representations correlated with the first one or representations correlated with one or more instruction sets
 more instruction sets for operating the avatar of the appli for operating the avatar of the application include a user's
 cation are structured into a knowledge cell . In further 50 knowledge, style, or methodology of operating the avatar of
 embodiments, the knowledge cell is included in a neuron , a the application in circumstances . In further embodiments ,
 node , a vertex , or an element of a knowledgebase . The the plurality of streams of collections of object representa
 knowledgebase may include a neural network , a graph , a tions correlated with one or more instruction sets for oper
 collection of sequences, a sequence, a collection of knowl ating the avatar of the application are stored on a remote
 edge cells , a knowledge structure , or a data structure . Some 55 computing device or a remote computing system . In further
 of the neurons, nodes, vertices, or elements are intercon          embodiments, the plurality of streams of collections of
 nected .                                                           object representations correlated with one or more instruc
    In further embodiments , the learning the first stream of tion sets for operating the avatar of the application include
 collections of object representations correlated with the first an artificial intelligence system for knowledge structuring ,
 one ormore instruction sets for operating the avatar of the 60 storing , or representation. The artificial intelligence system
 application includes correlating the first stream of collec        for knowledge structuring, storing , or representation may
 tions of object representations with the first one or more include at least one of: a deep learning system , a supervised
 instruction sets for operating the avatar of the application . learning system , an unsupervised learning system , a neural
  The correlating the first stream of collections of object network , a search -based system , an optimization -based sys
 representations with the first one or more instruction sets for 65 tem , a logic -based system , a fuzzy logic -based system , a
 operating the avatar of the application may include gener tree -based system , a graph -based system , a hierarchical
 ating a knowledge cell , the knowledge cell comprising the system , a symbolic system , a sub -symbolic system , an
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 evolutionary system , a genetic system , a multi -agent system ,     the application correlated with the first stream of collections
 a deterministic system , a probabilistic system , or a statistical   of object representations based on at least a partial match
 system .                                                        between the new stream of collections of object represen
     In some embodiments, the anticipating the first one or tations and the first stream of collections of object repre
 more instruction sets for operating the avatar of the appli- 5 sentations includes comparing at least one object property of
 cation correlated with the first stream of collections ofobject at least one object representation of at least one collection of
 representations based on at least a partial match between the object representations from the new stream of collections of
 new stream of collections of object representations and the object representations with at least one object property of at
 first stream of collections of object representations includes least one object representation of at least one collection of
 comparing at least one portion of the new stream of collec- 10 object representations from the first stream of collections of
 tions ofobject representationswith at least one portion of the object representations.
 first stream of collections of object representations. In fur      In certain embodiments, the anticipating the first one or
 ther embodiments , the at least one portion of the new stream more instruction sets for operating the avatar of the appli
 of collections of object representations include at least one cation correlated with the first stream of collections of object
 collection of object representations, at least one object 15 representations based on at least a partial match between the
 representation , or at least one object property of the new new stream of collections of object representations and the
 stream of collections of object representations. In further first stream of collections of object representations includes
 embodiments , the at least one portion of the first stream of determining that there is at least a partial match between the
 collections of object representations include at least one new stream of collections of object representations and the
 collection of object representations, at least one object 20 first stream of collections of object representations. In fur
 representation , or at least one object property of the first ther embodiments , the determining that there is at least a
 stream of collections of object representations. In further partial match between the new stream of collections of
  embodiments, the anticipating the first one or more instruc object representations and the first stream of collections of
 tion sets for operating the avatar of the application correlated object representations includes determining that there is at
 with the first stream of collections of object representations 25 least a partial match between one or more portions of the
 based on at least a partialmatch between the new stream of new stream of collections of object representations and one
 collections of object representations and the first stream of ormore portions of the first stream of collections of object
  collections of object representations includes comparing at representations. In further embodiments, the determining
 least one collection of object representations from the new that there is at least a partial match between the new stream
 stream of collections of object representations with at least 30 of collections of object representations and the first stream
 one collection of object representations from the first stream    of collections of object representations includes determining
 of collections of object representations. In further embodi that a similarity between at least one portion of the new
 ments , the comparing at least one collection of object stream of collections of object representations and least
  representations from the new stream of collections ofobject one portion of the first stream of collections of object
 representations with at least one collection of object repre- 35 representations exceeds a similarity threshold . In further
  sentations from the first stream of collections of object embodiments, the determining that there is at least a partial
 representations includes comparing at least one object rep match between the new stream of collections of object
 resentation of the at least one collection of object represen     representations and the first stream of collections of object
 tations from the new stream of collections of object repre        representations includes determining a substantial similarity
 sentations with at least one object representation of the at 40 between at leastone portion of the new stream of collections
 least one collection of object representations from the first of object representations and at least one portion of the first
  stream of collections of object representations . The compar     stream of collections of object representations. The substan
  ing at least one object representation of the at least one tial similarity may be achieved when a similarity between
 collection of object representations from the new stream of the at least one portion of the new stream of collections of
 collections of object representations with at least one object 45 object representations and the at least one portion of the first
  representation of the at least one collection of object repre    stream of collections of object representations exceeds a
 sentations from the first stream of collections of object similarity threshold . The substantial similarity may be
 representations may include comparing at least one object achieved when a number or a percentage of matching or
 property of the at least one object representation of the at partially matching portions of the new stream of collections
 least one collection of object representations from the new 50 of object representations and portions of the first stream of
 stream of collections of object representations with at least collections of object representations exceeds a threshold
 one object property of the at least one object representation number or threshold percentage. In further embodiments ,the
 of the at least one collection of object representations from determining that there is at least a partial match between the
 the first stream of collections of object representations. In new stream of collections of object representations and the
 further embodiments , the anticipating the first one or more 55 first stream of collections of object representations includes
  instruction sets for operating the avatar of the application determining that a number or a percentage of matching or
 correlated with the first stream of collections of object partially matching collections of object representations from
  representations based on at least a partialmatch between the the new stream of collections of object representations and
 new stream of collections of object representations and the from the first stream of collections of object representations
 first stream of collections of object representations includes 60 exceeds a threshold number or threshold percentage . The
 comparing at least one object representation of the at least matching or partially matching collections of object repre
 one collection of object representations from the new stream      sentations from the new stream of collections of object
 of collections of object representations with at least one representations and from the first stream of collections of
 object representation of the at least one collection of object object representations may be determined factoring in at
 representations from the first stream of collections of object 65 least one of: an importance of a collection of object repre
 representations. In further embodiments , the anticipating the sentations, an order of a collection of object representations,
 first one or more instruction sets for operating the avatar of       a threshold for a similarity in a collection of object repre
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 sentations, or a threshold for a difference in a collection of sentation of the at least one collection of object representa
 object representations. In further embodiments , the deter     tions from the first stream of collections of object represen
 mining that there is at least a partialmatch between the new   tations.
 stream of collections of object representations and the first     In some embodiments , the causing the processor circuit to
 stream of collections of object representations includes 5 execute the first one or more instruction sets for operating
 determining that a number or a percentage of matching or the avatar of the application correlated with the first stream
 partially matching object representations from the new of collections of object representations includes causing the
 stream of collections of object representations and from the processor circuit to execute the first one or more instruction
 first stream of collections of object representations exceeds sets for operating the avatar of the application correlated
 a threshold number or threshold percentage. The matching 10 with the first stream of collections of object representations
 or partially matching object representations from the new         instead of or prior to an instruction set that would have been
 stream of collections of object representations and from the      executed next. In further embodiments , the causing the
 first stream of collections of object representations may be      processor circuit to execute the first one or more instruction
 determined factoring in at least one of: an association of an sets for operating the avatar of the application correlated
 object representation with a collection of object representa- 15 with the first stream of collections of object representations
 tions, a type of an object representation , an importance of an includes modifying one or more instruction sets of the
 object representation , a threshold for a similarity in an object processor circuit. In further embodiments, the causing the
 representation , or a threshold for a difference in an object processor circuit to execute the first one or more instruction
 representation . In further embodiments, the determining that sets for operating the avatar of the application correlated
 there is at least a partial match between the new stream of 20 with the first stream of collections of object representations
 collections of object representations and the first stream of includes modifying a register or an element of the processor
 collections of object representations includes determining circuit . In further embodiments, the causing the processor
 that a number or a percentage of matching or partially              circuit to execute the first one or more instruction sets for
 matching object properties from the new stream of collec            operating the avatar of the application correlated with the
 tions of object representations and from the first stream of 25 first stream of collections of object representations includes
 collections of object representations exceeds a threshold inserting the first one or more instruction sets for operating
 number or threshold percentage. The matching or partially the avatar of the application correlated with the first stream
 matching object properties from the new stream of collec of collections of object representations into a register or an
 tions of object representations and from the first stream of element of the processor circuit. In further embodiments, the
 collections of object representations may be determined 30 causing the processor circuit to execute the first one or more
  factoring in at least one of: an association of an object instruction sets for operating the avatar of the application
 property with an object representation , an association of an correlated with the first stream of collections of object
 object property with a collection of object representations, a representations includes redirecting the processor circuit to
 category of an object property , an importance of an object the first one ormore instruction sets for operating the avatar
  property , a threshold for a similarity in an object property, or 35 of the application correlated with the first stream of collec
 a threshold for a difference in an object property. In further tions of object representations . In further embodiments, the
 embodiments, the determining that there is at least a partial causing the processor circuit to execute the first one or more
 match between the new stream of collections of object instruction sets for operating the avatar of the application
 representations and the first stream of collections of object correlated with the first stream of collections of object
 representations includes determining that there is at least a 40 representations includes redirecting the processor circuit to
 partial match between at least one collection of object             one or more alternate instruction sets, the alternate instruc
 representations from the new stream of collections of object tion sets comprising the first one or more instruction sets for
 representations and at least one collection of object repre operating the avatar of the application correlated with the
 sentations from the first stream of collections of object first stream of collections of object representations. In fur
 representations . The determining that there is at least a 45 ther embodiments , the causing the processor circuit to
 partial match between at least one collection of object execute the first one or more instruction sets for operating
 representations from the new stream of collections of object the avatar of the application correlated with the first stream
 representations and at least one collection of object repre       of collections of object representations includes transmit
 sentations from the first stream of collections of object ting , to the processor circuit for execution , the first one or
 representations may include determining that there is at least 50 more instruction sets for operating the avatar of the appli
 a partial match between at least one object representation of cation correlated with the first stream of collections of object
 the at least one collection of object representations from the representations. In further embodiments , the causing the
 new stream of collections of object representations and at        processor circuit to execute the first one or more instruction
 least one object representation of the at least one collection sets for operating the avatar of the application correlated
 of object representations from the first stream of collections 55 with the first stream of collections of object representations
 of object representations. The determining that there is at includes issuing an interrupt to the processor circuit and
 least a partial match between at least one object represen executing the first one or more instruction sets for operating
 tation of the at least one collection of object representations the avatar of the application correlated with the first stream
 from the new stream of collections of object representations of collections of object representations following the inter
 and at least one object representation of the at least one 60 rupt. In further embodiments, the causing the processor
 collection of object representations from the first stream of circuit to execute the first one or more instruction sets for
 collections of object representations may include determin        operating the avatar of the application correlated with the
 ing that there is at least a partialmatch between at least one first stream of collections of object representations includes
 object property of the at least one object representation of causing the application to execute the first one or more
 the at least one collection of object representations from the 65 instruction sets for operating the avatar of the application
 new stream of collections of object representations and at correlated with the first stream of collections of object
 least one object property of the at least one object repre representations. In further embodiments , the causing the
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 processor circuit to execute the first one or more instruction at least one of: the memory unit, a register of the processor
 sets for operating the avatar of the application correlated circuit , a storage, or a repository where instruction sets are
 with the first stream of collections of object representations stored or used . In further embodiments , the causing the
  includes modifying one or more instruction sets of the processor circuit to execute the first one ormore instruction
 application . In further embodiments , the causing the pro- 5 sets for operating the avatar of the application correlated
 cessor circuit to execute the first one or more instruction sets with the first stream of collections of object representations
 for operating the avatar of the application correlated with the includes modifying at least one of: an element of the
  first stream of collections of object representations includes processor circuit , an element of the application , an element
 modifying the application . In further embodiments , the of the avatar of the application , a virtualmachine, a runtime
 causing the processor circuit to execute the first one or more 10 engine, an operating system , an execution stack , a program
  instruction sets for operating the avatar of the application counter, or a user input. In further embodiments , the causing
 correlated with the first stream of collections of object the processor circuit to execute the first one ormore instruc
 representations includes redirecting the application to the tion sets for operating the avatar of the application correlated
  first one or more instruction sets for operating the avatar of with the first stream of collections of object representations
 the application correlated with the first stream of collections 15 includes modifying one or more instruction sets at a source
 of object representations. In further embodiments , the caus code write time, a compile time, an interpretation time, a
 ing the processor circuit to execute the first one or more translation time, a linking time, a loading time, or a runtime.
 instruction sets for operating the avatar of the application In further embodiments , the causing the processor circuit to
 correlated with the first stream of collections of object execute the first one or more instruction sets for operating
 representations includes redirecting the application to one or 20 the avatar of the application correlated with the first stream
 more alternate instruction sets, the alternate instruction sets of collections of object representations includes modifying
 comprising the first one or more instruction sets for oper      one or more code segments , lines of code, statements,
 ating the avatar of the application correlated with the first instructions, functions, routines, subroutines , or basic
 stream of collections of object representations. In further blocks. In further embodiments , the causing the processor
 embodiments, the causing the processor circuit to execute 25 circuit to execute the first one or more instruction sets for
 the first one or more instruction sets for operating the avatar operating the avatar of the application correlated with the
 of the application correlated with the first stream of collec first stream of collections of object representations includes
 tions of object representations includes causing the avatar of a manual, an automatic , a dynamic , or a just in time (JIT )
 the application to execute the first one or more instruction instrumentation of the application . In further embodiments ,
 sets for operating the avatar of the application correlated 30 the causing the processor circuit to execute the first one or
 with the first stream of collections of object representations. more instruction sets for operating the avatar of the appli
 In further embodiments, the causing the processor circuit to cation correlated with the first stream of collections of object
 execute the first one or more instruction sets for operating representations includes a manual, an automatic , a dynamic ,
 the avatar of the application correlated with the first stream  or a just in time (JIT ) instrumentation of the avatar of the
 of collections of object representations includes modifying 35 application . In further embodiments, the causing the pro
 one or more instruction sets of the avatar of the application . cessor circuit to execute the first one or more instruction sets
 In further embodiments , the causing the processor circuit to for operating the avatar of the application correlated with the
 execute the first one or more instruction sets for operating first stream of collections of object representations includes
 the avatar of the application correlated with the first stream  utilizing one or more of a .NET tool, a .NET application
 of collections of object representations includes modifying 40 programming interface (API), a Java tool, a Java API, an
 the avatar of the application . In further embodiments, the operating system tool, or an independent tool for modifying
 causing the processor circuit to execute the first one ormore instruction sets. In further embodiments, the causing the
 instruction sets for operating the avatar of the application processor circuit to execute the first one or more instruction
 correlated with the first stream of collections of object sets for operating the avatar of the application correlated
 representations includes redirecting the avatar of the appli- 45 with the first stream of collections of object representations
 cation to the first one or more instruction sets for operating includes utilizing at least one of: a dynamic, an interpreted ,
 the avatar of the application correlated with the first stream   or a scripting programming language. In further embodi
 of collections of object representations. In further embodi ments , the causing the processor circuit to execute the first
 ments , the causing the processor circuit to execute the first one or more instruction sets for operating the avatar of the
 one or more instruction sets for operating the avatar of the 50 application correlated with the first stream of collections of
 application correlated with the first stream of collections of object representations includes utilizing at least one of: a
 object representations includes redirecting the avatar of the dynamic code, a dynamic class loading, or a reflection . In
 application to one or more alternate instruction sets , the further embodiments, the causing the processor circuit to
 alternate instruction sets comprising the first one or more execute the first one or more instruction sets for operating
 instruction sets for operating the avatar of the application 55 the avatar of the application correlated with the first stream
 correlated with the first stream of collections of object of collections of object representations includes utilizing an
 representations. In further embodiments , the causing the          assembly language. In further embodiments , the causing the
 processor circuit to execute the first one or more instruction     processor circuit to execute the first one or more instruction
 sets for operating the avatar of the application correlated        sets for operating the avatar of the application correlated
 with the first stream of collections of object representations 60 with the first stream of collections of object representations
 includes modifying a source code, a bytecode , an interme includes utilizing at least one of: a metaprogramming , a
 diate code , a compiled code, an interpreted code, a translated self-modifying code, or an instruction set modification tool.
 code, a runtime code, an assembly code , or a machine code . In further embodiments , the causing the processor circuit to
 In further embodiments, the causing the processor circuit to execute the first one or more instruction sets for operating
 execute the first one or more instruction sets for operating 65 the avatar of the application correlated with the first stream
 the avatar of the application correlated with the first stream of collections of object representations includes utilizing at
 of collections of object representations includes modifying least one of: just in time (JIT ) compiling, JIT interpretation ,
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 JIT translation , dynamic recompiling , or binary rewriting. In     include one or more of: an information on the avatar of the
 further embodiments, the causing the processor circuit to application , an information on the avatar's circumstance , an
 execute the first one or more instruction sets for operating information on an object, an information on an object
 the avatar of the application correlated with the first stream representation , an information on a collection of object
 of collections of object representations includes utilizing at 5 representations, an information on a stream of collections of
 least one of: a dynamic expression creation , a dynamic object representations, an information on an instruction set,
 expression execution , a dynamic function creation , or a an information on the application , an information on the
 dynamic function execution . In further embodiments , the processor circuit , or an information on a user. In further
 causing the processor circuit to execute the first one ormore embodiments, the artificial intelligence unit is further con
 instruction sets for operating the avatar of the application 10 figured to : learn the first stream of collections of object
 correlated with the first stream of collections of object representations correlated with the at least one extra infor
 representations includes adding or inserting additional code mation . The learning the first stream of collections of object
 into a code of the application . In further embodiments , the representations correlated with at least one extra information
 causing the processor circuit to execute the first one ormore may include correlating the first stream of collections of
 instruction sets for operating the avatar of the application 15 object representations with the at least one extra informa
 correlated with the first stream of collections of object tion . The learning the first stream of collections of object
 representations includes at least one of: modifying, remov         representations correlated with at least one extra information
 ing , rewriting , or overwriting a code of the application . In may include storing the first stream of collections of object
 further embodiments , the causing the processor circuit to representations correlated with the at least one extra infor
 execute the first one or more instruction sets for operating 20 mation into the memory unit. In further embodiments , the
 the avatar of the application correlated with the first stream     anticipating the first one or more instruction sets for oper
 of collections of object representations includes at least one ating the avatar of the application correlated with the first
 of: branching , redirecting , extending, or hot swapping a stream of collections of object representations based on at
 code of the application . In further embodiments , the causing least a partial match between the new stream of collections
 the processor circuit to execute the first one or more instruc- 25 of object representations and the first stream of collections
 tion sets for operating the avatar of the application correlated of object representations includes anticipating the first one
 with the first stream of collections of object representations or more instruction sets for operating the avatar of the
 includes adding or inserting additional code into a code of application correlated with the first stream of collections of
 the avatar of the application . In further embodiments, the object representations based on at least a partial match
 causing the processor circuit to execute the first one or more 30 between an extra information correlated with the new stream
 instruction sets for operating the avatar of the application of collections of object representations and an extra infor
 correlated with the first stream of collections of object           mation correlated with the first stream of collections of
 representations includes at least one of: modifying, remov          object representations . The anticipating the first one or more
 ing, rewriting , or overwriting a code of the avatar of the         instruction sets for operating the avatar of the application
 application . In further embodiments, the causing the pro- 35 correlated with the first stream of collections of object
 cessor circuit to execute the first one or more instruction sets    representations based on at least a partial match between an
 for operating the avatar of the application correlated with the extra information correlated with the new stream of collec
 first stream of collections of object representations includes tions of object representations and an extra information
 at least one of: branching, redirecting, extending , or hot correlated with the first stream of collections of object
 swapping a code of the avatar of the application . In further 40 representations may include comparing an extra information
 embodiments, the causing the processor circuit to execute correlated with the new stream of collections of object
 the first one or more instruction sets for operating the avatar representations and an extra information correlated with the
 of the application correlated with the first stream of collec     first stream of collections of object representations. The
 tions of object representations includes implementing a anticipating the first one or more instruction sets for oper
 user's knowledge, style, or methodology of operating the 45 ating the avatar of the application correlated with the first
 avatar of the application in a circumstance. In further stream of collections of object representations based on at
 embodiments , the system further comprises : an interface least a partialmatch between an extra information correlated
 configured to cause execution of instruction sets, wherein with the new stream of collections of object representations
 the executing the first one or more instruction sets for and an extra information correlated with the first stream of
 operating the avatar of the application correlated with the 50 collections of object representations may include determin
 first stream of collections of object representations by the ing that a similarity between an extra information correlated
 processor circuit is caused by the interface . The interface with the new stream of collections of object representations
 may include a modification interface .                              and an extra information correlated with the first stream of
    In certain embodiments, the avatar's performing the one collections of object representations exceeds a similarity
 or more operations defined by the first one or more instruc- 55 threshold .
 tion sets for operating the avatar of the application correlated       In certain embodiments, the system further comprises : a
 with the first stream of collections of object representations user interface, wherein the artificial intelligence unit is
 includes implementing a user's knowledge , style, or meth           further configured to : cause the user interface to present a
 odology of operating the avatar of the application in a user with an option to execute the first one or more instruc
 circumstance .                                                   60 tion sets for operating the avatar of the application correlated
    In some embodiments, the artificial intelligence unit is with the first stream of collections of object representations .
 further configured to : receive at least one extra information . In further embodiments, the system further comprises: a user
 In further embodiments , the at least one extra information interface , wherein the artificial intelligence unit is further
 include one or more of: a time information , a location configured to: receive , via the user interface, a user's selec
 information , a computed information , a visual information , 65 tion to execute the first one or more instruction sets for
 an acoustic information , or a contextual information . In operating the avatar of the application correlated with the
 further embodiments , the at least one extra information            first stream of collections of object representations. In fur
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 ther embodiments , the artificial intelligence unit is further     embodiments, the second stream of collections of object
 configured to : rate the executed first one or more instruction    representations is received over a second time period. In
 sets for operating the avatar of the application correlated further embodiments, the second stream of collections of
 with the first stream of collections of object representations.   object representations includes a unit of knowledge of the
 The rating the executed first one ormore instruction sets for 5 avatar's circumstance over a second time period . In further
 operating the avatar of the application correlated with the embodiments, the second stream of collections of object
 first stream of collections of object representations may representations includes or is associated with a time stamp ,
 include causing a user interface to display the executed first an order, or a time related information . In further embodi
 one or more instruction sets for operating the avatar of the ments , the learning the first stream of collections of object
 application correlated with the first stream of collections of 10 representations correlated with the first one ormore instruc
 object representations along with one or more rating values tion sets for operating the avatar of the application and the
 as options to be selected by a user. The rating the executed learning the second stream of collections of object repre
 first one or more instruction sets for operating the avatar of sentations correlated with the second one or more instruction
 the application correlated with the first stream of collections sets for operating the avatar of the application include
 of object representations may include rating the executed 15 creating a connection between the first stream of collections
 first one or more instruction sets for operating the avatar of of object representations correlated with the first one or
 the application correlated with the first stream of collections more instruction sets for operating the avatar of the appli
 of object representations without a user input. In further cation and the second stream of collections of object repre
 embodiments,the system further comprises: a user interface, sentations correlated with the second one or more instruction
 wherein the artificial intelligence unit is further configured 20 sets for operating the avatar of the application . The connec
 to : cause the user interface to present a user with an option tion may include or is associated with at least one of: an
 to cancel the execution of the executed first one or more occurrence count, a weight, a parameter, or a data . In further
 instruction sets for operating the avatar of the application embodiments, the learning the first stream of collections of
 correlated with the first stream of collections of object object representations correlated with the first one or more
 representations. In further embodiments, the canceling the 25 instruction sets for operating the avatar of the application
 execution of the executed first one or more instruction sets        and the learning the second stream of collections of object
 for operating the avatar of the application correlated with the representations correlated with the second one or more
 first stream of collections of object representations includes instruction sets for operating the avatar of the application
 restoring the processor circuit, the application , or the avatar include updating a connection between the first stream of
 of the application to a prior state. The restoring the processor 30 collections of object representations correlated with the first
 circuit, the application , or the avatar of the application to a one or more instruction sets for operating the avatar of the
 prior state may include saving the state of the processor application and the second stream of collections of object
 circuit , the application , or the avatar of the application prior representations correlated with the second one or more
 to executing the first one or more instruction sets for instruction sets for operating the avatar of the application . In
 operating the avatar of the application correlated with the 35 further embodiments , the updating the connection between
 first stream of collections of object representations.              the first stream of collections of object representations
    In some embodiments , the system further comprises : an correlated with the first one or more instruction sets for
 input device configured to receive a user's operating direc operating the avatar of the application and the second stream
 tions , the user's operating directions for instructing the of collections of object representations correlated with the
 processor circuit, the application , or the avatar of the appli- 40 second one or more instruction sets for operating the avatar
 cation on how to operate the avatar of the application .            of the application includes updating at least one of: an
   In certain embodiments , the autonomous avatar operating          occurrence count, a weight, a parameter, or a data included
 includes a partially or a fully autonomous avatar operating .       in or associated with the connection . In further embodi
  The partially autonomous avatar operating may include ments, the learning the first stream of collections of object
 executing the first one or more instruction sets for operating 45 representations correlated with the first one or more instruc
 the avatar of the application correlated with the first stream    tion sets for operating the avatar of the application includes
 of collections of object representations responsive to a user storing the first stream of collections of object representa
 confirmation . The fully autonomous avatar operating may tions correlated with the first one ormore instruction sets for
 include executing the first one or more instruction sets for operating the avatar of the application into a first node of a
 operating the avatar of the application correlated with the 50 knowledgebase , and wherein the learning the second stream
 first stream of collections of object representations without of collections of object representations correlated with the
 a user confirmation .                                              second one or more instruction sets for operating the avatar
    In some embodiments, the artificial intelligence unit is        of the application includes storing the second stream of
 further configured to : receive a second stream of collections     collections of object representations correlated with the
 ofobject representations, the second stream of collections of 55 second one or more instruction sets for operating the avatar
 object representations including one or more object repre of the application into a second node of the knowledgebase .
 sentations representing one or more objects of the applica     The knowledgebase may include a neural network , a graph,
 tion; receive a second one or more instruction sets for a collection of sequences, a sequence, a collection ofknowl
 operating the avatar of the application ; and learn the second edge cells , a knowledge structure , or a data structure . The
 stream of collections of object representations correlated 60 knowledgebase may be stored in the memory unit. The
 with the second one or more instruction sets for operating learning the first stream of collections of object representa
 the avatar of the application . In further embodiments, the         tions correlated with the first one or more instruction sets for
 second stream of collections of object representations              operating the avatar of the application and the learning the
 includes one or more collections of object representations,         second stream of collections of object representations cor
 and wherein each collection of object representations of the 65 related with the second one or more instruction sets for
 second stream of collections of object representations operating the avatar of the application may include creating
 includes one or more object representations. In further             a connection between the first node and the second node.
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 The learning the first stream of collections of object repre      of object representations and the first stream of collections
 sentations correlated with the first one or more instruction      of object representations, wherein the avatar of the applica
 sets for operating the avatar of the application and the          tion performs one or more operations defined by the first one
 learning the second stream of collections of object repre         or more instruction sets for operating the avatar of the
 sentations correlated with the second one ormore instruction 5 application correlated with the first stream of collections of
 sets for operating the avatar of the application may include object representations .
 updating a connection between the first node and the second         In certain embodiments , the receiving the first one or
 node. In further embodiments, the first stream of collections more instruction sets for operating the avatar of the appli
 of object representations correlated with the first one or cation includes receiving the first one or more instruction
 more instruction sets for operating the avatar of the appli- 10 sets for operating the avatar of the application from the one
 cation is stored into a first node of a neural network and the    or more processor circuits or from another one or more
 second stream of collections of object representations cor processor circuits. In further embodiments, the execution of
 related with the second one or more instruction sets for the first one ormore instruction sets for operating the avatar
 operating the avatar of the application is stored into a second of the application correlated with the first stream of collec
 node of the neural network. The first node and the second 15 tions of object representations is performed by the one or
 node may be connected by a connection . The first node may more processor circuits or by another one or more processor
 be part of a first layer of the neural network and the second circuits .
 node may be part of a second layer of the neural network . In       In some aspects, the disclosure relates to a method com
  further embodiments, the first stream of collections of object prising : (a ) receiving a first stream of collections of object
 representations correlated with the first one or more instruc- 20 representations by a processor circuit , the first stream of
 tion sets for operating the avatar of the application is stored collections of object representations including one or more
 into a first node of a graph and the second stream of object representations representing one ormore objects ofan
 collections of object representations correlated with the application . Themethod may further comprise : (b ) receiving
 second one or more instruction sets for operating the avatar a first one ormore instruction sets for operating an avatar of
 of the application is stored into a second node of the graph . 25 the application by the processor circuit . The method may
 The first node and the second node may be connected by a          further comprise : (c ) learning the first stream of collections
 connection . In further embodiments, the first stream of of object representations correlated with the first one or
 collections of object representations correlated with the first more instruction sets for operating the avatar of the appli
 one or more instruction sets for operating the avatar of the cation , the learning of (c ) performed by the processor circuit .
 application is stored into a first node of a sequence and the 30 The method may further comprise: (d ) receiving a new
 second stream of collections of object representations cor         stream of collections of object representations by the pro
 related with the second one or more instruction sets for cessor circuit , the new stream of collections of object
 operating the av ar of the application is stored into a second representations including one ormore object representations
 node of the sequence .                                             representing one or more objects of the application . The
    In some aspects, the disclosure relates to a non -transitory 35 method may further comprise: (e ) anticipating the first one
 computer storage medium having a computer program or more instruction sets for operating the avatar of the
 stored thereon , the program including instructions that when application correlated with the first stream of collections of
 executed by one ormore processor circuits cause the one or object representations based on at least a partial match
 more processor circuits to perform operations comprising : between the new stream of collections of object represen
 receiving a first stream of collections of object representa- 40 tations and the first stream of collections of object repre
 tions, the first stream ofcollections of object representations sentations, the anticipating of( e ) performed by the processor
 including one or more object representations representing circuit . The method may further comprise : (f) executing the
 one or more objects of an application . The operations may first one or more instruction sets for operating the avatar of
 further comprise: receiving a first one or more instruction the application correlated with the first stream of collections
 sets for operating an avatar of the application . The opera- 45 of object representations , the executing of (f) performed in
 tions may further comprise: learning the first stream of response to the anticipating of (e ). The method may further
 collections of object representations correlated with the first comprise : ( g) performing, by the avatar of the application ,
 one or more instruction sets for operating the avatar of the one or more operations defined by the first one or more
 application . The operations may further comprise: receiving instruction sets for operating the avatar of the application
 a new stream of collections of object representations, the 50 correlated with the first stream of collections of object
 new stream of collections ofobject representations including representations.
 one or more object representations representing one or more         In some embodiments, the receiving of (b ) includes
 objects of the application . The operations may further com      receiving the first one or more instruction sets for operating
 prise: anticipating the first one or more instruction sets for the avatar of the application from the processor circuit or
 operating the avatar of the application correlated with the 55 from another processor circuit. In further embodiments , the
  first stream ofcollections ofobject representations based on executing of (f) is performed by the processor circuit or by
 at least a partial match between the new stream of collec        another processor circuit.
 tions of object representations and the first stream of col         The aforementioned system , the non -transitory computer
 lections of object representations. The operations may fur storage medium , and /or the method may include any ele
 ther comprise: causing an execution of the first one or more 60 ments, operations, steps, and embodiments of the above
  instruction sets for operating the avatar of the application described systems, non-transitory computer storage media ,
 correlated with the first stream of collections of object and /or methods as applicable as well as the following
 representations, the causing performed in response to the embodiments .
 anticipating the first one or more instruction sets for oper        In certain embodiments, the learning the first stream of
 ating the avatar of the application correlated with the first 65 collections of object representations correlated with the first
 stream of collections of object representations based on at one or more instruction sets for operating the avatar of the
 least a partial match between the new stream of collections application includes storing the first stream of collections of
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  object representations correlated with the first one or more modifying one or more instruction sets of the application . In
 instruction sets for operating the avatar of the application further embodiments, the executing the first one or more
  into the memory unit , the memory unit comprising a plu            instruction sets for operating the avatar of the application
 rality of streams of collections of object representations correlated with the first stream of collections of object
 correlated with one or more instruction sets for operating the 5 representations includes modifying the application . In fur
 avatar of the application .                                         ther embodiments, the executing the first one or more
     In some embodiments, the executing the first one ormore instruction sets for operating the avatar of the application
  instruction sets for operating the avatar of the application correlated with the first stream of collections of object
 correlated with the first stream of collections of object representations includes redirecting the application to the
 representations includes executing the first one or more 10 first one or more instruction sets for operating the avatar of
 instruction sets for operating the avatar of the application the application correlated with the first stream of collections
 correlated with the first stream of collections of object of object representations. In further embodiments , the
  representations instead of or prior to an instruction set that executing the first one or more instruction sets for operating
 would have been executed next. In further embodiments , the the avatar of the application correlated with the first stream
  executing the first one or more instruction sets for operating 15 of collections of object representations includes redirecting
 the avatar of the application correlated with the first stream      the application to one or more alternate instruction sets , the
 of collections of object representations includes modifying alternate instruction sets comprising the first one or more
  one or more instruction sets of a processor circuit . In further instruction sets for operating the avatar of the application
 embodiments, the executing the first one ormore instruction correlated with the first stream of collections of object
 sets for operating the avatar of the application correlated 20 representations. In further embodiments , the executing the
 with the first stream of collections of object representations first one or more instruction sets for operating the avatar of
  includes modifying a register or an element of a processor the application correlated with the first stream of collections
 circuit . In further embodiments, the executing the first one or of object representations includes causing the avatar of the
 more instruction sets for operating the avatar of the appli application to execute the first one or more instruction sets
 cation correlated with the first stream of collections of object 25 for operating the avatar of the application correlated with the
 representations includes inserting the first one or more first stream of collections of object representations . In fur
  instruction sets for operating the avatar of the application ther embodiments, the executing the first one or more
 correlated with the first stream of collections of object instruction sets for operating the avatar of the application
 representations into a register or an element of a processor correlated with the first stream of collections of object
 circuit. In further embodiments , the executing the first one or 30 representations includes modifying one or more instruction
 more instruction sets for operating the avatar of the appli         sets of the avatar of the application . In further embodiments,
 cation correlated with the first stream of collections ofobject the executing the first one or more instruction sets for
  representations includes redirecting a processor circuit to the operating the avatar of the application correlated with the
  first one or more instruction sets for operating the avatar of first stream of collections of object representations includes
 the application correlated with the first stream ofcollections 35 modifying the avatar of the application . In further embodi
 of object representations. In further embodiments, the ments , the executing the first one or more instruction sets for
 executing the first one or more instruction sets for operating operating the avatar of the application correlated with the
  the avatar of the application correlated with the first stream     first stream of collections of object representations includes
 of collections of object representations includes redirecting redirecting the avatar of the application to the first one or
 a processor circuit to one or more alternate instruction sets , 40 more instruction sets for operating the avatar of the appli
 the alternate instruction sets comprising the first one ormore cation correlated with the first stream of collections of object
 instruction sets for operating the avatar of the application representations. In further embodiments , the executing the
 correlated with the first stream of collections of object first one ormore instruction sets for operating the avatar of
 representations. In further embodiments, the executing the the application correlated with the first stream of collections
 first one or more instruction sets for operating the avatar of 45 of object representations includes redirecting the avatar of
 the application correlated with the first stream of collections the application to one or more alternate instruction sets, the
 of object representations includes transmitting , to a proces alternate instruction sets comprising the first one or more
 sor circuit for execution , the first one ormore instruction sets instruction sets for operating the avatar of the application
 for operating the avatar of the application correlated with the correlated with the first stream of collections of object
  first stream of collections of object representations. In fur- 50 representations. In further embodiments, the executing the
 ther embodiments, the executing the first one or more first one or more instruction sets for operating the avatar of
 instruction sets for operating the avatar of the application the application correlated with the first stream of collections
 correlated with the first stream of collections of object of object representations includes modifying a source code,
 representations includes issuing an interrupt to a processor a bytecode , an intermediate code , a compiled code , an
 circuit and executing the first one or more instruction sets for 55 interpreted code , a translated code , a runtime code, an
 operating the avatar of the application correlated with the assembly code , or a machine code. In further embodiments,
 first stream of collections of object representations following the executing the first one or more instruction sets for
 the interrupt. In further embodiments, the executing the first operating the avatar of the application correlated with the
 one or more instruction sets for operating the avatar of the first stream of collections of object representations includes
 application   correlated with the first stream of collections of 60 modifying at least one of: a memory unit, a register of a
 object representations includes causing the application to processor circuit , a storage, or a repository where instruction
 execute the first one or more instruction sets for operating sets are stored or used . In further embodiments, the execut
 the avatar of the application correlated with the first stream ing the first one or more instruction sets for operating the
 of collections of object representations. In further embodi avatar of the application correlated with the first stream of
 ments , the executing the first one ormore instruction sets for 65 collections of object representations includes modifying at
 operating the avatar of the application correlated with the         least one of: an element of a processor circuit, an element of
 first stream of collections of object representations includes      the application , an element of the avatar of the application,
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 a virtual machine , a runtime engine, an operating system , an    the application correlated with the first stream of collections
 execution stack , a program counter, or a user input. In          of object representations includes at least one of: modifying ,
 further embodiments, the executing the first one or more          removing, rewriting, or overwriting a code of the applica
 instruction sets for operating the avatar of the application      tion . In further embodiments , the executing the first one or
 correlated with the first stream of collections of object 5 more instruction sets for operating the avatar of the appli
 representations includes modifying one or more instruction cation correlated with the first stream of collections of object
 sets at a source code write time, a compile time, an inter representations includes at least one of: branching, redirect
 pretation time, a translation time, a linking time, a loading ing, extending, or hot swapping a code of the application . In
 time, or a runtime. In further embodiments , the executing the further embodiments, the executing the first one or more
  first one or more instruction sets for operating the avatar of 10 instruction sets for operating the avatar of the application
 the application correlated with the first stream of collections correlated with the first stream of collections of object
 of object representations includes modifying one or more representations includes adding or inserting additional code
 code segments, lines of code, statements, instructions, func into a code of the avatar of the application . In further
 tions , routines, subroutines, or basic blocks. In further embodiments, the executing the first one ormore instruction
 embodiments , the executing the first one or more instruction 15 sets for operating the avatar of the application correlated
 sets for operating the avatar of the application correlated with the first stream of collections of object representations
 with the first stream of collections of object representations includes at least one of modifying , removing, rewriting, or
 includes a manual, an automatic , a dynamic , or a just in time overwriting a code of the avatar of the application . In further
 ( JIT ) instrumentation of the application . In further embodi embodiments, the executing the first one ormore instruction
 ments , the executing the first one or more instruction sets for 20 sets for operating the avatar of the application correlated
 operating the avatar of the application correlated with the with the first stream of collections of object representations
 first stream of collections of object representations includes includes at least one of: branching, redirecting , extending, or
 a manual, an automatic , a dynamic , or a just in time (JIT ) hot swapping a code of the avatar of the application . In
  instrumentation of the avatar of the application . In further further embodiments, the executing the first one or more
 embodiments, the executing the first one or more instruction 25 instruction sets for operating the avatar of the application
 sets for operating the avatar of the application correlated correlated with the first stream of collections of object
 with the first stream of collections of object representations representations includes implementing a user's knowledge ,
 includes utilizing one or more of a .NET tool, a .NET style , or methodology of operating the avatar of the appli
 application programming interface (API), a Java tool, a Java cation in a circumstance . In further embodiments , the
 API, an operating system tool, or an independent tool for 30 executing the first one or more instruction sets for operating
 modifying instruction sets . In further embodiments, the the avatar of the application correlated with the first stream
 executing the first one or more instruction sets for operating of collections of object representations includes executing
 the avatar of the application correlated with the first stream    the first one or more instruction sets for operating the avatar
 of collections of object representations includes utilizing at of the application correlated with the first stream of collec
 least one of: a dynamic , an interpreted , or a scripting 35 tions of object representations via an interface. The interface
 programming language. In further embodiments, the execut may include a modification interface .
 ing the first one or more instruction sets for operating the       In certain embodiments, the operations of the non - tran
 avatar of the application correlated with the first stream of sitory computer storage medium and/or the method further
 collections of object representations includes utilizing at comprise: receiving at least one extra information . In some
 least one of: a dynamic code , a dynamic class loading , or a 40 embodiments, the operations of the non -transitory computer
 reflection . In further embodiments, the executing the first storage medium and /or the method further comprise: learn
 one or more instruction sets for operating the avatar of the ing the first stream of collections of object representations
 application correlated with the first stream of collections of    correlated with the at least one extra information . In certain
 object representations includes utilizing an assembly lan embodiments , the operations of the non - transitory computer
 guage . In further embodiments , the executing the first one or 45 storage medium and /or the method further comprise: pre
 more instruction sets for operating the avatar of the appli       senting , via a user interface , a user with an option to execute
 cation correlated with the first stream of collections ofobject   the first one ormore instruction sets for operating the avatar
 representations includes utilizing at least one of: a metapro of the application correlated with the first stream of collec
  gramming , a self-modifying code, or an instruction set tions of object representations . In some embodiments, the
 modification tool. In further embodiments , the executing the 50 operations of the non - transitory computer storage medium
 first one or more instruction sets for operating the avatar of  and /or the method further comprise : receiving, via a user
 the application correlated with the first stream of collections interface , a user's selection to execute the first one or more
 of object representations includes utilizing at least one of: instruction sets for operating the avatar of the application
 just in time (JIT ) compiling, JIT interpretation , JIT transla correlated with the first stream of collections of object
 tion , dynamic recompiling, or binary rewriting. In further 55 representations. In certain embodiments , the operations of
 embodiments, the executing the first one or more instruction the non - transitory computer storage medium and /or the
 sets for operating the avatar of the application correlated method further comprise: rating the executed first one or
 with the first stream of collections of object representations more instruction sets for operating the avatar of the appli
 includes utilizing at least one of: a dynamic expression cation correlated with the first stream of collections of object
 creation , a dynamic expression execution , a dynamic func- 60 representations . In some embodiments , the operations of the
 tion creation , or a dynamic function execution . In further non-transitory computer storage medium and/or the method
 embodiments, the executing the first one ormore instruction further comprise : presenting, via a user interface , a user with
 sets for operating the avatar of the application correlated an option to cancel the execution of the executed first one or
 with the first stream of collections of object representations more instruction sets for operating the avatar of the appli
  includes adding or inserting additional code into a code of 65 cation correlated with the first stream of collections of object
 the application . In further embodiments , the executing the representations. In certain embodiments, the operations of
 first one or more instruction sets for operating the avatar of the non -transitory computer storage medium and /or the
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 method further comprise : receiving , via an input device , a           The aforementioned system , the non - transitory computer
 user's operating directions, the user's operating directions         storage medium , and /or the method may include any ele
 for instructing the processor circuit , the application , or the    ments , operations, steps, and embodiments of the above
 avatar of the application on how to operate the avatar of the described systems, non -transitory computer storage media,
 application . In some embodiments , the operations of the 5 and /or methods as applicable as well as the following
 non - transitory computer storage medium and /or the method embodiments.
 further comprise: receiving a second stream of collections of           In some aspects, the disclosure relates to a system for
 object representations, the second stream of collections of using an avatar's circumstances for autonomous avatar
 object representations including one or more object repre operating. The system may be implemented at least in part
  sentations representing one or more objects of the applica- 10 on one or more computing devices . In some embodiments ,
 tion ; receiving a second one or more instruction sets for the system comprises: a processor circuit configured to
 operating the avatar of the application ; and learning the execute instruction sets of an application . The system may
 second stream of collections of object representations cor further comprise : a memory unit configured to store data .
 related with the second one or more instruction sets for The system may further comprise : an artificial intelligence
 operating the avatar of the application .                        15 unit. The artificial intelligence unit may be configured to :
     The aforementioned system , the non -transitory computer access thememory unit that comprises a plurality of streams
 storage medium , and/or the method may include any ele of collections of object representations correlated with one
 ments, operations, steps, and embodiments of the above or more instruction sets for operating an avatar of the
 described systems, non - transitory computer storage media , application , the plurality of streams of collections of object
  and/or methods as applicable as well as the following 20 representations correlated with one or more instruction sets
  embodiments .                                                       for operating the avatar of the application including a first
     In some aspects, the disclosure relates to a system for stream of collections of object representations correlated
 learning an avatar's circumstances for autonomous avatar with a first one or more instruction sets for operating the
 operating. The system may be implemented at least in part avatar of the application . The artificial intelligence unit may
 on one or more computing devices. In some embodiments , 25 be further configured to : receive a new stream of collections
 the system comprises: a processor circuit configured to of object representations, the new stream of collections of
 execute instruction sets of an application. The system may object representations including one or more object repre
  further comprise: a memory unit configured to store data . sentations representing one or more objects of the applica
  The system may further comprise : an artificial intelligence tion . The artificial intelligence unit may be further config
 unit. The artificial intelligence unit may be configured to : 30 ured to : anticipate the first one or more instruction sets for
 receive a first stream of collections of object representations , operating the avatar of the application correlated with the
 the first stream of collections of object representations first stream of collections of object representations based on
 including one or more object representations representing at least a partial match between the new stream of collec
 one or more objects of the application . The artificial intel tions of object representations and the first stream of col
  ligence unitmay be further configured to : receive a first one 35 lections of object representations. The artificial intelligence
 or more instruction sets for operating an avatar of the unit may be further configured to : cause the processor circuit
 application . The artificial intelligence unit may be further to execute the first one or more instruction sets for operating
 configured to : learn the first stream of collections of object the avatar of the application correlated with the first stream
 representations correlated with the first one ormore instruc of collections of object representations, the causing per
  tion sets for operating the avatar of the application .         40 formed in response to the anticipating of the artificial
     In some aspects , the disclosure relates to a non -transitory intelligence unit, wherein the avatar of the application
 computer storage medium having a computer program performs one or more operations defined by the first one or
  stored thereon , the program including instructions that when more instruction sets for operating the avatar of the appli
 executed by one or more processor circuits cause the one or cation correlated with the first stream of collections of object
 more processor circuits to perform operations comprising: 45 representations.
 receiving a first stream of collections of object representa            In some aspects , the disclosure relates to a non -transitory
 tions, the first stream of collections of object representations computer storage medium having a computer program
 including one or more object representations representing stored thereon , the program including instructions that when
 one or more objects of an application . The operations may executed by one or more processor circuits cause the one or
  further comprise: receiving a first one or more instruction 50 more processor circuits to perform operations comprising:
 sets for operating an avatar of the application . The opera         accessing a memory unit that comprises a plurality of
  tions may further comprise: learning the first stream of streams of collections of object representations correlated
 collections of object representations correlated with the first with one or more instruction sets for operating an avatar of
 one or more instruction sets for operating the avatar of the an application , the plurality of streams of collections of
 application .                                                    55 object representations correlated with one or more instruc
     In some aspects, the disclosure relates to a method com          tion sets for operating the avatar of the application including
 prising : (a ) receiving a first stream of collections of object a first stream of collections of object representations corre
 representations by a processor circuit, the first stream of lated with a first one or more instruction sets for operating
 collections of object representations including one or more the avatar of the application . The operations may further
 object representations representing one ormore objects of an 60 comprise: receiving a new stream of collections of object
 application. The method may further comprise: (b ) receiving representations, the new stream of collections of object
 a first one ormore instruction sets for operating an avatar of representations including one or more object representations
 the application by the processor circuit . The method may representing one or more objects of the application . The
 further comprise: (c) learning the first stream of collections operations may further comprise : anticipating the first one or
 of object representations correlated with the first one or 65 more instruction sets for operating the avatar of the appli
 more instruction sets for operating the avatar of the appli        cation correlated with the first stream of collections of object
 cation , the learning of (c ) performed by the processor circuit . representations based on at least a partial match between the
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 new stream of collections of object representations and the artificial intelligence unit may be further configured to :
 first stream of collections of object representations. The receive a first one or more instruction sets for operating the
 operations may further comprise : causing an execution of application . The artificial intelligence unit may be further
 the first one or more instruction sets for operating the avatar configured to : learn the first collection of object represen
 of the application correlated with the first stream of collec- 5 tations correlated with the first one or more instruction sets
 tions of object representations, the causing performed in for operating the application . The artificial intelligence unit
 response to the anticipating the first one or more instruction may be further configured to : receive a new collection of
 sets for operating the avatar of the application correlated object representations , the new collection of object repre
 with the first stream of collections of object representations sentations including one or more object representations
 based on at least a partial match between the new stream of 10 representing one or more objects of the application . The
 collections of object representations and the first stream of artificial intelligence unit may be further configured to :
 collections of object representations, wherein the avatar of anticipate the first one or more instruction sets for operating
 the application performs one or more operations defined by the application correlated with the first collection of object
 the first one or more instruction sets for operating the avatar representations based on at least a partial match between the
 oftionstheofapplication correlated with the first stream of collec- 15 new collection of object representations and the first collec
               object representations.                                  tion of object representations. The artificial intelligence unit
      In some aspects, the disclosure relates to a method com           may be further configured to : cause the processor circuit to
 prising : (a ) accessing a memory unit that comprises a execute the first one or more instruction sets for operating
 plurality of streamsof collections of object representations the application correlated with the first collection of object
 correlated with one or more instruction sets for operating an 20 representations, the causing performed in response to the
 avatar of an application, the plurality of streams of collec anticipating of the artificial intelligence unit , wherein the
 tions of object representations correlated with one or more application performs one or more operations defined by the
 instruction sets for operating the avatar of the application first one or more instruction sets for operating the applica
 including a first stream of collections of object representa           tion correlated with the first collection of object represen
 tions correlated with a first one or more instruction sets for 25 tations .
 operating the avatar of the application , the accessing of (a )          In certain embodiments , the first collection of object
 performed by a processor circuit. The method may further              representations includes a unit of knowledge of the appli
 comprise : (b ) receiving a new stream of collections ofobject        cation's circumstance at a first time. In further embodiments,
 representations by the processor circuit, the new stream of an application's circumstance includes one or more objects
 collections of object representations including one or more 30 of the application .
 object representations representing one or more objects of        In some embodiments, the first one or more instruction
 the application . The method may further comprise : (c ) sets for operating the application include one or more
 anticipating the first one or more instruction sets for oper   instruction sets executed in operating the application . In
 ating the avatar of the application correlated with the first further embodiments , the receiving the first one or more
 stream of collections of object representations based on at 35 instruction sets for operating the application includes at least
 least a partial match between the new stream of collections one of: tracing , profiling , or instrumentation of the applica
 of object representations and the first stream of collections         tion .
 of object representations, the anticipating of (c ) performed            In certain embodiments, the first collection of object
 by the processor circuit. The method may further comprise: representations correlated with the first one ormore instruc
 (d ) executing the first one or more instruction sets for 40 tion sets for operating the application include a unit of
 operating the avatar of the application correlated with the knowledge of how the application operated in a circum
 first stream of collections of object representations, the stance. In further embodiments , the leaning the first collec
 executing of (d ) performed in response to the anticipating of tion of object representations correlated with the first one or
 (c). The method may further comprise : (e) performing , by more instruction sets for operating the application includes
 the avatar of the application , one ormore operations defined 45 learning a user's knowledge, style , or methodology of
 by the first one or more instruction sets for operating the           operating the application in a circumstance .
 avatar of the application correlated with the first stream of           In some embodiments , the learning the first collection of
 collections of object representations .                           object representations correlated with the first one or more
    The aforementioned system , the non - transitory computer      instruction sets for operating the application includes storing
 storage medium , and /or the method may include any ele- 50 the first collection of object representations correlated with
 ments, operations , steps, and embodiments of the above the first one or more instruction sets for operating the
 described systems, non -transitory computer storage media , application into the memory unit , thememory unit compris
 and /or methods as applicable as well as the following ing a plurality of collections of object representations cor
 embodiments .                                                     related with one or more instruction sets for operating the
    In some aspects, the disclosure relates to a system for 55 application . The plurality of collections of object represen
 learning and using an application's circumstances for tations correlated with one or more instruction sets for
 autonomous application operating . The system may be operating the application may include a neural network, a
 implemented at least in part on one or more computing graph , a collection of sequences, a sequence , a collection of
 devices. In some embodiments , the system comprises: a knowledge cells, a knowledgebase , a knowledge structure ,
 processor circuit configured to execute instruction sets of an 60 or a data structure .
 application . The system may further comprise: a memory              In certain embodiments, the causing the processor circuit
 unit configured to store data . The system may further to execute the first one or more instruction sets for operating
 comprise : an artificial intelligence unit. The artificial intel the application correlated with the first collection of object
 ligence unit may be configured to : receive a first collection representations includes causing the application to execute
 of object representations, the first collection of object rep- 65 the first one or more instruction sets for operating the
 resentations including one or more object representations application correlated with the first collection of object
 representing one or more objects of the application . The representations. In further embodiments , the causing the
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 processor circuit to execute the first one or more instruction application from the one or more processor circuits or from
 sets for operating the application correlated with the first another one or more processor circuits . In further embodi
 collection of object representations includes implementing a ments, the execution of the first one ormore instruction sets
 user's knowledge, style , or methodology of operating the for operating the application correlated with the first collec
 application in a circumstance .                                 5 tion of object representations is performed by the one or
    In some embodiments, the artificial intelligence unit is more processor circuits or by another one or more processor
 further configured to : receive a second collection of object circuits .
 representations, the second collection of object representa          In some aspects , the disclosure relates to a method com
 tions including one or more object representations repre prising: (a ) receiving a first collection of object representa
 senting one or more objects of the application ; receive a 10 tions by a processor circuit, the first collection of object
 second one or more instruction sets for operating the appli       representations including one or more object representations
 cation ; and learn the second collection of object represen       representing one or more objects of an application . The
 tations correlated with the second one or more instruction method may further comprise : (b ) receiving a first one or
 sets for operating the application . In further embodiments , more instruction sets for operating an application by the
 the learning the first collection of object representations 15 processor circuit. The method may further comprise : (c)
 correlated with the first one or more instruction sets for learning the first collection of object representations corre
 operating the application includes storing the first collection lated with the first one or more instruction sets for operating
 of object representations correlated with the first one or the application , the learning of (c ) performed by the pro
 more instruction sets for operating the application into a first cessor circuit . The method may further comprise : (d ) receiv
 node of a knowledgebase, and wherein the learning the 20 ing a new collection of object representations by the pro
 second collection of object representations correlated with cessor circuit , the new collection of object representations
 the second one or more instruction sets for operating the including one or more object representations representing
 application includes storing the second collection of object one or more objects of the application . The method may
 representations correlated with the second one or more further comprise : (e ) anticipating the first one or more
 instruction sets for operating the application into a second 25 instruction sets for operating the application correlated with
 node of the knowledgebase. The knowledgebase may the first collection of object representations based on at least
 include a neural network , a graph , a collection of sequences, a partial match between the new collection of object repre
 a sequence, a collection of knowledge cells , a knowledge sentations and the first collection of object representations ,
 structure , or a data structure .                                    the anticipating of (e ) performed by the processor circuit.
    In some aspects , the disclosure relates to a non - transitory 30 Themethod may further comprise : (f) executing the first one
 computer storage medium having a computer program or more instruction sets for operating the application corre
 stored thereon, the program including instructions that when lated with the first collection of object representations, the
 executed by one or more processor circuits cause the one or executing of (f) performed in response to the anticipating of
 more processor circuits to perform operations comprising : (e ). The method may further comprise : ( g ) performing, by
 receiving a first collection of object representations, the first 35 the application , one or more operations defined by the first
 collection of object representations including one or more one or more instruction sets for operating the application
 object representations representing one ormore objects ofan correlated with the first collection of object representations.
 application . The operations may further comprise : receiving           In certain embodiments, the receiving of (b ) includes
 a first one or more instruction sets for operating the appli         receiving the first one or more instruction sets for operating
 cation . The operations may further comprise: learning the 40 the application from the processor circuit or from another
  first collection of object representations correlated with the processor circuit. In further embodiments , the executing of
 first one or more instruction sets for operating the applica     (f) is performed by the processor circuit or by another
 tion . The operationsmay further comprise: receiving a new processor circuit.
 collection of object representations, the new collection of         The aforementioned system , the non - transitory computer
 object representations including one or more object repre- 45 storage medium , and/or the method may include any ele
 sentations representing one or more objects of the applica ments , operations, steps, and embodiments of the above
 tion . The operations may further comprise : anticipating the described systems, non -transitory computer storage media ,
 first one or more instruction sets for operating the applica and /or methods as applicable as well as the following
 tion correlated with the first collection of object represen     embodiments .
 tations based on at least a partial match between the new 50 In some aspects, the disclosure relates to a system for
 collection of object representations and the first collection of learning and using an application's circumstances for
 object representations. The operations may further com           autonomous application operating . The system may be
 prise : causing an execution of the first one or more instruc    implemented at least in part on one or more computing
 tion sets for operating the application correlated with the devices. In some embodiments, the system comprises: a
 first collection of object representations, the causing per- 55 processor circuit configured to execute instruction sets of an
 formed in response to the anticipating the first one or more application . The system may further comprise: a memory
 instruction sets for operating the application correlated with unit configured to store data. The system may further
 the first collection of object representations based on at least comprise: an artificial intelligence unit. The artificial intel
 a partial match between the new collection of object repre       ligence unit may be configured to : receive a first stream of
 sentations and the first collection of object representations, 60 collections of object representations, the first stream of
 wherein the application performs one or more operations collections of object representations including one or more
 defined by the first one or more instruction sets for operating object representations representing one or more objects of
 the application correlated with the first collection of object the application . The artificial intelligence unit may be further
 representations.                                               configured to : receive a first one ormore instruction sets for
    In some embodiments, the receiving the first one or more 65 operating the application. The artificial intelligence unit may
 instruction sets for operating the application includes receiv be further configured to : learn the first stream of collections
 ing the first one or more instruction sets for operating the of object representations correlated with the first one or
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 more instruction sets for operating the application . The          tion ; receive a second one or more instruction sets for
 artificial intelligence unit may be further configured to :        operating the application ; and learn the second stream of
 receive a new stream of collections of object representations ,    collections of object representations correlated with the
 the new stream of collections of object representations            second one or more instruction sets for operating the appli
 including one or more object representations representing 5 cation . In further embodiments , the learning the first stream
 one or more objects of the application . The artificial intel of collections of object representations correlated with the
 ligence unit may be further configured to : anticipate the first first one or more instruction sets for operating the applica
 one or more instruction sets for operating the application tion includes storing the first stream of collections of object
 correlated with the first stream of collections of object representations correlated with the first one or more instruc
 representations based on at least a partialmatch between the 10 tion sets for operating the application into a first node of a
 new stream of collections of object representations and the knowledgebase , and wherein the learning the second stream
 first stream of collections of object representations. The of collections of object representations correlated with the
 artificial intelligence unit may be further configured to : second one or more instruction sets for operating the appli
 cause the processor circuit to execute the first one or more cation includes storing the second stream of collections of
 instruction sets for operating the application correlated with 15 object representations correlated with the second one or
 the first stream of collections of object representations, the more instruction sets for operating the application into a
 causing performed in response to the anticipating of the second node of the knowledgebase . The knowledgebase
 artificial intelligence unit , wherein the application performs may include a neural network , a graph , a collection of
 one or more operations defined by the first one or more sequences, a sequence , a collection of knowledge cells, a
 instruction sets for operating the application correlated with 20 knowledge structure , or a data structure.
 the first stream of collections of object representations.          In some aspects, the disclosure relates to a non - transitory
    In some embodiments, the first stream of collections of computer storage medium having a computer program
 object representations includes a unit of knowledge of the stored thereon , the program including instructions that when
 application's circumstance over a first time period . In further executed by one ormore processor circuits cause the one or
 embodiments, an application’s circumstance includes one or 25 more processor circuits to perform operations comprising :
 more objects of the application .                                 receiving a first stream of collections of object representa
    In certain embodiments, the first stream of collections of tions, the first stream of collections of object representations
 object representations correlated with the first one or more including one or more object representations representing
 instruction sets for operating the application include a unit of one or more objects of an application . The operations may
 knowledge of how the application operated in a circum- 30 further comprise : receiving a first one or more instruction
 stance . In further embodiments, the learning the first stream    sets for operating the application . The operations may fur
 of collections of object representations correlated with the ther comprise : learning the first stream of collections of
 first one or more instruction ets for operating the applica       object representations correlated with the first one or more
 tion includes learning a user's knowledge , style , or meth       instruction sets for operating the application . The operations
 odology of operating the application in a circumstance . 35 may further comprise: receiving a new stream of collections
    In some embodiments, the learning the first stream of of object representations , the new stream of collections of
 collections of object representations correlated with the first object representations including one or more object repre
 one or more instruction sets for operating the application sentations representing one or more objects of the applica
 includes storing the first stream of collections of object tion . The operations may further comprise: anticipating the
 representations correlated with the first one or more instruc- 40 first one or more instruction sets for operating the applica
 tion sets for operating the application into the memory unit , tion correlated with the first stream of collections of object
 the memory unit comprising a plurality of streams of col representations based on at least a partial match between the
 lections of object representations correlated with one or new stream of collections of object representations and the
 more instruction sets for operating the application . The first stream of collections of object representations. The
 plurality of streams of collections of object representations 45 operations may further comprise : causing an execution of
 correlated with one or more instruction sets for operating the the first one or more instruction sets for operating the
 application may include a neural network , a graph , a col application correlated with the first stream of collections of
 lection of sequences, a sequence , a collection of knowledge object representations, the causing performed in response to
 cells , a knowledgebase, a knowledge structure , or a data the anticipating the first one or more instruction sets for
 structure .                                                   50 operating the application correlated with the first stream of
    In certain embodiments , the causing the processor circuit collections of object representations based on at least a
 to execute the first one ormore instruction sets for operating partial match between the new stream of collections of
 the application correlated with the first stream of collections object representations and the first stream of collections of
 of object representations includes causing the application to object representations, wherein the application performs one
 execute the first one or more instruction sets for operating 55 or more operations defined by the first one ormore instruc
 the application correlated with the first stream of collections   tion sets for operating the application correlated with the
 of object representations. In further embodiments , the caus      first stream of collections of object representations .
 ing the processor circuit to execute the first one or more        In certain embodiments, the receiving the first one or
 instruction sets for operating the application correlated with more instruction sets for operating the application includes
 the first stream of collections of object representations 60 receiving the first one or more instruction sets for operating
 includes implementing a user's knowledge, style, or meth       the application from the one or more processor circuits or
 odology of operating the application in a circumstance .       from another one or more processor circuits . In further
    In some embodiments, the artificial intelligence unit is        embodiments, the execution of the first one or more instruc
 further configured to : receive a second stream of collections tion sets for operating the application correlated with the
 of object representations, the second stream of collections of 65 first stream of collections of object representations is per
 object representations including one or more object repre formed by the one or more processor circuits or by another
 sentations representing one or more objects of the applica        one or more processor circuits .
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    In some aspects, the disclosure relates to a method com       profiling, or sampling of Processor 11 registers, memory , or
 prising : (a ) receiving a first stream of collections of object other computing system components .
 representations by a processor circuit, the first stream of         FIGS. 7A -7E illustrate some embodiments of Instruction
 collections of object representations including one or more Sets 526 .
 object representations representing one or more objects of an 5 FIGS. 8A - 8B illustrate some embodiments of Extra Infor
 application . The method may further comprise : (b ) receiving   mation 527 .
 a first one or more instruction sets for operating the appli       FIG . 9 illustrates an embodiment where ACAAO Unit
 cation by the processor circuit. The method may further          100 is part of or operating on Processor 11 .
                                                                    FIG . 10 illustrates an embodiment where ACAAO Unit
 comprise : (c ) learning the first stream of collections of 10 100 resides on Server 96 accessible over Network 95 .
 object representations correlated with the first one or more        FIG . 11 illustrates an embodiment of Artificial Intelli
 instruction sets for operating the application , the learning of gence   Unit 110.
 (c ) performed by the processor circuit . The method may
 further comprise : (d ) receiving a new stream of collections turing .Unit
                                                                     FIG    12 illustrates an embodiment of Knowledge Struc
                                                                                520 correlating individual Collections ofObject
 of object representations by the processor circuit , the new 15 Representations      525 with any Instruction Sets 526 and /or
 stream of collections of object representations including one Extra Info 527 .
 or more object representations representing one or more             FIG . 13 illustrates another embodiment of Knowledge
 objects of the application . The method may further com           Structuring Unit 520 correlating individual Collections of
 prise : (e ) anticipating the first one or more instruction sets Object Representations 525 with any Instruction Sets 526
 for operating the application correlated with the first stream 20 and /or Extra Info 527 .
 of collections of object representations based on at least a        FIG . 14 illustrates an embodiment of Knowledge Struc
 partial match between the new stream of collections of turing Unit 520 correlating streams of Collections of Object
 object representations and the first stream of collections of Representations 525 with any Instruction Sets 526 and/or
 object representations, the anticipating of (e ) performed by Extra Info 527 .
 the processor circuit. The method may further comprise : (f) 25 FIG . 15 illustrates another embodiment of Knowledge
 executing the first one or more instruction sets for operating   Structuring Unit 520 correlating streams of Collections of
 the application correlated with the first stream ofcollections   Object Representations 525 with any Instruction Sets 526
 of object representations, the executing of (f) performed in     and /or Extra Info 527 .
 response to the anticipating of (e ). The method may further       FIG . 16 illustrates various artificial intelligence methods,
 comprise: (g ) performing, by the application , one or more 30 systems, and/or models that can be utilized in ACAAO Unit
 operations defined by the first one or more instruction sets 100 embodiments .
 for operating the application correlated with the first stream     FIGS. 17A - 17C illustrate embodiments of interconnected
 of collections of object representations.                        Knowledge Cells 800 and updating weights of Connections
    In some embodiments , the receiving of (b ) includes 853 .
 receiving the first one or more instruction sets for operating 35 FIG . 18 illustrates an embodiment of learning Knowledge
 the application from the processor circuit or from another Cells 800 comprising one or more Collections of Object
 processor circuit. In further embodiments, the executing of      Representations 525 correlated with any Instruction Sets 526
 (f) is performed by the processor circuit or by another           and/or Extra Info 527 using Collection of Knowledge Cells
 processor circuit.                                           530d .
    The aforementioned system , the non-transitory computer 40 FIG . 19 illustrates an embodiment of learning Knowledge
 storage medium , and /or the method may include any ele      Cells 800 comprising one or more Collections of Object
 ments , operations, steps, and embodiments of the above Representations 525 correlated with any Instruction Sets 526
 described systems, non - transitory computer storage media , and /or Extra Info 527 using Neural Network 530a .
 and /or methods as applicable as well as the following           FIG . 20 illustrates an embodimentof learning Knowledge
 embodiments .                                               45 Cells 800 comprising one or more Collections of Object
   Other features and advantages of the disclosure will Representations 525 correlated with any Instruction Sets 526
 become apparent from the following description , including and/ or Extra Info 527 using Neural Network 530a compris
 the claims and drawings .                                      ing shortcut Connections 853 .
                                                                   FIG . 21 illustrates an embodiment of learning Knowledge
       BRIEF DESCRIPTION OF THE DRAWINGS                   50 Cells 800 comprising one or more Collections of Object
                                                              Representations 525 correlated with any Instruction Sets 526
    FIG . 1 illustrates a block diagram of Computing Device and /or Extra Info 527 using Graph 530b .
 70 that can provide processing capabilities used in some of    FIG . 22 illustrates an embodiment of learning Knowledge
 the disclosed embodiments .                                  Cells 800 comprising one or more Collections of Object
   FIG . 2 illustrates an embodimentof Computing Device 70 55 Representations 525 correlated with any Instruction Sets 526
 comprising Unit for Learning and /or Using an Avatar's           and /or Extra Info 527 using Collection of Sequences 530c .
 Circumstances for Autonomous Avatar Operation (ACAAO               FIG . 23 illustrates an embodiment of determining antici
 Unit 100 ).                                                patory Instruction Sets 526 from a single Knowledge Cell
   FIG . 3 illustrates an embodiment of utilizing Picture 800 .
 Renderer 91 and Picture Recognizer 92 .                 60
                                                              FIG . 24 illustrates an embodiment of determining antici
   FIG . 4 illustrates an embodiment of utilizing Sound patory Instruction Sets 526 by traversing a single Knowl
 Renderer 96 and Sound Recognizer 97 .                           edge Cell 800 .
    FIGS. 5A -5B , illustrate an exemplary embodiment of            FIG . 25 illustrates an embodiment of determining antici
 Objects 615 in Avatar's 605 surrounding, and resulting patory Instruction Sets 526 using collective similarity com
 Collection of Object Representations 525                     65 parisons.
    FIG . 6 illustrates some embodiments of obtaining instruc      FIG . 26 illustrates an embodiment of determining antici
 tion sets, data , and/or other information through tracing , patory Instruction Sets 526 using Neural Network 530a .
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    FIG . 27 illustrates an embodiment of determining antici   autonomous avatar operation , any of their elements, any of
 patory Instruction Sets 526 using Graph 530b .                their embodiments , or a combination thereof can generally
    FIG . 28 illustrates an embodiment of determining antici   be referred to as ACAAO , ACAAO Unit , or as other suitable
 patory Instruction Sets 526 using Collection of Sequences name or reference.
 530c.                                                       5    Referring now to FIG . 1 , an embodiment is illustrated of
    FIG . 29 illustrates some embodiments of modifying Computing Device 70 (also referred to simply as computing
 execution and /or functionality of Avatar 605 and /or Appli device, computing system , or other suitable name or refer
 cation Program 18 through modification of Processor 11 ence , etc. ) that can provide processing capabilities used in
 registers , memory , or other computing system components. some embodiments of the forthcoming disclosure . Later
    FIG . 30 illustrates a flow chart diagram of an embodiment 10 described devices, systems, and methods, in combination
 of method 9100 for learning and /or using an avatar's cir with processing capabilities of Computing Device 70,
 cumstances for autonomous avatar operation .                     enable learning and /or using an avatar's circumstances for
    FIG . 31 illustrates a flow chart diagram of an embodiment autonomous avatar operation and/or other functionalities
 of method 9200 for learning and /or using an avatar's cir described herein . Various embodiments of the disclosed
 cumstances for autonomous avatar operation .                  15 devices, systems, and methods include hardware , functions,
    FIG . 32 illustrates a flow chart diagram of an embodiment logic, programs, and/or a combination thereof that can be
 of method 9300 for learning and /or using an avatar's cir        implemented using any type or form of computing , com
 cumstances for autonomous avatar operation .                     puting enabled , or other device or system such as a mobile
    FIG . 33 illustrates a flow chart diagram of an embodiment device, a computer , a computing enabled telephone, a server,
 ofmethod 9400 for learning and/or using an application's 20 a gaming device, a television device, a digital camera, a GPS
 circumstances for autonomous application operation .             receiver, a media player, an embedded device , a supercom
    FIG . 34 illustrates a flow chart diagram of an embodiment puter, a wearable device , an implantable device, a cloud , or
 of method 9500 for learning and /or using an application's any other type or form of computing, computing enabled , or
 circumstances for autonomous application operation .             other device or system capable ofperforming the operations
    FIG . 35 illustrates a flow chart diagram of an embodiment 25 described herein .
 of method 9600 for learning and /or using an application's          In some designs, Computing Device 70 comprises hard
 circumstances for autonomous application operation .             ware, processing techniques or capabilities, programs, or a
    FIG . 36 illustrates an exemplary embodiment of Soldier combination thereof. Computing Device 70 includes one or
 605a within 3D Computer Game 18a .                               more central processing units , which may also be referred to
    FIG . 37 illustrates an exemplary embodiment of Tank 30 ports as processors  11. Processor 11 includes one or more memory
                                                                        10 and /or one or more input-output ports , also referred
 605b within 2D Computer Game 18b .
    FIG . 38 illustrates an exemplary embodiment of utilizing to as I/ O ports 15 , such as I/O ports 15A and 15B . Processor
 Area of Interest 450 around Tank 605b.                           11 may be special or general purpose . Computing Device 70
    FIG . 39 illustrates an exemplary embodiment of multiple may further include memory 12, which can be connected to
 Avatars 605 within Computer Game 18c.                         35 the remainder of the components of Computing Device 70
    Like reference numerals in different figures indicate like via bus 5.Memory 12 can be connected to processor 11 via
 elements . Horizontal or vertical “ ... " or other such indicia   memory port 10. Computing Device 70 may also include
 may be used to indicate additional instances of the same type display device 21 such as a monitor, projector, glasses,
 of element. n , m , x , or other such letters or indicia represent and /or other display device . Computing Device 70 may also
 integers or other sequential numbers that follow the 40 include Human -machine Interface 23 such as a keyboard , a
 sequence where they are indicated . It should be noted that n , pointing device, a mouse , a touchscreen , a joystick , a remote
 m , x , or other such letters or indicia may represent different controller, and/or other input device. In some implementa
 numbers in different elements even where the elements are tions, Human -machine Interface 23 can be connected with
 depicted in the same figure . In general, n , m , x , or other such bus 5 or directly connected with specific elements of Com
 letters or indicia may follow the sequence and / or context 45 puting Device 70. Computing Device 70 may include addi
 where they are indicated . Any of these or other such letters tional elements such as one ormore input/output devices 13 .
 or indicia may be used interchangeably depending on con Processor 11 may include or be interfaced with cache
 text and space available . The drawings are not necessarily to memory 14. Storage 27 may include memory, which pro
 scale , with emphasis instead being placed upon illustrating vides an operating system 17 ( i.e. also referred to as OS 17 ,
 the embodiments , principles, and concepts of the disclosure . 50 etc.), additional application programs 18, and/or data space
 A line or arrow between any of the disclosed elements             19 in which additional data or information can be stored .
 comprises an interface that enables the coupling, connection ,    Alternative memory device 16 can be connected to the
 and/or interaction between the elements .                           remaining components of Computing Device 70 via bus 5 .
                                                                   Network interface 25 can also be connected with bus 5 and
                 DETAILED DESCRIPTION                             55 be used to communicate with external computing devices
                                                                     via a network . Some or alldescribed elements ofComputing
     The disclosed artificially intelligent devices, systems, and Device 70 can be directly or operatively connected or
 methods for learning and /or using an avatar's circumstances coupled with each other using any other connection means
 for autonomous avatar operation comprise apparatuses, sys known in art . Other additional elements may be included as
 tems, methods, features , functionalities , and /or applications 60 needed , or some of the disclosed ones may be excluded , or
 that enable learning an avatar's circumstances including a combination thereof may be utilized in alternate imple
 objects with various properties along with correlated instruc mentations of Computing Device 70.
 tion sets for operating the avatar , storing this knowledge in        Processor 11 includes one or more circuits or devices that
 a knowledgebase ( i.e. neural network , graph, sequences , can execute instructions fetched from memory 12 and /or
 etc.), and /or operating an avatar autonomously. The dis- 65 other element. Processor 11may include any combination of
 closed artificially intelligent devices, systems, and methods hardware and/or processing techniques or capabilities for
 for learning and/or using an avatar's circumstances for executing or implementing logic functions or programs.
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 Processor 11 may include a single core or a multi core ers . In further embodiments, Storage 27 can be provided in
 processor. Processor 11 includes the functionality for load   an optical storage device such as holographic storage, and /or
 ing operating system 17 and operating any application others. In further embodiments , Storage 27 may include any
 programs 18 thereon . In some embodiments, Processor 11 non -volatile memory. In general, Storage 27 can be based on
 can be provided in a microprocessing or a processing unit , 5 any of the aforementioned or other available storage devices
 such as, for example , Snapdragon processor produced by or mediums capable of operating as described herein . In
  Qualcomm Inc., processor by Intel Corporation ofMountain some aspects, Storage 27 may include any features, func
 View , Calif., processor manufactured by Motorola Corpo       tionalities, and embodiments ofMemory 12, and vice versa ,
 ration of Schaumburg , III .; processor manufactured by as applicable.
  Transmeta Corporation of Santa Clara , Calif .; processor 10 Processor 11 can communicate directly with cache
 manufactured by International Business Machines of White memory 14 via a connection means such as a secondary bus
 Plains, N.Y.; processor manufactured by Advanced Micro which may also sometimes be referred to as a backside bus.
 Devices of Sunnyvale , Calif., or any computing circuit or In some embodiments , processor 11 can communicate with
 device for performing similar functions. In other embodi cache memory 14 using the system bus 5. Cache memory 14
 ments, processor 11 can be provided in a graphics processing 15 may typically have a faster response timethan main memory
 unit (GPU ), visual processing unit ( VPU ), or other highly 12 and can include a type of memory which is considered
 parallel processing circuit or device such as , for example , faster than main memory 12 such as, for example, SRAM ,
 nVidia GeForce line of GPUs, AMD Radeon line of GPUs, BSRAM , or EDRAM . Cache memory includes any structure
 and /or others. Such GPUs or other highly parallelprocessing such as multilevel caches , for example . In some embodi
 circuits or devices may provide superior performance in 20 ments, processor 11 can communicate with one ormore I/O
  processing operations on neural networks, graphs, and /or devices 13 via a system bus 5. Various busses can be used
 other data structures. In further embodiments, processor 11 to connect processor 11 to any of the I/O devices 13 such as
 can be provided in a micro controller such as, for example , a VESA VL bus , an ISA bus, an EISA bus, a MicroChannel
  Texas instruments , Atmel, Microchip Technology, ARM , Architecture (MCA ) bus , a PCI bus, a PCI-X bus , a PCI
  Silicon Labs , Intel, and /or other lines ofmicro controllers . In 25 Express bus, a NuBus, and /or others. In some embodiments ,
  further embodiments , processor 11 can be provided in a processor 11 can communicate directly with I/ O device 13
  quantum processor such as, for example, D - Wave Systems, via HyperTransport, Rapid I/ O , or InfiniBand. In further
 Microsoft, Intel, IBM , Google , Toshiba, and /or other lines of embodiments, local busses and direct communication can be
  quantum processors. In further embodiments, processor 11 mixed . For example, processor 11 can communicate with an
 can be provided in a biocomputer such as DNA -based 30 I/O device 13 using a local interconnect bus and communi
 computer, protein -based computer, molecule -based com                 cate with another I/ O device 13 directly . Similar configura
 puter, and /or others . In further embodiments , processor 11 tions can be used for any other components described herein .
 includes any circuit or device for performing logic opera                 Computing Device 70 may further include alternative
 tions. Processor 11 can be based on any of the aforemen                memory such as a SD memory slot, a USB memory stick , an
 tioned or other available processors capable of operating as 35 optical drive such as a CD -ROM drive , a CD -R /RW drive ,
 described herein .                                                     a DVD -ROM drive or a BlueRay disc , a hard -drive , and/or
     Computing Device 70 may include one or more of the any other device comprising non -volatile memory suitable
 aforementioned or other processors. In some designs, pro               for storing data or installing application programs. Comput
 cessor 11 can communicate with memory 12 via a system                  ing Device 70 may further include a storage device 27
 bus 5. In other designs, processor 11 can communicate 40 comprising any type or form of non -volatile memory for
 directly with memory 12 via a memory port 10 .                         storing an operating system (OS) such as any type or form
    Memory 12 includes one or more circuits or devices of Windows OS ,Mac OS , Unix OS, Linux OS, Android OS ,
 capable of storing data. In some embodiments ,Memory 12 iPhone OS , mobile version of Windows OS , an embedded
 can be provided in a semiconductor or electronic memory OS, or any other OS that can operate on Computing Device
 chip such as static random access memory (SRAM ), Flash 45 70. Computing Device 70 may also include application
 memory, Burst SRAM or SynchBurst SRAM (BSRAM ), programs 18 , and /or data space 19 for storing additional data
 Dynamic random access memory (DRAM ), Fast Page Mode or information . In some embodiments, alternative memory
 DRAM (FPM DRAM ), Enhanced DRAM (EDRAM ), 16 can be used as or similar to storage device 27. Addition
 Extended Data Output RAM (EDO RAM ), Extended Data ally , OS 17 and /or application programs 18 can be operable
 OutputDRAM (EDO DRAM ), Burst Extended Data Output 50 from a bootable medium such as, for example , a flash drive ,
 DRAM (BEDO DRAM ), Enhanced DRAM (EDRAM ),                          a micro SD card , a bootable CD or DVD , and / or other
 synchronous DRAM (SDRAM ), JEDEC SRAM , PC100                       bootable medium .
 SDRAM , Double Data Rate SDRAM (DDR SDRAM ),                           Application Program 18 ( also referred to as program ,
 Enhanced SDRAM (ESDRAM ), SyncLink DRAM                        computer program , application, script, code, or other suit
 (SLDRAM ), Direct Rambus DRAM (DRDRAM ), Ferro- 55 able name or reference ) comprises instructions that can
 electric RAM (FRAM ), and/or others . In other embodi provide functionality when executed by processor 11. Appli
 ments,Memory 12 includes any volatile memory. In general, cation program 18 can be implemented in a high -level
 Memory 12 can be based on any of the aforementioned or procedural or object -oriented programming language, or in
 other available memories capable of operating as described a low -level machine or assembly language . Any language
 herein .                                                    60 used can be compiled , interpreted , or translated into machine
     Storage 27 includes one or more devices or mediums language . Application program 18 can be deployed in any
 capable of storing data. In some embodiments , Storage 27 form including as a stand -alone program or as a module,
 can be provided in a device or medium such as a hard drive , component, subroutine , or other unit suitable for use in a
  flash drive, optical disk , and/or others. In other embodi computing system . Application program 18 does not neces
 ments , Storage 27 can be provided in a biological storage 65 sarily correspond to a file in a file system . A program can be
 device such as DNA -based storage device, protein -based stored in a portion of a file that may hold other programs or
 storage device , molecule-based storage device, and /or oth data, in a single file dedicated to the program , or in multiple
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 files ( i.e. files that store one or more modules, sub programs,      SCI/LAMPbus, a FibreChannel bus, a Serial Attached small
 or portions of code, etc.). Application Program 18 can be             computer system interface bus , and / or other bus.
 delivered in various forms such as, for example, executable               An output interface (not shown) such as a graphical
  file , library , script, plugin , addon , applet, interface, console output interface , an acoustic output interface , a tactile output
 application , web application , application service provider 5 interface , a renderer, any device driver ( i.e. audio , video , or
 (ASP ) -type application , operating system , and /or other other driver ), and/or other output interface or system can be
 forms. Application program 18 can be deployed to be utilized to process output from elements of Computing
 executed on one computing device or on multiple computing Device 70 for conveyance on an output device such as
 devices ( i.e. cloud, distributed , or parallel computing, etc.), Display 21. In some aspects, Display 21 or other output
 or at one site or distributed across multiple sites intercon- 10 device itselfmay include an output interface for processing
 nected by a network or an interface . Examples of Applica               output from elements of Computing Device 70. Further, an
 tion Program 18 include a computer game, a virtual world input interface (not shown ) such as a keyboard listener, a
 application , a graphics application , a media application , a touchscreen listener, a mouse listener, any device driver ( i.e.
 word processing application , a spreadsheet application , a audio , video , keyboard , mouse, touchscreen , or other
 database application , a web browser, a forms-based appli- 15 driver ), and / or other input interface or system can be utilized
 cation , a global positioning system (GPS ) application , a 2D to process input from Human -machine Interface 23 or other
 application , a 3D application , an operating system , a factory input device for use by elements of Computing Device 70.
 automation application, a device control application , a In some aspects , Human -machine Interface 23 or other input
 vehicle control application , and /or other application or pro          device itself may include an input interface for processing
  gram .                                                              20 input for use by elements of Computing Device 70 .
      Network interface 25 can be utilized for interfacing                 Computing Device 70 may include or be connected to
  Computing Device 70 with other devices via a network multiple display devices 21. Display devices 21 can each be
 through a variety of connections including telephone lines , of the same or different type or form . Computing Device 70
 wired or wireless connections, LAN or WAN links ( i.e. and /or its elements comprise any type or form of suitable
  802.11, T1, T3 , 56 kb , X.25 , etc.), broadband connections 25 hardware, programs, or a combination thereof to support ,
 (i.e. ISDN , Frame Relay, ATM , etc.), or a combination enable , or provide for the connection and use of multiple
  thereof. Examples of networks include the Internet, an display devices 21. In one example, Computing Device 70
  intranet, an extranet, a local area network (LAN ), a wide includes any type or form of video adapter, video card ,
 area network (WAN ), a personal area network (PAN ), a driver , and /or library to interface, communicate , connect, or
 home area network (HAN ), a campus area network (CAN ), 30 otherwise use display devices 21. In some aspects, a video
  a metropolitan area network (MAN ), a global area network adapter may include multiple connectors to interface to
 (GAN ), a storage area network (SAN ), virtual network , a multiple display devices 21. In other aspects, Computing
  virtual private network (VPN ), a Bluetooth network , a Device 70 includes multiple video adapters, with each video
 wireless network , a wireless LAN , a radio network , a adapter connected to one or more display devices 21. In
 HomePNA , a power line communication network , a G.hn 35 some embodiments, Computing Device's 70 operating sys
 network , an optical fiber network , an Ethernet network , an tem can be configured for using multiple displays 21. In
 active networking network , a client-server network , a peer other embodiments, one or more display devices 21 can be
 to - peer network , a bus network , a star network , a ring provided by one or more other computing devices such as
 network , a mesh network , a star -busnetwork , a tree network , remote computing devices connected to Computing Device
 a hierarchical topology network , and /or other networks. 4070 via a network or an interface .
 Network interface 25 may include a built- in network                       Computing Device 70 can operate under the control of
 adapter, network interface card , PCMCIA network card , operating system 17 , which may support Computing
 card bus network adapter , wireless network adapter , Blu               Device's 70 basic functions, interface with and manage
 etooth network adapter, WiFi network adapter, USB network hardware resources, interface with and manage peripherals ,
 adapter, modem , and/or any other device suitable for inter- 45 provide common services for application programs, sched
  facing Computing Device 70 with any type of network ule tasks, and /or perform other functionalities. A modem
 capable of communication and /or operations described operating system enables features and functionalities such as
 herein .                                                                a high resolution display, graphical user interface (GUI),
      I/O devices 13 may be present in various shapes or forms touchscreen , cellular network connectivity (i.e.mobile oper
  in Computing Device 70. Examples of I/O device 13 capable 50 ating system , etc.), Bluetooth connectivity, WiFi connectiv
 of input include a joystick , a keyboard , a mouse, a trackpad , ity, global positioning system (GPS ) capabilities, mobile
 a trackpoint, a trackball, a microphone , a drawing tablet, a navigation , microphone , speaker, still picture camera, video
  glove, a tactile input device , a still or video camera , and /or camera, voice recorder, speech recognition , music player,
 other input device . Examples of I/O device 13 capable of video player, near field communication , personal digital
 output include a video display, a projector, a glasses, a 55 assistant (PDA ), and /or other features, functionalities, or
  speaker, a tactile output device, and /or other output device . applications. For example , Computing Device 70 can use
 Examples of 1/0 device 13 capable of input and output any conventional operating system , any embedded operating
  include touchscreen , a disk drive, an optical storage system , any real-time operating system , any open source
 device , a modem , a network card , and /or other input/output operating system , any video gaming operating system , any
 device. I/O device 13 can be interfaced with processor 11 via 60 proprietary operating system , any online operating system ,
 an I/O port 15 , for example . In some aspects, I/O device 13 any operating system for mobile computing devices , or any
 can be a bridge between system bus 5 and an external other operating system capable of running on Computing
 communication bus such as a USB bus, an Apple Desktop Device 70 and performing operations described herein .
 Bus, an RS - 232 serial connection , a SCSI bus , a FireWire Example of operating systems include Windows XP, Win
 bus, a FireWire 800 bus, an Ethernet bus, an AppleTalk bus , 65 dows 7, Windows 8 , Windows 10 , etc. manufactured by
  a Gigabit Ethernet bus, an Asynchronous Transfer Mode Microsoft Corporation ofRedmond , Wash .; Mac OS, iPhone
 bus, a HIPPI bus, a Super HIPPI bus, a SerialPlus bus, a OS, etc. manufactured by Apple Computer of Cupertino,
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 Calif .; OS /2 manufactured by International Business              The disclosed devices, systems, and methods can be
 Machines of Armonk , N.Y .; Linux, a freely -available oper implemented in a computing system that includes a back end
 ating system distributed by Caldera Corp. of Salt Lake City, component, a middleware component, a front end compo
 Utah ; or any type or form of a Unix operating system , and /or nent, or any combination thereof. The components of the
 others. Any operating systems such as the ones for Android 5 system can be interconnected by any form or medium of
 devices can similarly be utilized .                             digital data communication such as, for example , a network .
    Computing Device 70 can be implemented as or be part            Computing Device 70 may include or be interfaced with
 of various model architectures such as web services, dis        a computer program product comprising instructions or
 tributed computing, grid computing, cloud computing , and / logic encoded on a computer-readable medium . Such
 or other architectures. For example, in addition to the 10 one  instructions
                                                                      or more orprocessors
                                                                                  logic,when11 executed
                                                                                               to perform,may
                                                                                                           the configure
                                                                                                               operationsorand
                                                                                                                            cause
                                                                                                                               /or
 traditional desktop , server , or mobile operating system       functionalities disclosed herein . For example , a computer
 architectures, a cloud -based operating system can be utilized program
 to provide the structure on which embodiments of the medium can               be provided or encoded on a computer-readable
                                                                           such as an optical medium ( i.e. DVD -ROM , etc.),
 disclosure can be implemented. Other aspects of Computing 15 flash drive, hard drive, any memory, firmware , or other
 Device 70 can also be implemented in the cloud without             medium . Machine-readable medium , computer-readable
 departing from the spirit and scope of the disclosure . For        medium , or other such terms may refer to any computer
 example, memory , storage , processing , and/or other ele          program product, apparatus, and / or device for providing
 ments can be hosted in the cloud . In some embodiments ,            instructions and /or data to one or more programmable
 Computing Device 70 can be implemented on multiple 20 processors. Assuch ,machine -readable medium includes any
 devices. For example, a portion of Computing Device 70 can         medium that can send and / or receive machine instructions as
 be implemented on a mobile device and another portion can a machine-readable signal. Examples of a machine-readable
 be implemented on wearable electronics .                         medium include a volatile and /or non -volatile medium , a
    Computing Device 70 can be or include any mobile removable and/or non -removable medium , a communica
 device , a mobile phone , a smartphone ( i.e. iPhone, Windows 25 tion medium , a storage medium , and /or other medium . A
 phone , Blackberry phone, Android phone , etc.), a tablet, a non -transitory machine -readable medium comprises all
 personal digital assistant (PDA ), wearable electronics , machine -readable media except for a transitory, propagating
 implantable electronics, and /or other mobile device capable signal.
 of implementing the functionalities described herein . Com          In some embodiments , the disclosed artificially intelligent
 puting Device 70 can also be or include an embedded 30 devices, systems, and methods for learning and /or using an
 device, which can be any device or system with a dedicated avatar's circumstances for autonomous avatar operation , or
 function within another device or system . Embedded sys elements thereof, can be implemented entirely or in part in
 temsrange from the simplest ones dedicated to one task with a device ( i.e. microchip , circuitry , logic gates, electronic
 no user interface to complex ones with advanced user device , computing device , special or general purpose pro
 interface that may resemble modem desktop computer sys- 35 cessor, etc.) or system that comprises ( i.e. hard coded ,
 tems. Examples of devices comprising an embedded device internally stored , etc.) or is provided with ( i.e. externally
 include a mobile telephone, a personal digital assistant stored , etc. ) instructions for implementing ACAAO func
 (PDA ), a gaming device , a media player, a digital still or tionalities. As such , the disclosed artificially intelligent
 video camera , a pager, a television device, a set- top box , a    devices, systems, and methods for learning and / or using an
 personal navigation device, a global positioning system 40 avatar's circumstances for autonomous avatar operation , or
 (GPS ) receiver, a portable storage device ( i.e. a USB flash      elements thereof, may include the processing , memory,
 drive, etc.), a digital watch , a DVD player , a printer, a storage , and /or other features, functionalities , and embodi
 microwave oven , a washing machine , a dishwasher, a gate ments of Computing Device 70 or elements thereof. Such
 way, a router, a hub , an automobile entertainment system , an device or system can operate on its own ( i.e. standalone
 automobile navigation system , a refrigerator, a washing 45 device or system , etc. ), be embedded in another device or
 machine, a factory automation device , an assembly line system ( i.e. an industrialmachine , a robot, a vehicle , a toy,
 device , a factory floor monitoring device , a thermostat, an a smartphone, a television device, an appliance, and /or any
 automobile , a factory controller, a telephone, a network other device or system capable of housing the elements
 bridge , and/or other devices. An embedded device can needed for ACAAO functionalities ), work in combination
 operate under the controlof an operating system for embed- 50 with other devices or systems, or be available in any other
 ded devices such as MicroC /OS- II, QNX , VxWorks, eCos, configuration . In other embodiments , the disclosed artifi
  TinyOS, Windows Embedded , Embedded Linux , and /or cially intelligentdevices, systems, and methods for learning
 other embedded device operating systems.                          and /or using an avatar's circumstances for autonomous
    Various implementations of the disclosed devices, sys avatar operation , or elements thereof, may include or be
 tems, and methods can be realized in digital electronic 55 interfaced with Alternative Memory 16 that provides
 circuitry, integrated circuitry , logic gates, application spe instructions for implementing ACAAO functionalities to
 cific integrated circuits (ASICs), field programmable gate one or more Processors 11. In further embodiments, the
 arrays (FPGAs), computer hardware , firmware , programs, disclosed artificially intelligent devices, systems, and meth
 virtual machines, and /or combinations thereof including ods for learning and /or using an avatar's circumstances for
 their structural, logical, and /or physical equivalents.       60 autonomous avatar operation , or elements thereof, can be
     The disclosed devices, systems, and methodsmay include implemented entirely or in part as a computer program and
 clients and servers. A client and server are generally, but not executed by one or more Processors 11. Such program can
 always, remote from each other and typically, but not be implemented in one or more modules or units of a single
 always , interact via a network or an interface . The relation    or multiple computer programs. Such program may be able
 ship of a client and server may arise by virtue of computer 65 to attach to or interface with , inspect, and /or take control of
 programs running on their respective computers and having another application program to implement ACAAO func
 a client- server relationship to each other, for example .        tionalities. In further embodiments , the disclosed artificially
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 intelligent devices, systems, and methods for learning and / or     may be stored in a different arrangement than the arrange
 using an avatar's circumstances for autonomous avatar               ment of the data structure and/ or elements thereof. For
 operation , or elements thereof, can be implemented as a example , a sequence of elements can be stored in an
 network , web , distributed , cloud , or other such application arrangement other than a sequence in a memory , file , or
 accessed on one or more remote computing devices (i.e. 5 other repository .
 servers, cloud , etc.) via Network Interface 25 , such remote           Where a reference to a repository is used herein , it should
 computing devices including processing capabilities and be understood that a repository may be or include one or
 instructions for implementing ACAAO functionalities . In more files or file systems, one or more storage locations or
 further embodiments, the disclosed artificially intelligent structures, one or more storage systems, one or more
 devices, systems, and methods for learning and /or using an 10 memory locations or structures, and /or other file , storage,
 avatar's circumstances for autonomous avatar operation , or memory, or data arrangements .
  elements thereof, can be ( 1) attached to or interfaced with          Where a reference to an interface is used herein , it should
 any computing device or application program , ( 2) included be understood that the interface comprises any hardware ,
 as a feature of an operating system , (3 ) built ( i.e. hard coded , device , system , program , method , and /or combination
 etc.) into any computing device or application program , 15 thereof that enable direct or operative coupling, connection ,
 and /or (4 ) available in any other configuration to provide its    and / or interaction of the elements between which the inter
 functionalities .                                                   face is indicated . A line or arrow shown in the figures
     In some embodiments , the disclosed artificially intelligent between any of the depicted elements comprises such inter
 devices , systems, and methods for learning and /or using an face. Examples of an interface include a direct connection,
 avatar's circumstances for autonomous avatar operation , or 20 an operative connection , a wired connection ( i.e. wire , cable ,
 elements thereof, can be implemented at least in part in a etc.), a wireless connection , a device, a network , a bus, a
 computer program such as Java application or program . Java circuit , a firmware , a driver , a bridge , a program , a combi
 provides a robust and flexible environment for application nation thereof, and/or others.
 programs including flexible user interfaces, robust security,       Where a reference to an element coupled or connected to
 built-in network protocols , powerful application program- 25 another element is used herein , it should be understood that
 ming interfaces, database or DBMS connectivity and inter the element may be in communication or other interactive
 facing functionalities, file manipulation capabilities , support relationship with the other element.
 for networked applications, and /or other features or func          Furthermore , an element coupled or connected to another
 tionalities. Application programs based on Java can be element can be coupled or connected to any other element in
 portable across many devices, yet leverage each device's 30 alternate implementations. Terms coupled , connected , inter
 native capabilities. Java supports the feature sets of most faced , or other such terms may be used interchangeably
 smartphones and a broad range of connected devices while herein depending on context.
 still fitting within their resource constraints. Various Java       Where a reference to an element matching another ele
 platforms include virtual machine features comprising a ment is used herein , it should be understood that the element
 runtime environment for application programs. Java plat- 35 may be equivalent or similar to the other element. Therefore ,
 forms provide a wide range of user -level functionalities that the term match or matching can refer to total equivalence or
 can be implemented in application programs such as dis           similarity depending on context.
 playing text and graphics, playing and recording audio              Where a reference to a device is used herein , it should be
 content, displaying and recording visual content, communi understood that the device may include or be referred to as
 cating with another computing device , and /or other func- 40 a system , and vice versa depending on context, since a
 tionalities . It should be understood that the disclosed artifi     device may include a system of elements and a system may
 cially intelligent devices, systems, and methods for learning       be embodied in a device .
 and /or using an avatar's circumstances for autonomous                 Where a reference to a collection of elements is used
 avatar operation , or elements thereof, are programming herein , it should be understood that the collection of ele
 language, platform , and operating system independent. 45 ments may include one or more elements. In some aspects
 Examples of programming languages that can be used                  or contexts, a reference to a collection of elements does not
 instead of or in addition to Java include C , C ++ , Cobol,         imply that the collection is an element itself.
 Python , Java Script, Td , Visual Basic , Pascal, VB Script,          Where a mention of a function , method, routine, subrou
 Perl, PHP, Ruby, and /or other programming languages tine , or other such procedure is used herein , it should be
 capable of implementing the functionalities described 50 understood that the function , method , routine, subroutine, or
 herein .                                                    other such procedure comprises a call, reference, or pointer
    Where a reference to a specific ile or file type is used to the function , method , routine, subroutine, or other such
 herein , other files or file types can be substituted .     procedure .
   Where a reference to a data structure is used herein , it       Where a mention of data , object, data structure, item ,
 should be understood that any variety of data structures can 55 element, or thing is used herein , it should be understood that
 be used such as, for example , array, list, linked list , doubly the data , object, data structure, item , element, or thing
  linked list, queue, tree, heap , graph , map , grid , matrix , comprises a reference or pointer to the data , object, data
 multi- dimensionalmatrix , table , database, database manage       structure , item , element, or thing .
 ment system (DBMS ), file , neural network , and /or any other       Referring to FIG . 2 , an embodimentof Computing Device
 type or form of a data structure including a custom one . A 60 70 comprising Unit for Learning and/ or Using an Avatar's
 data structure may include one or more fields or data fields Circumstances for Autonomous Avatar Operation (ACAAO
 that are part of or associated with the data structure. A field Unit 100 ) is illustrated . Computing Device 70 also com
 or data field may include a data , an object , a data structure , prises interconnected Processor 11, Display 21, Human
 and / or any other element or a reference/ pointer thereto . A machine Interface 23, Memory 12 , and Storage 27. Proces
 data structure can be stored in one or more memories, files, 65 sor 11 includes or executes Application Program 18
 or other repositories . A data structure and /or elements           comprising Avatar 605 and/or one or more Objects 615 .
 thereof, when stored in a memory , file , or other repository,      ACAAO Unit 100 comprises interconnected Artificial Intel
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 ligence Unit 110 , Acquisition Interface 120, Modification program , and/ or other mechanism for operating or control
 Interface 130 , and Object Processing Unit 140. Other addi ling Application Program 18 , Avatar 605, Computing Device
 tional elements can be included as needed , or some of the 70 , and /or elements thereof. For example, User 50 may issue
 disclosed ones can be excluded , or a combination thereof an operating direction to Application Program 18 responsive
 can be utilized in alternate embodiments.                         5 to which Application Program’s 18 instructions or instruc
    In one example, the teaching presented by the disclosure tion sets may be executed by Processor 11 to perform a
 can be implemented in a device or system for learning and /or desired operation with / on Avatar 605. User's 50 operating
 using an avatar's circumstances for autonomous avatar directions comprise any user inputted data ( i.e. values, text,
 operating . The device or system may include a processor symbols , etc.), directions ( i.e. move right, move up , move
 circuit ( i.e. Processor 11, etc.) configured to execute instruc- 10 forward , copy an item , click on a link , etc.), instructions or
 tion sets ( i.e. Instruction Sets 526 , etc.) of an application . instruction sets ( i.e. manually inputted instructions or
 The device or system may further include a memory unit instruction sets , etc.), and /or other inputs or information . A
 ( i.e. Memory 12 , etc.) configured to store data. The device        non -human User 50 can utilize more suitable interfaces
 or system may further include an artificial intelligence unit        instead of, or in addition to , Human -machine Interface 23
 ( i.e. Artificial Intelligence Unit 110, etc.). The artificial 15 and /or Display 21 for controlling Application Program 18 ,
 intelligence unit may be configured to receive a first collec Avatar 605 , Computing Device 70 , and /or elements thereof.
 tion of object representations ( i.e. Collection of Object Examples of such interfaces include an application program
 Representations 525 , etc. ), the first collection of object         ming interface (API), bridge (i.e. bridge between applica
 representations including one or more object representations          tions, devices, or systems, etc.), driver, socket, direct or
 representing    one or more objects of the application . The 20 operative connection , handle , function /routine/ subroutine,
 artificial intelligence unit may also be configured to receive and / or other interfaces .
 a first one ormore instruction sets for operating an avatar of        Avatar 605 may be or comprises an object ofApplication
 the application . The artificial intelligence unit may also be Program 18. While Avatar 605 may include any features,
 configured to learn the first collection of object representa       functionalities, and embodiments of Object 615 ( later
 tions correlated with the first one or more instruction sets for 25 described ), Avatar 605 is distinguished herein to portray the
 operating the avatar of the application. The artificial intel relationships and /or interactions between Avatar 605 and
 ligence unit may also be configured to receive a new other Objects 615 of Application Program 18. In some
 collection of object representations, the new collection of aspects , Avatar 605 includes a User 50-controllable object of
 object representations including one or more object repre Application Program 18. Avatar 605 may , therefore, be a
 sentations representing one or more objects of the applica- 30 representation of User 50 or of User's 50 actions, thoughts,
  tion . The artificial intelligence unit may also be configured and /or other expressions. In some designs , Avatar 605
 to anticipate the first one or more instruction sets for             includes a 2D model, a 3D model, a 2D shape (i.e. point,
 operating the avatar of the application correlated with the          line , square , rectangle , cle, triangle, etc.), a 3D shape (i.e.
 first collection of object representations based on at least a cube , sphere , etc.), a graphical user interface (GUI) element,
 partial match between the new collection of object repre- 35 a picture , and /or other models , shapes , elements , or objects .
 sentations and the first collection of object representations . Avatar 605 may perform one or more operations within
  The artificial intelligence unit may also be configured to Application Program 18. For example , Avatar 605 may
 cause the processor circuit to execute the first one or more perform operations including moving, maneuvering , jump
 instruction sets for operating the avatar of the application ing, running, shooting, and/ or other operations within a
 correlated with the first collection of object representations , 40 game or virtual world Application Program 18. While all
 the causing performed in response to the anticipating of the possible variations of operations on /by /with Avatar 605 are
 artificial intelligence unit, wherein the avatar of the appli       too voluminous to list and limited only by Avatar's 605
 cation performs one or more operations defined by the first and /or Application Program’s 18 design , and /or User's 50
 one or more instruction sets for operating the avatar of the utilization , other operations on /by /with Avatar 605 are
 application correlated with the first collection of object 45 within the scope of this disclosure.
 representations. Any of the operations of the aforementioned           Object Processing Unit 140 comprises the functionality
 elements can be performed repeatedly and /or in different for obtaining information of interest on objects of Applica
 orders in alternate embodiments . In some embodiments, a tion Program 18 , and /or other functionalities . As such ,
 collection of object representations may include or be sub          Object Processing Unit 140 can be used to obtain objects
 stituted with a stream of collections of object representa- 50 and /or their properties in Avatar's 605 surrounding within
 tions. In some embodiments of applications that do not Application Program 18. Avatar's 605 surrounding may
 comprise an avatar or rely on avatar for their operation , the include or be defined by Area of Interest 450 (later
 teaching presented by the disclosure can be implemented in described ), part of Application Program 18 that is shown to
   device or system for learning and /or using an application's User 50 (i.e. on a display, via a graphical user interface, etc.),
 circumstances for autonomous application operating. In 55 the entire Application Program 18, any part of Application
 such embodiments , an instruction set for operating an avatar Program 18 , and /or other techniques. In some embodiments ,
 of an application may include or be substituted with an Object Processing Unit 140 comprises the functionality for
 instruction set for operating an application . Other additional creating or generating Collection of Object Representations
 elements can be included as needed , or some of the disclosed 525 (also referred to as Coil of Obj Rep or other suitable
 ones can be excluded , or a combination thereof can be 60 name or reference ) and storing one or more Object Repre
 utilized in alternate embodiments . The disclosed devices and sentations 625 (also referred to simply as object represen
 systemsmay include any actions or operations of any of the tations, representations of objects , or other suitable name or
 disclosed methods such as methods 9100 , 9200, 9300 , 9400, reference ), Object Properties 630 (also referred to simply as
 9500 , 9600 , and/or others (all later described ).                 objectproperties or other suitable name or reference ), and /or
    User 50 (also referred to simply as user or other suitable 65 other elements or information into the Collection of Object
 name or reference) comprises a human user or non -human Representations 525. As such , Collection of Object Repre
 user. A non -human User 50 includes any device , system , sentations 525 comprises the functionality for storing one or
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 more Object Representations 625 , Object Properties 630 , box , etc.), a data or database element, a spreadsheet element,
 and /or other elements or information . In some designs, a link , a picture , a text (i.e. character, word , etc.), a number,
 Object Representation 625 may include a representation of and /or others in a context of a web browser, a media
  an object ( i.e. Object 615 [ later described ], etc.) in Avatar's application , a word processing application , a spreadsheet
 605 surrounding within Application Program 18. As such , 5 application , a database application , a forms-based applica
  Object Representation 625 may include any information tion , an operating system , a device/system control applica
  related to an object. In other designs, Object Representation tion , and/or others. Object 615 may perform operations
 625 may include or be replaced with an object itself, in within Application Program 18. In one example , a person
 which case Object Representation 625 as an element can be Object 615 may perform operations including moving,
 omitted . In some aspects , Collection of Object Representa- 10 maneuvering , jumping , running, shooting , and /or other
 tions 525 includes one or more Object Representations 625 , operations within a computer game, virtual world , and /or 3D
 Object Properties 630, and/or other elements or information or 2D graphics Application Program 18. In another example,
 related to objects in Avatar's 605 surrounding at a particular a character Object 615 may perform operations including
  time. Collection of Object Representations 525 may, there appearing ( i.e. when typed , etc.), disappearing (i.e. when
  fore, include knowledge ( i.e. unit of knowledge, etc.) of 15 deleted , etc.), formatting (i.e. bolding, italicizing, underlin
  Avatar's 605 circumstance including objects with various ing , coloring, resizing , etc.), and /or other operations within
 properties at a particular time. In some designs, a Collection a word processing Application Program 18. In a further
 of Object Representations 525 may include or be associated example , a picture Object 615 may perform operations
 with a time stamp (not shown ), order (not shown ), or other including resizing, repositioning , rotating , deforming, and /
 time related information . For example, one Collection of 20 or other operations within a graphics Application Program
 Object Representations 525 may be associated with time 18. While all possible variations of operations on/by/with
 stamp t1 , another Collection of Object Representations 525 Object 615 are too voluminous to list and limited only by
 may be associated with time stamp t2 , and so on . Time Object's 615 and /or Application Program's 18 design , and /
 stamps t1 , t2 , etc. may indicate the times of generating or User's 50 utilization , other operations on /by /with Object
 Collections ofObject Representations 525 , for instance . In 25 615 are within the scope of this disclosure . In some aspects ,
 other embodiments , Object Processing Unit 140 comprises any part of Object 615 can be identified as an Object 615
 the functionality for creating or generating a stream of itself . For instance, instead of or in addition to identifying a
 Collections of Object Representations 525. A stream of building as an Object 615 , a window , door, roof, and /or other
 Collections of Object Representations 525 may include one parts of the building can be identified as Objects 615. In
 Collection of Object Representations 525 or a group , 30 general, Object 615 may include any object or part thereof
 sequence, or other plurality of Collections of Object Rep                that can be obtained or recognized .
 resentations 525. In some aspects, a stream of Collections of               Examples of Object Properties 630 ( i.e. also referred to
 Object Representations 525 includes one or more Collec                   simply as object properties, etc.) include existence of Object
 tions of Object Representations 525 , and/or other elements 615 , type of Object 615 (i.e. person , animal, tree , rock ,
 or information related to objects in Avatar’s 605 surrounding 35 building, vehicle, etc.), identity of Object 615 ( i.e. name,
 over time. A stream of Collections of Object Representations identifier, etc. ), distance of Object 615 , bearing/ angle of
 525 may, therefore, include knowledge ( i.e. unit of knowl Object 615 , location of Object 615 ( i.e. distance and bearing /
 edge, etc.) of Avatar's 605 circumstance including objects angle from a known point, coordinates, etc. ), shape/ size of
 with various properties over time. As circumstances includ Object615 ( i.e. scale, height, width , depth , computer model,
 ing objects with various properties in Avatar's 605 surround- 40 etc.), activity of Object 615 (i.e. motion , gestures, etc.),
 ing change (i.e. objects and /or their properties change , and /or other properties of Object 615. Type of Object 615 ,
 move, act, transform , etc. ) over time, this change may be for example, may include any classification of objects rang
 captured in a stream of Collections of Object Representa                 ing from detailed such as person , animal, tree , rock , build
 tions 525. In some designs, each Collection of Object ing, vehicle , etc. to generalized such as biological object,
 Representations 525 in a stream may include or be associ- 45 nature object, manmade object, etc., or models thereof,
 ated with the aforementioned time stamp, order, or other including their sub - types . Location of Object 615 , for
 time related information . For example , one Collection of example , can include a relative location such as one defined
 Object Representations 525 in a stream may be associated by distance and bearing /angle from a known point or loca
 with order 1 , a next Collection of Object Representations tion ( i.e. Avatar 605 location , etc. ). Location of Object 615 ,
 525 in the stream may be associated with order 2, and so on . 50 for example , can also include absolute location such as one
 Orders 1 , 2 , etc. may indicate the orders or places of defined by object coordinates. In general, Object Property
 Collections of Object Representations 525 within a stream 630 may include any attribute of Object 615 ( i.e. existence
 ( i.e. sequence, etc.), for instance. In some implementations, of Object 615 , type of Object 615 , identity of Object 615 ,
 Object Processing Unit 140 and/or any of its elements or shape size of Object 615 , etc.), any relationship of Object
 functionalities can be included or embedded in Computing 55 615 with Avatar 605 , other Object 615 , or the environment
 Device 70 , Processor 11 , Application Program 18, and /or (i.e. distance of Object 615 , bearing/angle of Object 615 ,
 other elements . Object Processing Unit 140 can be provided friend /foe relationship , etc.), and /or other information
 in any suitable configuration .                                          related to Object 615 .
     Examples of Objects 615 (also referred to simply as                     In some embodiments, Object Processing Unit 140 can be
 objects , etc. ) includemodels of a person , animal, tree, rock , 60 utilized for obtaining properties of Objects 615 in Avatar's
 building , vehicle , and /or others in a context of a computer 605 surrounding within Application Program 18. In some
 game, virtual world , 3D or 2D graphics Application Program designs, an engine, environment, or other system used to
 18 , and /or others . More generally, examples of Objects 615 implement Application Program 18 includes functions for
 include a 2D model, a 3D model, a 2D shape ( i.e. point, line , providing properties or other information on Objects 615 .
 square, rectangle , circle , triangle , etc.), a 3D shape (i.e. cube, 65 Object Processing Unit 140 can obtain ObjectProperties 630
 sphere , etc.), a graphical user interface (GUI) element, a          by utilizing the functions. In some aspects, existence of
 form element ( i.e. text field , radio button,push button , check    Object 615 in a 2D or 3D engine or environment can be
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 obtained by utilizing functions such as GameObject.Find by accessing the object's mesh or computer model. In
 ObjectsOfType (GameObject), GameObject.FindGameOb                 general, any of the aforementioned and /or other properties of
 jects With Tag (“ TagN ” ), or GameObject.Find (" ObjectN ” ) in Object 615 can be obtained by accessing a scene graph or
 Unity 3D Engine; GetAllActorsOfClass ( ) or IsActorInitial other data structure used for organizing objects in a particu
 ized ( ) in Unreal Engine; and/or other functions, procedures , 5 lar engine or environment, finding a specific Object615 , and
 or methods in other 2D or 3D engines or environments. In obtaining or reading any property from the Object 615. Such
 other aspects , type or other classification ( i.e. person , ani accessing can be performed by using the engine’s or envi
 mal, tree , rock , building, vehicle, etc.) ofObject 615 in a 2D  ronment's functions for accessing objects in the scene graph
 or 3D engine or environment can be obtained by utilizing or other data structure or by directly accessing the scene
  functions such as GetClassName(ObjectN ) or ObjectN.get- 10 graph or other data structure . In some designs, functions
  Type ( ) in Unity 3D Engine; ActorN.GetClass ( ) in Unreal and /or other instructions for obtaining properties or other
 Engine ; ObjectN.getClassName( ) or ObjectN.getType ( ) in information on Objects 615 of Application Program 18 can
  Torque 3D Engine; and /or other functions, procedures , or be inserted or utilized in Application Program’s 18 source
 methods in other 2D or 3D engines or environments. In code . In other designs , functions and /or other instructions
 further aspects , identity of Object 615 in a 2D or 3D engine 15 for obtaining properties or other information on Objects 615
 or environment can be obtained by utilizing functions such of Application Program 18 can be inserted into Application
 as ObjectN.name or ObjectN.GetInstanceID ( ) in Unity 3D Program 18 through manual, automatic, dynamic , or just
 Engine ; ActorN.GetObjectName( ) or ActorN .GetU                  in - time (JIT ) instrumentation (later described ). In further
 niqueIDO in Unreal Engine; ObjectN.getName( ) or designs , functions and /or other instructions for providing
 ObjectN.getID ( ) in Torque 3D Engine ; and /or other func- 20 properties or other information on Objects 615 of Applica
 tions, procedures, or methods in other 2D or 3D engines or tion Program 18 can be inserted into Application Program 18
 environments . In further aspects , distance of Object 615 through utilizing dynamic code , dynamic class loading,
 relative to Avatar 605 in a 2D or 3D engine or environment reflection , and /or other functionalities of a programming
 can be obtained by utilizing functions such as VectorN.Dis language or platform ; utilizing dynamic, interpreted, and/or
 tance(ObjectA.transform.position , ObjectB.transform.posi- 25 scripting programming languages; utilizing metaprogram
 tion ) in Unity 3D Engine ; GetDistanceTo (ActorA , ActorB )      ming; and/or utilizing other techniques (later described ).
 in Unreal Engine; VectorDist(VectorA , VectorB ) or Vec           Object Processing Unit 140 may include any features, func
 torDist(ObjectA.getPositiono ,ObjectB.getPosition        in       tionalities, and embodiments of Acquisition Interface 120 ,
 Torque 3D Engine ; and/or other functions, procedures, or         Modification Interface 130 , and /or other elements. One of
 methods in other 2D or 3D engines or environments . In 30 ordinary skill in art will understand that the aforementioned
  further aspects, angle , bearing, or direction of Object 615 techniques for obtaining objects and /or their properties are
 relative to Avatar 605 in a 2D or 3D engine or environment described merely as examples of a variety of possible
 can be obtained by utilizing functions such as ObjectB.trans     implementations, and that while all possible techniques for
 form.position ObjectA.transform.position in Unity 3D obtaining objects and/or their properties are too voluminous
 Engine ; FindLookAtRotation ( Target Vector, Start Vector) or 35 to describe, other techniques for obtaining objects and /or
  ActorB >GetActorLocation ( ) - ActorA ?GetActorLoca their properties known in art are within the scope of this
 tion ( ) in Unreal Engine ; ObjectB-> getPosition ( ) -Ob        disclosure. It should be noted that Unity 3D Engine , Unreal
 jectA-> getPosition ( ) in Torque 3D Engine ; and /or other Engine , and Torque 3D Engine are used merely as examples
  functions, procedures , ormethods in other 2D or 3D engines of a variety of engines, environments , or systems that can be
 or environments . In further aspects, location of Object 615 40 used to implement Application Program 18 and any of the
 in a 2D or 3D engine or environment can be obtained by aforementioned functionalities may be provided in other
 utilizing functions such as ObjectN.transform.position in engines, environments, or systems. Also , in some embodi
 Unity 3D Engine; ActorN.GetActorLocation ( ) in Unreal ments, Application Program 18 may not use any engine ,
  Engine ; ObjectN.getPosition ( ) in Torque 3D Engine; and /or environment, or system for its implementation, in which
 other similar functions, procedures, or methods in other 2D 45 case the aforementioned functionalities can be implemented
 or 3D engines or environments . In another example , location within Application Program 18. In general, the disclosed
 ( i.e. coordinates, etc.) of Object 615 on a screen can be devices, systems, and methods are independent of the
 obtained by utilizing WorldToScreen ( ) or other similar engine , environment, or system used to implement Appli
 function or method in various 2D or 3D engines or envi cation Program 18 .
 ronments. In some designs, distance , angle /bearing, and/or 50 In some embodiments of Application Programs 18 that do
 other properties of Object 615 relative to Avatar 605 can not comprise Avatar 605 or rely on Avatar 605 for their
 then be calculated , inferred , derived , or estimated from        operation , Object Processing Unit 140 may obtain objects
 Object’s 615 and Avatar's 605 location information . Object        and /or their properties in Application Program 18 or a part
 Processing Unit 140 may include computational function             thereof. For example, Object Processing Unit 140 can obtain
 alities to perform such calculations, inferences , derivations, 55 objects and /or their properties in the entire Application
 or estimations by utilizing, for example , geometry, trigo Program 18 , a part of Application Program 18 that is shown
 nometry, Pythagorean theorem , and/ or other theorems, for to User 50 ( i.e. on a display, via a graphical user interface,
 mulas, or disciplines . In further aspects, shape/ size of Object etc.), or any part or area of interest (later described ) of
 615 in a 2D or 3D engine or environment can be obtained by Application Program 18. In such embodiments, Object Pro
 utilizing functions such as Bounds.size , ObjectN.transform- 60 cessing Unit 140 can create or generate Collections of
 .localScale , or ObjectN.transform.lossyScale in Unity 3D Object Representations 525 or streams of Collections of
 Engine; ActorN.GetActorBounds ( ), ActorN.GetAc Object Representations 525 comprising knowledge (i.e. unit
 torScale (), or ActorN.GetActorScale3D () in UnrealEngine ;        of knowledge , etc.) of Application Program’s 18 circum
 ObjectN.getObjectBox ( ) or ObjectN.getScale ( ) in Torque stances including objects with various properties. It should
 3D Engine ; and /or other similar functions, procedures, or 65 be noted that a reference to Avatar 605 may include or be
 methods in other 2D or 3D engines or environments. In substituted with a reference to Application Program 18
  some designs , detailed shape of Object 615 can be obtained and /or other processing element, and vice versa , depending
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 on context ( i.e. whether Avatar's 605 or Application Pro         further embodiments, Picture Renderer 91 can be a program
 gram's 18 operation is being learned and /or used , etc.). Also , or hardware element that is part of or embedded into another
 a reference to operating and/or autonomous operating of element. In one example , a graphics card and /or its graphics
 Avatar 605 may include or be substituted with a reference to processing unit ( i.e.GPU , etc.)may typically include Picture
 operating and / or autonomous operating of Application Pro- 5 Renderer 91. In another example , ACAAO Unit 100 may
  gram 18 and /or other processing element depending on include Picture Renderer 91. In a further example , Applica
 context.                                                          tion Program 18 may include Picture Renderer 91. In
    Referring to FIG . 3, an embodiment of utilizing Picture general, Picture Renderer 91 can be implemented in any
 Renderer 91 and Picture Recognizer 92 is illustrated .            suitable configuration to provide its functionalities . Picture
     Picture Renderer 91 comprises the functionality for ren- 10 Renderer 91 may render or generate one or more digital
 dering or generating one or more digital pictures, and /or pictures or streams of digital pictures ( i.e. motion pictures ,
 other functionalities. Picture Renderer 91 comprises the video , etc.) in various formats examples of which include
 functionality for rendering or generating one or more digital JPEG ,GIF , TIFF , PNG , PDF,MPEG , AVI, FLV, MOV, RM ,
 pictures of Application Program 18. In some aspects , as a SWF, WMV, DivX , and /or others . In some designs , Picture
 camera is used to capture pictures of a physical environment, 15 Renderer 91 can render or generate different digital pictures
 Picture Renderer 91 can be used to render or generate of Avatar's 605 visual surrounding or of views of Applica
 pictures of a computer modeled or represented environment. tion Program 18 for displaying on Display 21 and for
 As such , Picture Renderer 91 can be used to render or facilitating object recognition functionalities herein . For
 generate views of Application Program 18. In some designs , example , a third -person view may be displayed on Display
 Picture Renderer 91 can be used to render or generate one or 20 21 for User 50 to see and a first -person view may be used to
 more digital pictures depicting a view of an Avatar's 605 facilitate object recognition functionalities herein . In some
 visual surrounding in a 3D Application Program 18 ( i.e. 3D implementations of non -graphical Application Programs 18
 computer game, virtual world application, CAD application , such as simulations, calculations, and/or others, Picture
 etc.). In one example , a view may include a first-person view Renderer 91 may render or generate one or more digital
 or perspective such as a view through an avatar's eyes that 25 pictures of Avatar's 605 visual surrounding or of views of
 showsobjects around the avatar, but does not typically show       Application Program 18 to facilitate object recognition
 the avatar itself. First-person view may sometimes include functionalities herein where the one or more digital pictures
 the avatar's hands, feet, other body parts , and /or objects that are never displayed . In some aspects , instead of or in
 the avatar is holding. In another example, a view may addition to Picture Renderer 91, one or more digital pictures
 include a third -person view or perspective such as a view 30 of Avatar's 605 visual surro  rrounding or of views of Applica
 that shows an avatar as well as objects around the avatar tion Program 18 can be obtained from any element of a
 from an observer's point of view . In a further example , a computing device or system that can provide such digital
 view may include a view from a front of an avatar. In a pictures. Examples of such elements include a graphics
  further example, a view may include a view from a side of circuit , a graphics system , a graphics driver , a graphics
 an avatar. In a further example, a view may include any 35 interface , and /or others .
 stationary or movable view such as a view through a                  Picture Recognizer 92 comprises the functionality for
 simulated camera in a 3D Application Program 18. In other detecting or recognizing objects and /or their properties in
 designs, Picture Renderer 91 can be used to render or visual data , and /or other disclosed functionalities . Visual
 generate one or more digital pictures depicting a view of a data includes digital motion pictures, digital still pictures,
 2D Application Program 18. In one example, a view may 40 and /or other visual data . Examples of file formats that can be
 include a screenshot or portion thereof of a 2D Application utilized to store visual data include JPEG , GIF , TIFF, PNG ,
 Program 18. In a further example , view may include an PDF, MPEG , AVI, FLV , MOV , RM , SWF, WMV, DivX ,
 area of interest of a 2D Application Program 18. In a further and /or other file formats . In some designs, Picture Recog
 example, a view may include a top -down view of a 2D nizer 92 can be used for detecting or recognizing objects
 Application Program 18. In a further example, a view may 45 and /or their properties in one or more digital pictures from
 include a side -on view of a 2D Application Program 18. Any Picture Renderer 91. For example, Picture Recognizer 92
 other view can be utilized in alternate designs . Any view can be utilized in detecting or recognizing existence of an
 utilized in a 3D Application Program 18 can similarly be object, type of an object, identity of an object , shape size of
 utilized in a 2D Application Program 18 as applicable, and an object, activity of an object, and /or other properties of an
 vice versa . In some implementations, Picture Renderer 91 50 object. In general, Picture Recognizer 92 can be used for any
 may include any graphics processing device , apparatus, operation supported by Picture Recognizer 92. Picture Rec
 system , or application that can render or generate one or ognizer 92 may detect or recognize an object and / or its
 more digital pictures from a computer (i.e. 3D , 2D , etc.) properties as well as track the object and / or its properties in
 model or representation . In some aspects , rendering, when one or more digital pictures or streams of digital pictures
 used casually , may refer to rendering or generating one or 55 ( i.e. motion pictures, video , etc. ). In the case of a person ,
 more digital pictures from a computer model or represen           Picture Recognizer 92 may detect or recognize a human
 tation , providing the one ormore digital pictures to a display head or face, upper body, full body, or portions/combina
 device, and /or displaying of the one ormore digital pictures tions thereof. In some aspects, Picture Recognizer 92 may
 on a display device . In some embodiments, Picture Renderer detect or recognize objects and/or their properties from a
 91 can be a program executing or operating on Processor 11. 60 digital picture by comparing regions of pixels from the
 In one example , Picture Renderer 91 can be provided in a digital picture with collections of pixels comprising known
 rendering engine such as Direct3D , OpenGL, Mantle , and /or objects and/or their properties. The collections of pixels
 other programs or systems for rendering or processing 3D or comprising known objects and /or their properties can be
 2D graphics . In other embodiments , Picture Renderer 91 can learned or manually , programmatically , or otherwise
 be part of, embedded into , or built into Processor 11. In 65 defined . The collections of pixels comprising known objects
 further embodiments, Picture Renderer 91 can be a hardware and/or their properties can be stored in any data structure or
 element coupled to Processor 11 and /or other elements . In repository ( i.e. one ormore files, database , etc. ) that resides
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 locally on Computing Device 70 , or remotely on a remote example , thresholds for similarity , statistical techniques,
 computing device ( i.e. server, cloud , etc.) accessible over a and /or optimization techniques can be utilized to determine
 network or an interface. In other aspects , Picture Recognizer a match in any of the above -described detection or recog
 92 may detect or recognize objects and /or their properties nition techniques .
 from a digital picture by comparing features ( i.e. lines , 5 Various aspects or properties of digital pictures or pixels
 edges, ridges, corners, blobs, regions, etc.) of the digital can be taken into accountby Picture Recognizer 92 in any
 picture with features of known objects and /or their proper of the recognizing or comparisons . Examples of such
 ties. The features of known objects and/or their properties aspects or properties include color adjustment, size adjust
 can be learned or manually, programmatically , or otherwise ment, content manipulation , transparency ( i.e. alpha chan
 defined . The features of known objects and /or their proper- 10 nel, etc.), use of mask , and /or others. In some implementa
 ties can be stored in any data structure or repository ( i.e. tions, as digital pictures can be captured or generated by
 neural network , one or more files, database , etc.) that resides various equipment, in various environments, and under
  locally on Computing Device 70 , or remotely on a remote various lighting conditions, Picture Recognizer 92 can
 computing device ( i.e. server , cloud , etc.) accessible over a adjust lighting or color of pixels or otherwise manipulate
 network or an interface . Typical steps or elements in a 15 pixels before or during comparison . Lighting or color adjust
  feature oriented picture recognition include pre- processing, ment (also referred to as gray balance , neutral balance, white
 feature extraction, detection/ segmentation , decision -mak            balance , etc.) may generally include manipulating or rebal
 ing , and /or others , or a combination thereof, each of which ancing the intensities of the colors (i.e. red , green , and /or
 may include its own sub -steps or sub -elements depending on blue if RGB color model is used, etc.) of one ormore pixels .
 the application . In further aspects , Picture Recognizer 92 20 For example , Picture Recognizer 92 can adjust lighting or
 may detect or recognize multiple objects and / or their prop           color of some or all pixels of one picture to make it more
 erties from a digital picture using the aforementioned pixel comparable to another picture . Picture Recognizer 92 can
 or feature comparisons , and /or other detection orrecognition also incrementally adjust the pixels such as increasing or
 techniques. For example, a picture may depict two objects in decreasing the red , green , and/or blue pixel values by a
 two of its regions both of which Picture Recognizer 92 can 25 certain amount in each cycle of comparisons in order to find
 detect simultaneously . In further aspects , where objects a similarity or match at one of the incremental adjustment
 and /or their properties span multiple pictures, Picture Rec           levels. Any of the publically available, custom , or other
 ognizer 92 may detect or recognize objects and /or their lighting or color adjustment techniques or programs can be
 properties by applying the aforementioned pixel or feature utilized such as color filters , color balancing, color correc
 comparisons and /or other detection or recognition tech- 30 tion , and /or others. In other implementations, Picture Rec
 niques over a stream of digital pictures ( i.e. motion picture , ognizer 92 can resize or otherwise transform a digitalpicture
 video , etc. ). For example , once an object is detected in a before or during comparison . Such resizing or transforma
 digital picture (i.e. frame, etc.) of a stream of digital pictures tion may include increasing or decreasing the number of
 ( i.e. motion picture , video , etc.), the region of pixels com        pixels of a digital picture . For example, Picture Recognizer
 prising the detected object or the object's features can be 35 92 can increase or decrease the size of a digital picture
  searched in other pictures of the stream of digital pictures, proportionally ( i.e. increase or decrease length and /or width
  thereby tracking the object through the stream of digital keeping aspect ratio constant, etc. ) to equate its size with the
 pictures. In further aspects , Picture Recognizer 92 may size of another digital picture . Picture Recognizer 92 can
 detect or recognize an object's activities by identifying also incrementally resize a digital picture such as increasing
 and /or analyzing differences between a detected region of 40 or decreasing the size ofthe digital picture proportionally by
 pixels of one picture ( i.e. frame, etc.) and detected regions a certain amount in each cycle of comparisons in order to
 of pixels of other pictures in a stream of digital pictures. For find a similarity or match at one of the incremental sizes .
 example , a region of pixels comprising a person's face can Any of the publically available , custom , or other digital
 be detected in multiple consecutive pictures of a stream of picture resizing techniques or programs can be utilized such
 digital pictures ( i.e. motion picture , video , etc.). Differences 45 as nearest- neighbor interpolation , bilinear interpolation ,
 among the detected regions of the consecutive pictures may             bicubic interpolation, and /or others. In further implementa
 be identified in the mouth part of the person's face to tions, Picture Recognizer 92 can manipulate content ( i.e. all
  indicate smiling or speaking activity. In further aspects, pixels, one or more regions, one or more depicted objects,
 Picture Recognizer 92 may detect or recognize objects etc.) of a digital picture before or during comparison . Such
 and /or their properties using one or more artificial neural 50 contentmanipulation may includemoving, centering, align
 networks, which may include statistical techniques . ing, resizing , transforming, and/or otherwise manipulating
 Examples of artificial neural networks that can be used in content of a digital picture . For example , Picture Recognizer
 Picture Recognizer 92 include convolutional neural net 92 can move, center, or align content of one picture to make
 works (CNNs), time delay neural networks ( TDNNs), deep it more comparable to another picture. Any ofthe publically
 neural networks, and /or others . In one example , picture 55 available , custom , or other digital picture manipulation
 recognition techniques and/or tools involving convolutional techniques or programscan be utilized such as pixelmoving,
 neural networks may include identifying and/or analyzing warping, distorting , aforementioned interpolations, and/or
  tiled and/or overlapping regions or features of a digital others . In further implementations, in digital pictures com
 picture, which may then be used to search for pictures with prising transparency features or functionalities, Picture Rec
 matching regions or features. In another example , features of 60 ognizer 92 can utilize a threshold for acceptable number or
 different convolutional neural networks responsible for spa percentage transparency difference. Alternatively, transpar
 tial and temporal streams can be fused to detect objects ency can be applied to one or more pixels of a digital picture
 and/ or their properties in streams of digital pictures ( i.e. and color difference may then be determined between com
 motion pictures, videos , etc. ). In general, Picture Recognizer pared pixels taking into account the transparency related
 92 may include any machine learning , deep learning , and /or 65 color effect . Alternatively , transparent pixels can be
 other artificial intelligence techniques . Any other techniques excluded from comparison . In further implementations, cer
 known in art can be utilized in Picture Recognizer 92. For tain regions or subsets of pixels can be ignored or excluded
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 during comparison using a mask . In general, any region or be used to render or generate sound of Application Program
 subset of a picture determined to contain no content of 18. In some designs, Sound Renderer 96 can be used to
  interest can be excluded from comparison using a mask . render or generate digital sound from Avatar's 605 surround
  Examples of such regions or subsets include background , ing in a 3D Application Program 18 ( i.e. 3D computer game,
 transparent or partially transparent regions, regions com- 5 virtual world application , CAD application , etc.). For
 prising insignificant content, or any arbitrary region or example , emission of a sound from a sound source may be
 subset. Picture Recognizer 92 can perform any other pre
 processing or manipulation of digital pictures or pixels simulated Program
                                                                              /modeled in a virtual space of a 3D Application
                                                                             18  , propagation of the sound may be simulated /
 before or during recognizing or comparison .                       modeled  through   the virtual space including any scattering ,
     In some exemplary embodiments , object recognition tech- 10 reflections , refractions  , diffractions, and /or other effects, and
 niques and /or tools such as OpenCV (Open Source Com the sound may be rendered                     or generated as perceived by a
 puter Vision ) library, CamFind API, Kooaba, 6 px API, listener i.e. Avatar 605 , etc.                ). In other designs, Sound
 Dextro API, and /or others can be utilized for detecting or
 recognizing objects and/ or their properties in digital pic Renderer          96 can be used to render or generate digital sound
 tures. In some aspects , picture recognition techniques and /or 15 of
                                                                    the
                                                                       a 2D Application Program 18 which may include any of
                                                                        aforementioned and/or other sound simulation /modeling
 tools involve identifying and /or analyzing features such as
 lines, edges, ridges, corners , blobs, regions, and/or their as applicable to 2D spaces. In further designs, Sound Ren
 relative positions, sizes, shapes, etc. , which may then be derer 96 can be optionally omitted in a simple Application
 used to search for pictures with matching features. For Program 18 where no sound simulation/modeling is needed
  example, OpenCV library can detect an object (i.e. person , 20 or where sounds may simply be played . In some implemen
 animal, vehicle, rock , etc.) and /or its properties in one or tations, Sound Renderer 96 may include any sound process
 more digital pictures from Picture Renderer 91 or stored in ing device, apparatus, system , or application that can render
  an electronic repository , which can then be utilized in or generate digital sound . In some aspects , rendering, when
 ACAAO Unit 100, Artificial Intelligence Unit 110, and /or used casually, may refer to rendering or generating digital
 other elements. In other exemplary embodiments, facial 25 sound from a computer model or representation , providing
 recognition techniques and/or tools such as OpenCV (Open             digital sound to a speaker or headphones, and /or producing
 Source Computer Vision ) library, Animetrics FaceR API,              the sound by a speaker or headphones . In some embodi
 Lambda Labs Facial Recognition API, Face ++ SDK , Neven         ments , Sound Renderer 96 can be a program executing or
 Vision (also known as N -Vision ) Engine , and /or others can operating on Processor 11. In one example , Sound Renderer
 be utilized for detecting or recognizing faces in digital 30 96 can be provided in a rendering engine such as Sound
 pictures. In some aspects, facial recognition techniques Scape Renderer, SLAB Spatial Audio Renderer, Uni -Verse
 and/or tools involve identifying and /or analyzing facial Sound Renderer, Crepo Sound Renderer, and /or other pro
 features such as the relative position , size, and /or shape of grams or systems for rendering or processing sound. In
 the eyes, nose , cheekbones, jaw , etc., which may then be another example, various engines or environments such as
 used to search for pictures with matching features. For 35 Unity 3D Engine, Unreal Engine, Torque 3D Engine, and/or
 example , FaceR API can detect a person's face in one or others provide built-in sound renderers. In other embodi
 more digital pictures from Picture Renderer 91 or stored in         ments, Sound Renderer 96 can be part of, embedded into , or
 an electronic repository , which can then be utilized in            built into Processor 11. In further embodiments, Sound
 ACAAO Unit 100 , Artificial Intelligence Unit 110 , and /or         Renderer 96 can be a hardware element coupled to Processor
 other elements .                                                 40 11 and /or other elements. In further embodiments, Sound
    It should be noted that Picture Renderer 91 and Picture          Renderer 96 can be a program or hardware element that is
 Recognizer 92 can optionally be used to detect objects part of or embedded into another element . In one example,
 and /or their properties that cannot not be obtained from a sound card and /or its processing unit may include Sound
 Application Program 18 or from an engine , environment, or Renderer 96. In another example , ACAAO Unit 100 may
 system used to implement Application Program 18. Picture 45 include Sound Renderer 96. In a further example, Applica
 Renderer 91 and Picture Recognizer 92 can also optionally tion Program 18 may include Sound Renderer 96. In general,
 be used where Picture Renderer 91 and Picture Recognizer Sound Renderer 96 can be implemented in any suitable
 92 offer superior performance in detecting objects and /or configuration to provide its functionalities. Sound Renderer
 their properties. Picture Renderer 91 and Picture Recognizer 96 may render or generate digital sound in various formats
 92 can also optionally be used to confirm objects and /or their 50 examples of which include WAV , WMA , AIFF , MP3, RA ,
 properties obtained or detected by other means. For OGG , and /or others. In some designs , Sound Renderer 96
 example , identity of an object, type of an object, and /or can render or generate different digital sound of an Appli
 action of an object, if needed , can be recognized or con          cation Program 18 for production on a speaker or head
 firmed through picture processing of Picture Renderer 91 phones and for facilitating object recognition functionalities
 and Picture Recognizer 92. Picture Renderer 91 and Picture 55 herein . For example , sound of Avatar's 605 shooting may be
 Recognizer 92 can be omitted depending on implementa          produced by a speaker or headphones for User 50 to hear and
 tion .                                                        sound of various objects in Avatar's 605 surrounding may be
    Referring to FIG . 4 , an embodiment of utilizing Sound used to facilitate object recognition functionalities herein . In
 Renderer 96 and Sound Recognizer 97 is illustrated .          some implementations of non -acoustic Application Pro
    Sound Renderer 96 comprises the functionality for ren- 60 grams 18 such as simulations, calculations, and /or others ,
 dering or generating digital sound, and /or other functional Sound Renderer 96 may render or generate digital sound as
 ities. Sound Renderer 96 comprises the functionality for perceived by Avatar 605 to facilitate object recognition
 rendering or generating digital sound of Application Pro      functionalities herein where the sound is never produced on
 gram 18. In some aspects , as a microphone is used to capture a speaker or headphones. In some aspects , instead of or in
 sound of a physical environment, Sound Renderer 96 can be 65 addition to Sound Renderer 96 , digital sound perceived by
 used to render or generate sound of a computer modeled or            Avatar 605 can be obtained from any element of a comput
 represented environment. As such , Sound Renderer 96 can             ing device or system that can provide such digital sound .
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 Examples of such elements include an audio circuit, an              for similarity , statistical techniques, and /or optimization
 audio system , an audio driver, an audio interface , and /or        techniques can be utilized to determine a match in any of the
 others .                                                            above -described detection or recognition techniques.
    Sound Recognizer 97 comprises the functionality for                 In some exemplary embodiments, operating system's
 detecting or recognizing objects and/or their properties in 5 sound recognition functionalities such as iOS's Voice Ser
 audio data, and/or other disclosed functionalities. Audio data vices , Siri, and/or others can be utilized in Sound Recog
 includes digital sound , and/or other audio data . Examples of nizer 97. For example , iOS Voice Services can detect an
 file formats that can be utilized to store audio data include object ( i.e. person , etc.) and /or its properties in digital sound
 WAV , WMA, AIFF, MP3 , RA , OGG , and /or other file from Sound Renderer 96 or stored in an electronic reposi
  formats. In some designs, Sound Recognizer 97 can be used 10 tory, which can then be utilized in ACAAO Unit 100,
 for detecting or recognizing objects and /or their properties in Artificial    Intelligence Unit 110 , and /or other elements . In
 digital sound from Sound Renderer 96. In the case of a
 person , Sound Recognizer 97 may detect or recognize other                 exemplary embodiments , Java Speech API (JSAPI)
                                                                     implementation such as The Cloud Garden , Sphinx , and /or
 human voice . For example, Sound Recognizer 97 can be others
 utilized in detecting or recognizing existence of an object, 15 Cloud can      be utilized in Sound Recognizer 97. For example ,
                                                                             Garden JSAPI can detect an object ( i.e. person,
  type of an object, identity of an object , activity of an object,
 and /or other properties of an object. In general, Sound animal, vehicle, etc.) and/or its properties in digital sound
 Recognizer 97 can be used for any operation supported by from Sound Renderer 96 or stored in an electronic reposi
 Sound Recognizer 97. In some aspects, Sound Recognizer tory , which can then be utilized in ACAAO Unit 100 ,
 97 may detect or recognize an object and /or its properties 20 Artificial Intelligence Unit 110 , and /or other elements . Any
  from a digital sound by comparing collections of sound other programming language's or platform's speech or
 samples from the digital sound with collections of sound sound processing API can similarly be utilized . In further
 samples of known objects and /or their properties. The col exemplary embodiments , applications or engines providing
 lections of sound samples of known objects and /or their Sound recognition functionalities such as HTK (Hidden
 properties can be learned , or manually , programmatically , or 25 Markov Model Toolkit), Kaldi, OpenEars , Dragon Mobile,
 otherwise defined . The collections of sound samples of Julius, iSpeech , CeedVocal, and /or others can be utilized in
 known objects and /or their properties can be stored in any Sound Recognizer 97. For example , Kaldi SDK can detect
 data structure or repository ( i.e. one or more files, database , an object ( i.e. person, animal, vehicle , etc. ) and /or its
  etc.) that resides locally on Computing Device 70 , or properties in digital sound from Sound Renderer 96 or stored
 remotely   on a remote computing device (i.e. server, cloud, 30 in an electronic repository , which can then be utilized in
 etc.) accessible over a network or an interface . In other ACAAO Unit 100 , Artificial Intelligence Unit 110 , and/or
 aspects, Sound Recognizer 97 may detect or recognize an other elements.
 object and /or its properties from a digital sound by compar           It should be noted that Sound Renderer 96 and Sound
 ing features from the digital sound with features of sounds Recognizer
 of known objects and /or their properties. The features of 35 and /or their 97properties
                                                                                       can optionally be used to detect objects
 sounds of known objects and/or their properties can be Application Program 18 that                  cannot not be obtained from
                                                                                                or from an engine, environment, or
 learned , or manually , programmatically , or otherwise system used to implement                  Application Program 18. Sound
 defined . The features of sounds of known objects and /or
 their properties can be stored in any data structure or             Renderer   96 and  Sound   Recognizer  97 can also optionally
 repository ( i.e. neural network , one or more files, database , 40 be used where Sound Renderer 96 and Sound Recognizer 97
 etc.) that resides locally on Computing Device 70 , or offer superior performance in detecting objects and /or their
 remotely on a remote computing device ( i.e. server, cloud, properties . Sound Renderer 96 and Sound Recognizer 97
 etc.) accessible over a network or an interface. Typical steps can also optionally be used to confirm objects and / or their
 or elements in a feature oriented sound recognition include properties obtained or detected by other means . For
 pre-processing, feature extraction , acoustic modeling , lan- 45 example , identity of an object, type of an object, and /or
 guage modeling, and /or others , or a combination thereof, activity of an object, if needed , can be recognized or
 each of which may include its own sub -steps or sub                 confirmed through sound processing of Sound Renderer 96
 elements depending on the application . In further aspects, and Sound Recognizer 97. Sound Renderer 96 and Sound
 Sound Recognizer 97 may detect or recognize a variety of Recognizer 97 can be omitted depending on implementa
 sounds from digital sound using the aforementioned sound 50 tion .
 sample or feature comparisons, and /or other detection or              One of ordinary skill in art will understand that the
 recognition techniques. For example , sound of a person , aforementioned techniques for detecting or recognizing
 animal, vehicle, and / or other sounds can be detected by objects and / or their properties using pictures and sounds are
  Sound Recognizer 97. In further aspects , Sound Recognize          described merely as examples of a variety of possible
 97 may detect or recognize sounds using Hidden Markov 55 implementations, and that while all possible techniques for
 Models (HMM ), Artificial Neural Networks, Dynamic Time detecting or recognizing objects and /or their properties are
 Warping (DTW ),Gaussian Mixture Models (GMM ), and /or too voluminous to describe, other techniques for detecting or
 other models or techniques, or a combination thereof. Some recognizing objects and /or their properties known in art are
 or all of these models or techniques may include statistical within the scope of this disclosure. Also , any signal pro
 techniques. Examples of artificial neural networks that can 60 cessing technique known in art that can facilitate the dis
 be used in Sound Recognizer 97 include recurrent neural            closed functionalities can be utilized in various embodi
 networks, time delay neural networks ( TDNNs),deep neural          ments . Any combination of the aforementioned and/or other
 networks, convolutional neural networks, and/or others. In         renderers , object detecting or recognizing techniques, signal
  general, Sound Recognizer 97 may include any machine processing techniques, and/or other elements or techniques
  learning, deep learning, and /or other artificial intelligence 65 can be used in various embodiments.
 techniques . Any other techniques known in art can be                Referring to FIGS. 5A -5B , an exemplary embodiment of
 utilized in Sound Recognizer 97. For example, thresholds           Objects 615 (also referred to simply as objects or other
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  suitable name or reference) in Avatar's 605 surrounding , and excluded , or a combination thereof can be utilized in alter
  resulting Collection of Object Representations 525 are illus nate embodiments of Collection of Object Representations
 trated .                                                         525 .
     As shown for example in FIG . 5A , Object 615a exists in        Referring now to ACAAO Unit 100, ACAAO Unit 100
  Avatar's 605 surrounding . Object 615a may be recognized 5 comprises any hardware, programs, or a combination
 as a person. Object 615a may be located at a distance of 13 thereof. ACAAO Unit 100 comprises the functionality for
 m from Avatar 605. Object 615a may be located at a learning                the operation of Avatar 605 in circumstances
                                                                  including objects with various properties. ACAAO Unit 100
 bearing/angle of 78 ° from Avatar's 605 centerline . Object comprises        the functionality for structuring and/or storing
 615a may be identified as Agent Smith . Furthermore, Object 10 this knowledge
 615b exists in Avatar's 605 surrounding. Object 615b may graph , sequencesin, other    a knowledgebase ( i.e. neural network ,
                                                                                             repository, etc. ). ACAAO Unit 100
 be recognized as a rock . Object 615b may be located at a
 distance of 10 m from Avatar 605. Object 615b may be comprises              the functionality for enabling autonomous opera
                                                                  tion of Avatar 605 in circumstances including objects with
 located at a bearing/angle of 211 ° from Avatar's 605 cen various         properties. In some embodiments of Application
 surrounding . Object 615C may be recognized as a robot. Avatar 605 18forthat
 terline . Furthermore , Object  615c  exists  in Avatar's 605 15  Programs           do not comprise Avatar 605 or rely on
 Object 615cmay be located at a distance of 8 m from Avatar the functionality foroperation
                                                                                  their           , ACAAO Unit 100 comprises
                                                                                          learning the operation of Application
 605. Object 615c may be located at a bearing/angle of 332 ° Program 18 in circumstances including objects with various
 from Avatar's 605 centerline . Any Objects 615 instead of or         properties similar to the learning functionalities described
 in addition to Object 615a , Object 615b , and Object 615C 20 with respect to Avatar 605. Also, in such embodiments,
 may exist in Avatar's 605 surrounding, one ormore ofwhich ACAAO Unit 100 comprises the functionality for enabling
 can be obtained , learned , and /or used . In some designs, some autonomous operation of Application Program 18 in circum
 Objects 615 can be omitted . Which Objects 615 or types of           stances including objects with various properties similar to
 Objects 615 are obtained , learned , and /or used can be the autonomous operation functionalities described with
 defined by a user, by ACAAO system administrator, or 25 respect to Avatar 605. ACAAO Unit 100 comprises the
 automatically by the system based on experience, testing, functionality for interfacing with or attaching to Avatar 605 ,
  inquiry , analysis, synthesis, or other techniques, knowledge , Application Program 18 , Processor 11 , and/ or other process
 or input. In further designs, a 3D Application Program 18 ing element. ACAAO Unit 100 comprises the functionality
 may include elevated Objects 615 such as flying objects ( i.e. for obtaining instruction sets , data, and /or other information
  flying animals, aircraft, etc. ), objects on hills or mountains, 30 used , implemented , and/or executed by Avatar 605 , Appli
 objects on buildings, and / or others in which case altitudinal cation Program 18 , Processor 11 , and /or other processing
  information related to distance and bearing/angle ofObjects element. ACAAO Unit 100 comprises the functionality for
 615 relative to Avatar 605 can be obtained , learned , and /or modifying instruction sets, data , and /or other information
 used . Any unit of distance and /or bearing/angle can be used , implemented , and/or executed by Avatar 605 , Appli
 utilized instead of or in addition to meters and /or angular 35 cation Program 18, Processor 11, and /or other processing
 degrees.                                                             element. ACAAO Unit 100 comprises learning , anticipating,
     As shown for example in FIG . 5B , Object Processing Unit decision making, automation , and / or other functionalities
  140 may create or generate Collection of Object Represen            disclosed herein . Statistical, artificial intelligence , machine
 tations 525 including Object Representation 625a represent learning , and/or other models or techniques are utilized to
 ing Object 615a , Object Representation 625b representing 40 implement the disclosed devices, systems, and methods. In
 Object 615b , Object Representation 625c representing some designs, ACAAO Unit 100 and/or elements thereof
 Object 6150 , etc. For instance , Object Representation 625a may be or include a hardware element embedded or built
 may include Object Property 630aa “ Person” in Category into Processor 11 , and /or other processing element. In other
 635aa “ Type” , Object Property 630ab “ Agent Smith ” in designs, ACAAO Unit 100 and/or elements thereofmay be
 Category 635ab “ Identity ” , Object Property 630ac “ 13 m ” 45 or include a hardware element coupled to or interfaced with
 in Category 635ac “ Distance " ,Object Property 630ad " 780" Avatar 605 , Application Program 18, Processor 11 , and /or
 in Category 635ad “ Bearing” , etc. Also , Object Represen           other processing element. In other designs, ACAAO Unit
 tation 625b may include Object Property 630ba “ Rock ” in 100 and /or elements thereof may be or include a program
 Category 635ba “ Type” , Object Property 630bb " 10 m ” in operating on Processor 11, and / or other processing element.
 Category 635bb “ Distance ” , Object Property 630bc " 211 "” 50 In further designs, ACAAO Unit 100 and /or elements
 in Category 635bc " Bearing” , etc. Also , Object Represen           thereofmay be or include a program coupled to or interfaced
 tation 625c may include Object Property 630ca “ Robot” in with Avatar 605 , Application Program 18 , Processor 11,
  Category 635ca “ Type” , Object Property 630cb " 8 m ” in and /or other processing element. In further designs, ACAAO
  Category 635cb “ Distance ”, Object Property 630cc “ 3320" Unit 100 and /or elements thereof may be or include a
 in Category 635cc “ Bearing” , etc. Any number of Object 55 program embedded or built into Avatar 605 , Application
 Representations 625 , and/or other elements or information Program 18 , and / or other processing element. ACAAO Unit
 can be included in Collection of ObjectRepresentations 525 . 100 can be provided in a combination of the aforementioned
 Any number of Object Properties 630 (also referred to or other suitable configurations in alternate designs.
 simply as object properties or other suitable name or refer        When ACAAO Unit 100 functionalities are applied to
 ence ), and/ or other elements or information can be included 60 Avatar 605 , Application Program 18, Processor 11, and /or
 in an Object Representation 625. In some aspects, a refer other processing element, Avatar 605 , Application Program
 ence to Collection ofObject Representations 525 comprises 18, Processor 11 , and/or other processing element may
 a reference to a collection of Object Properties 630 and /or become autonomous . ACAAO Unit 100 may take control
 other elements or information related to one or more Objects from , share control with , and /or release control to Avatar
 615. Other additional Object Representations 625 , Object 65 605 , Application Program 18 , Processor 11 , and/or other
 Properties 630 , elements , and/or information can be processing element to implement autonomous operation of
 included as needed , or some of the disclosed ones can be            Avatar 605 , Application Program 18 , Processor 11 , and / or
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 other processing element. ACAAO Unit 100 may take and / or non -ACAAO system is in control of Avatar 605 ,
 control from , share control with , and /or release control to thereby reducing or eliminating the need for future involve
 Avatar 605 , Application Program 18 , Processor 11, and /or ment of User 50 and / or non -ACAAO system . In another
 other processing element automatically or after prompting example , User 50 and /or non - ACAAO system may be a
 User 50 to allow it. In some aspects , Avatar 605 , Application 5 primary or preferred system for implementing Avatar's 605
 Program 18 , Processor 11, and /or other processing element operation. While operating under the control of User 50
 may include or be provided with anticipatory (also referred and/or non -ACAAO system , User 50 and /or non1 -ACAAO
 to as alternate or other suitable name or reference ) instruc      system may release control to ACAAO Unit 100 for any
 tions or instruction sets that User 50 did not issue or cause reason (i.e. User 50 gets tired or distracted , non-ACAAO
 to be executed . Such anticipatory instructions or instruction 10 system gets stuck or cannot make a decision , etc.), at which
 sets include instruction sets that User 50 may want or is point Avatar 605 can be controlled by ACAAO Unit 100. In
 likely to issue or cause to be executed . Anticipatory instruc     some designs, ACAAO Unit 100 may take control in certain
 tions or instruction sets can be generated by ACAAO Unit special circumstances including objects with various prop
  100 or elements thereof based on circumstances including erties where ACAAO Unit 100 may offer superior perfor
 objects with various properties . As such , Avatar 605 , Appli- 15 mance even though User 50 and/or non -ACAAO system
 cation Program 18 , Processor 11 , and /or other processing may generally be preferred . Once Avatar 605 leaves such
 elementmay include orbe provided with some or all original special circumstances, ACAAO Unit 100 may release con
 instructions or instruction sets and /or any anticipatory trol to User 50 and/or non -ACAAO system . In general,
 instructions or instruction sets generated by ACAAO Unit ACAAO Unit 100 can take control from , share control with ,
  100. Therefore, autonomous operating of Avatar 605 , Appli- 20 or release control to User 50 , non -ACAAO system , and /or
 cation Program 18, Processor 11 , and /or other processing other system or process at any time, in any circumstances ,
 elementmay include executing some or all original instruc          and remain in control for any period of time as needed .
 tions or instruction sets and / or any anticipatory instructions     In some embodiments, ACAAO Unit 100 may control one
 or instruction sets generated by ACAAO Unit 100 .                  or more elements of Avatar 605 while User 50 and /or
    In one example , ACAAO Unit 100 can overwrite or 25 non -ACAAO system may control other one or more ele
 rewrite the original instructions or instruction sets with ments of Avatar 605. For example, ACAAO Unit 100 may
 ACAAO Unit 100 -generated instructions or instruction sets . control Avatar's 605 movement, while User 50 and /or non
 In another example , ACAAO Unit 100 can insert or embed ACAAO system may control Avatar's 605 aiming and
 ACAAO Unit 100 - generated instructions or instruction sets shooting . Any other combination of controlling various
 among the original instructions or instruction sets. In a 30 elements or functions of Avatar 605 by ACAAO Unit 100 ,
 further example, ACAAO Unit 100 can branch , redirect, or         User 50, and / or nonn -ACAAO system can be implemented .
 jump to ACAAO Unit 100 -generated instructions or instruc            In some embodiments , ACAAO Unit 100 enables learn
 tion sets from the original instructions or instruction sets .    ing of a particular User's 50 knowledge , methodology, or
    In some embodiments, autonomous Avatar 605 operating           style of operating Avatar 605. In some aspects , learning of
 comprises determining, by ACAAO Unit 100 , a next instruc- 35 a particular User's 50 knowledge, methodology, or style of
 tion or instruction set to be executed based on Avatar's 605     operating Avatar 605 includes learning the User's 50 direct
 circumstances including objects with various properties ing or operating Avatar 605 in circumstances including
 prior to the user issuing or causing to be executed the next objects with various properties . In one example , one User 50
 instruction or instruction set. In other embodiments , autono  may shoot an opponentwhile another User 50 may strike the
 mous Avatar 605 operating comprises determining, by 40 opponent with a sword in a computer game. In another
 ACAAO Unit 100 , a next instruction or instruction set to be example , one User 50 may jump over an obstacle while
 executed based on Avatar's 605 circumstances including another User 50 may move around the obstacle in a virtual
 objects with various properties prior to the system receiving world application . In a further example, one User 50 may
 the next instruction or instruction set.                       drive fast while another User 50 may drive cautiously in a
     In some embodiments , autonomous Avatar 605 operating 45 racing game, and so on . The knowledge of User's 50
 includes a partially or fully autonomous operating . In an methodology or style of operating Avatar 605 can be used to
 example involving partially autonomous Avatar 605 operat enable personalized autonomous operation of Avatar 605
 ing, a user confirms ACAAO Unit 100- generated instruc         specific to a particular User 50. Therefore, ACAAO - enabled
 tions or instruction sets prior to their execution . In an Avatar 605 may exemplify User's 50 knowledge, method
 example involving fully autonomous application operating, 50 ology, or style of operating Avatar 605 as learned from User
 ACAAO Unit 100 - generated instructions or instruction sets 50. In some designs, this functionality enables one or more
 are executed without user or other system confirmation ( i.e. ACAAO -enabled Avatars 605 to be utilized in Application
 automatically, etc.).                                          Program 18 ( i.e. computer game, virtual world , etc.) to assist
     In some embodiments , a combination of ACAAO Unit User 50 in defeating an opponent or achieving another goal.
 100 and other systems and /or techniques can be utilized to 55 For example , User 50 can utilize a team ofACAAO -enabled
 implement Avatar's 605 operation . In one example , ACAAO Avatars 605 each of which may exemplify User's 50 knowl
 Unit 100 may be a primary or preferred system for imple edge ,methodology, or style of operating Avatar 605. In other
 menting Avatar's 605 operation . While operating autono        designs, ACAAO Unit 100 enables a professional or other
 mously under the control of ACAAO Unit 100 , Avatar 605 experienced Application Program 18 operator ( i.e. game
 may encounter a circumstance including objects with vari- 60 player, etc.) to record his /her knowledge, methodology, or
 ous properties that has not been encountered or learned style of operating Avatar 605 into Knowledgebase 530 ( i.e.
 before . In such situations, User 50 and /or non -ACAAO Neural Network 530a, Graph 530b , Collection of Sequences
 system may take control of Avatar's 605 operation . ACAAO 530c, Sequence 533 , Collection of Knowledge Cells 530d ,
 Unit 100 may take control again when Avatar 605 encoun         etc.) and /or other repository. User 50 can then sell or make
  ters a previously learned circumstance including objects 65 available his /her knowledge ,methodology, or style of oper
 with various properties. Naturally , ACAAO Unit 100 can ating Avatar 605 to other users who may want to implement
 learn Avatar's 605 operation in circumstances while User 50 User's 50 knowledge , methodology, or style of operating
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  Avatar 605. Knowledgebase 530 and /or other repository source code, bytecode, compiled , interpreted code, trans
 comprising User's 50 knowledge , methodology, or style of lated code, machine code , and /or other code . In further
 operating Avatar 605 can be available to other users via a aspects , Acquisition Interface 120 can access and/or read
 storage medium , via a network , or via other means . In some values , variables, parameters , and /or other data or informa
 implementations, User's 50 knowledge , methodology , or 5 tion . Acquisition Interface 120 also comprises the function
  style of operating Avatar 605 can be applied to or imple     ality for transmitting the obtained instruction sets , data ,
 mented on any Object 615 of Application Program 18 as and /or other information to Artificial Intelligence Unit 110
 applicable , thereby enabling any Object 615 to exemplify and /or other elements . As such , Acquisition Interface 120
 User's 50 knowledge , methodology , or style of operating as provides input into Artificial Intelligence Unit 110 for
 learned from User 50. For example , a computer game 10 knowledge structuring, anticipating , decision making, and /
 developer may associate Knowledgebase 530 comprising or other functionalities later in the process . Acquisition
 User's 50 knowledge , methodology , or style of operating           Interface 120 also comprises other disclosed functionalities .
 Avatar 605 with an Object 615 ( i.e. tank , robot, aircraft,             Acquisition Interface 120 can employ various techniques
 etc.), thereby enabling the Object 615 to operate based on for obtaining instruction sets, data , and /or other information .
 the knowledge in the Knowledgebase 530 .                           15 In one example , Acquisition Interface 120 can attach to
    Referring now to Acquisition Interface 120, Acquisition and /or obtain Avatar's 605 , Application Program's 18 , Pro
 Interface 120 comprises the functionality for obtaining and / cessor's 11 , and /or other processing element's instruction
 or receiving instruction sets , data , and/or other information . sets , data , and / or other information through tracing or pro
 Acquisition Interface 120 comprises the functionality for filing techniques. Tracing or profiling may be used for
 obtaining and /or receiving instruction sets , data , and/or other 20 outputting Avatar's 605 , Application Program's 18 , Proces
 information related to the operation of Avatar 605 , Appli sor's 11 , and/or other processing element's instruction sets,
 cation Program 18, Processor 11 , and /or other processing data , and /or other information at runtime. For instance ,
 element. Acquisition Interface 120 comprises the function             tracing or profiling may include adding trace code (i.e.
 ality for obtaining and /or receiving instruction sets , data , instrumentation , etc.) to Avatar 605 ( i.e. Avatar's 605 object
 and/or other information from Avatar 605 , Application Pro- 25 code, etc.) or Application Program 18 , and /or outputting
 gram 18 , Processor 11 , and /or other processing element. trace information to a specific target. The outputted trace
 Acquisition Interface 120 comprises the functionality for information (i.e. instruction sets , data , and /or other infor
 obtaining and /or receiving instruction sets , data, and /or other mation , etc.) can then be provided to or recorded into a file ,
 information at runtime. In one example , Acquisition Inter data structure, repository , application , and /or other system or
 face 120 can obtain Instruction Sets 526 used or executed in 30 target that may receive such trace information . As such ,
 operating Avatar 605 operation, and transmit the Instruction Acquisition Interface 120 can utilize tracing or profiling to
 Sets 526 to Artificial Intelligence Unit 110 for learning obtain instruction sets, data , and /or other information and
 Avatar's 605 operation in circumstances including objects provide them as input into Artificial Intelligence Unit 110. In
 with various properties. In another example , in Application some aspects , instrumentation can be performed in source
 Programs 18 that do not comprise Avatar 605 or do not rely 35 code, bytecode, compiled code, interpreted code , translated
 on Avatar 605 for their operation , Acquisition Interface 120 code, machine code , and/or other code . In other aspects,
 can obtain Instruction Sets 526 used or executed in operating instrumentation can be performed in various elements of a
 Application Program 18 , and transmit the Instruction Sets computing system such as memory, virtual machine , runtime
 526 to Artificial Intelligence Unit 110 for learning Applica      engine /environment, operating system , compiler, interpreter,
 tion Program’s 18 operation in circumstances including 40 translator, processor registers , and /or other elements. In yet
 objects with various properties . Acquisition Interface 120 other aspects , instrumentation can be performed in various
  also comprises the functionality for tracing or profiling of abstraction layers of a computing system such as in software
  Avatar 605 , Application Program 18 , Processor 11, and /or layer (i.e. Application Program 18 , etc.), in virtual machine
 other processing element. Tracing or profiling may include (if VM is used ), in operating system , in Processor 11 , and / or
 adding trace code or instrumentation to Avatar 605 ( i.e. 45 in other layers or areas that may exist in a particular
  Avatar's 605 object code, etc.) or Application Program 18 , computing system implementation . In yet other aspects ,
 and / or outputting trace information ( i.e. instruction sets, instrumentation can be performed at various times in Ava
 data , and / or other information , etc. ) to a receiving target. tar's 605 or Application Program's 18 execution such as
 Acquisition Interface 120 further comprises the functional source code write time, compile time, interpretation time,
 ity for attaching to or interfacing with Avatar 605 , Applica- 50 translation time, linking time, loading time, runtime, and /or
 tion Program 18 , Processor 11 , and /or other processing others. In yet other aspects, instrumentation can be per
  element. In some aspects, Acquisition Interface 120 can formed at various granularities or code segments such as
 access and /or read runtime engine/environment, virtual some or all lines of code , some or all statements, some or all
 machine , operating system , compiler, interpreter, translator, instructions or instruction sets , some or all basic blocks,
 execution stack , file , object, data structure, and /or other 55 some or all functions/routines /subroutines , and /or some or
 computing system elements . In other aspects, Acquisition all other code segments .
 Interface 120 can access and / or read memory , storage ,            In some embodiments, Avatar 605 (i.e. Avatar's 605
 and /or other repository. In further aspects , Acquisition Inter object code , etc. ) or Application Program 18 can be auto
 face 120 can access and/or read Processor 11 registers and/or matically instrumented . For example , Acquisition Interface
 other Processor 11 elements . In further aspects , Acquisition 60 120 can access Avatar's 605 or Application Program’s 18
 Interface 120 can access and /or read inputs and /or outputs of source code, bytecode , or machine code and select instru
 Avatar 605 , Application Program 18 , Processor 11 , and /or mentation points of interest . Selecting instrumentation
 other processing element. In further aspects , Acquisition points may include finding locations in the source code ,
 Interface 120 can access and /or read functions, methods, bytecode , or machine code corresponding to function calls ,
 procedures, routines , subroutines, and /or other elements of 65 function entries, function exits, object creations, object
 Avatar 605 and /or Application Program 18. In further destructions , event handler calls , new lines ( i.e. to instru
 aspects, Acquisition Interface 120 can access and / or read ment all lines of code, etc.), thread creations, throws, and /or
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  other points of interest. Instrumentation code can then be understand that, while all possible variations of the tech
  inserted at the instrumentation points of interest to output niques to obtain instruction sets, data, and/or other informa
  Avatar's 605 or Application Program's 18 instruction sets , tion are too voluminous to describe, these techniques are
  data , and /or other information . In response to executing within the scope of this disclosure .
  instrumentation code , Avatar's 605 or Application Pro- 5 In one example , obtaining Avatar's 605 and / or Applica
  gram's 18 instruction sets, data , and /or other information tion Program’s 18 instruction sets, data, and /or other infor
 may be received by Acquisition Interface 120. In some mation can be implemented through the .NET platform's
 aspects, Avatar's 605 or Application Program's 18 source native tools for application tracing or profiling such as
  code, bytecode , ormachine code can be dynamically instru          System.Diagnostics.Trace, System.Diagnostics.Debug, or
 mented . For example, instrumentation code can be dynami- 10 System.Diagnostics.TraceSource classes for tracing execu
 cally inserted into Avatar 605 (i.e. Avatar's 605 object code , tion flow , and / or System.Diagnostics.Process , System.Diag
  etc.) or Application Program 18 at runtime.                        nostics.EventLog, or System.Diagnostics.Performance
     In other embodiments , Avatar 605 or Application Program Counter classes for profiling code, accessing local and
  18 can be manually instrumented . In one example , a pro           remote processes, starting and stopping system processes,
  grammer can instrument a function call by placing an 15 and interacting with Windows event logs, etc. For instance ,
  instrumenting function such as traceAvatar ( ), trace Appli a set of trace switches can be created that output an appli
  cation ( ) , etc. immediately after the function call as in the cation's information . The switches can be configured using
 following example.                                                  the .config file . For a web application , this may typically be
     Avatar.moveForward ( 12);                                       web.config file associated with the project. In a Windows
     traceAvatar(“ Avatar.moveForward ( 12 );");                  20 application , this file may typically be named application
  In another example , an instrumenting function can be placed Name.exe.config. Trace code can be added to application
  immediately before the function call , or at the beginning, code automatically or manually as previously described.
  end, or anywhere within the function itself. A programmer Appropriate listener can be created where the trace output is
 may instrument all function calls or only function calls of received . Trace code can output trace messages to a specific
  interest . In a further example , a programmer can instrument 25 target such as a file , a log, a database, an object, a data
 all lines of code or only code lines of interest. In a further structure , and /or other repository or system . Acquisition
 example , a programmer can instrument other elements uti Interface 120 or Artificial Intelligence Unit 110 can then
  lized or implemented within Avatar 605 or Application read or obtain the trace information from these targets . In
 Program 18 such as objects and/or any of their functions , some aspects, trace code can output trace messages directly
 data structures and /or any of their functions, event handlers 30 to Acquisition Interface 120. In other aspects , trace code can
  and /or any of their functions, threads and / or any of their output trace messages directly to Artificial Intelligence Unit
  functions, and /or other elements or functions . Similar instru    110. In the case of outputting trace messages to Acquisition
 mentation as in the preceding examples can be performed Interface 120 or directly to Artificial Intelligence Unit 110 ,
 automatically or dynamically . In some designs where custom listeners can be built to accommodate these specific
 manual code instrumentation is utilized, Acquisition Inter- 35 targets . Other platforms, tools , and /or techniques can pro
  face 120 can optionally be omitted and Avatar's 605 or vide equivalent or similar functionalities as the above
  Application Program’s 18 instruction sets , data , and /or other described ones.
  information may be transmitted directly to Artificial Intel           In another example , obtaining Avatar's 605 and /or Appli
  ligence Unit 110 .                                                 cation Program's 18 instruction sets , data , and /or other
     In some embodiments , ACAAO Unit 100 can be selective 40 information can be implemented through the .NET plat
 in learning instruction sets , data, and /or other information to form's Profiling API that can be used to create a custom
  those implemented , utilized , or related to an object, data profiler application for tracing ,monitoring , interfacing with ,
  structure , repository, thread , function, and/or other element and/or managing a profiled application . The Profiling API
 of Application Program 18. In some aspects , Acquisition provides an interface that includes methods to notify the
  Interface 120 can obtain Application Program's 18 instruc- 45 profiler of events in the profiled application . The Profiling
  tion sets , data , and /or other information implemented , uti API may also provide an interface to enable the profiler to
  lized , or related to a certain object in an object oriented call back into the profiled application to obtain information
  Application Program 18.For example, Acquisition Interface about the state of the profiled application . The Profiling API
 120 can obtain Application Program's 18 instruction sets, may further provide call stack profiling functionalities. Call
 data , and/or other information implemented , utilized , or 50 stack (also referred to as execution stack , control stack ,
 related to Avatar 605 .                                             runtime stack , machine stack , the stack , etc.) includes a data
     In some embodiments, various computing systems and/or structure that can store information about active subroutines
 platformsmay provide native tools for obtaining instruction of an application . The Profiling API may provide a stack
 sets, data , and /or other information . Also , independent ven     snapshot method , which enables a trace of the stack at a
  dors may provide portable tools with similar functionalities 55 particular point in time. The Profiling APImay also provide
  that can be utilized across different computing systems a shadow stack method , which tracks the call stack at every
  and /or platforms. These native and portable tools may instant. A shadow stack can obtain function arguments ,
 provide a wide range of functionalities such as instrumen           return values, and information about generic instantiations .
 tation , tracing or profiling, logging application or system        A function such as Function Enter can be utilized to notify
 messages, outputting custom text messages, outputting 60 the profiler that control is being passed to a function and can
 objects or data structures, outputting functions/ routines / provide information about the stack frame and function
  subroutines or their invocations, outputting variable or arguments . A function such as FunctionLeave can be utilized
 parameter values, outputting thread or process behaviors, to notify the profiler that a function is about to return to the
 outputting call or other stacks, outputting processor regis caller and can provide information about the stack frameand
 ters, providing runtime memory access, providing inputs 65 function return value. An alternative to call stack profiling
 and /or outputs , performing live application monitoring, and/ includes call stack sampling in which the profiler can
  or other capabilities. One of ordinary skill in art will periodically examine the stack . In some aspects , the Profil
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  ing API enables the profiler to change the in -memory code profiling . Examples of methods provided in java.lang.Run
 stream for a routine before it is just - in -time (JIT ) compiled time that can be used to obtain an application's instruction
 where the profiler can dynamically add instrumentation code sets, data , and /or other information include tracemethod
 to all or particular routines of interest. Other platforms, calls, traceinstructions, and /or other methods. These meth
  tools, and/or techniques may provide equivalent or similar 5 ods prompt the Java Virtual Machine to output trace infor
  functionalities as the above described ones .                     mation for a method or instruction in the virtual machine as
     In a further example ,obtaining Avatar's 605 and /or Appli      it is executed . The destination of trace output may be system
 cation Program's 18 instruction sets , data , and /or other dependent and include a file , a listener, and/or other desti
  information can be implemented through Java platform's nations where Acquisition Interface 120 , Artificial Intelli
  APIs for application tracing or profiling such as Java Virtual 10 gence Unit 110 , and /or other disclosed elements can access
 Machine Profiling Interface (JVMPI), Java VirtualMachine needed information . In addition to tracing or profiling tools
  Tool Interface ( JVMTI), and /or other APIs or tools. These native to their respective computing systems and /or plat
  APIs can be used for instrumentation of an application , for forms, many independent tools exist that provide tracing or
 notification of Java Virtual Machine (VM ) events , and /or profiling functionalities on more than one computing system
 other functionalities. One of the tracing or profiling tech- 15 and /or platform . Examples of these tools include Pin ,
 niques that can be utilized includes bytecode instrumenta          DynamoRIO , KemInst, DynInst, Kprobes , OpenPAT,
 tion . The profiler can insert bytecodes into all or some of the DTrace , SystemTap , and /or others. Other platforms, tools,
 classes. In application execution profiling, for example ,           and /or techniques may provide equivalent or similar func
 these bytecodes may include methodEntry and methodExit tionalities as the above described ones .
 calls . In memory profiling, for example, the bytecodes may 20 In a further example , obtaining Avatar's 605 and /or Appli
 be inserted after each new or after each constructor. In some cation Program’s 18 instruction sets , data , and /or other
 aspects, insertion of instrumentation bytecode can be per       information can be implemented through logging tools of
 formed either by a post- compiler or a custom class loader. the platform and /or operating system on which an applica
 An alternative to bytecode instrumentation includes moni tion runs. Some logging tools may include nearly full feature
 toring events generated by the JVMPI or JVMTI interfaces. 25 sets of the tracing or profiling tools previously described . In
 Both APIs can generate events formethod entry /exit , object one example , Visual Basic enables logging of runtime
 allocation , and / or other events . In some aspects, JVMTI can messages through its Microsoft.VisualBasic.Logging
 be utilized for dynamic bytecode instrumentation where namespace that provides a log listener where the log listener
  insertion of instrumentation bytecodes is performed at run may direct logging output to a file and /or other target. In
 time. The profiler may insert the necessary instrumentation 30 another example, Java enables logging through its java.u
 when a selected class is invoked in an application . This can til.logging class. In someaspects, obtaining an application's
 be accomplished using the JVMTI's redefineClasses instruction sets, data , and /or other information can be imple
 method , for example. This approach also enables changing mented through logging capabilities of the operating system
 of the level of profiling as the application is running . If on which an application runs. For example , Windows NT
 needed , these changes can be made adaptively without 35 features centralized log service that applications and oper
 restarting the application . Other platforms, tools, and /or ating -system components can utilize to report their events
 techniques may provide equivalent or similar functionalities including any messages . Windows NT provides functional
 as the above described ones .                                       ities for system , application , security, and /or other logging .
    In a further example, obtaining Avatar's 605 and /or Appli An application log may include events logged by applica
 cation Program's 18 instruction sets , data, and/or other 40 tions. Windows NT, for example , may include support for
  information can be implemented through JVMTI's program             defining an event source ( i.e. application that created the
 ming interface that enables creation of software agents that event, etc.). Windows Vista , for example , supports a struc
 can monitor and control a Java application . An agent may tured XML log - format and designated log types to allow
 use the functionality of the interface to register for notifi applications to more precisely log events and to help inter
 cation of events as they occur in the application , and to query 45 pret the events. Examples of different types of event logs
 and control the application . A JVMTI agentmay use JVMTI include administrative , operational, analytic , debug, and/or
 functions to extract information from a Java application . A other log types including any of their subcategories .
 JVMTI agent can be utilized to obtain an application's Examples of event attributes that can be utilized include
 runtime information such as method calls , memory alloca            eventID , level , task , opcode , keywords, and /or other event
 tion , CPU utilization , and /or other information . JVMTImay 50 attributes. Windows wevtutil tool enables access to events ,
 include functions to obtain information about variables, their structures, registered event publishers, and/or their
 fields, methods, classes, and /or other information . JVMTI configuration even before the events are fired . Wevtutil
 may also provide notification for numerous events such as supports capabilities such as retrieval of the names of all
 method entry and exit , exception , field access and modifi logs on a computing device ; retrieval of configuration infor
 cation , thread start and end , and /or other events . Examples 55 mation for a specific log ; retrieval of event publishers on a
 of JVMTI built -in methods include GetMethodName to computing device ; reading events from an event log , from a
 obtain the name of an invoked method, GetThreadInfo to log file , or using a structured query ; exporting events from
 obtain information for a specific thread , GetClass Signature an event log , from a log file , or using a structured query to
 to obtain information about the class of an object, GetStack     a specific target; and /or other capabilities. Operating system
  Trace to obtain information about the stack including infor- 60 logs can be utilized solely if they contain sufficient infor
 mation about stack frames, and / or other methods. Other mation on an application's instruction sets , data , and /or
 platforms, tools , and /or techniques may provide equivalent other information . Alternatively , operating system logs can
 or similar functionalities as the above described ones .       be utilized in combination with another source of informa
    In a further example , obtaining Avatar's 605 and/ or Appli tion ( i.e. trace information , call stack , processor registers ,
 cation Program's 18 instruction sets , data, and /or other 65 memory, etc.) to reconstruct the application's instruction
 information can be implemented through java.lang.Runtime sets, data, and / or other information needed for Artificial
 class that provides an interface for application tracing or Intelligence Unit 110 and/or other elements . In addition to
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 logging capabilities native to their respective platforms and /or techniques may provide equivalent or similar func
 and/or operating systems,many independent tools exist that tionalities as the above described ones .
 provide logging on different platforms and/ or operating         In a further example ,obtaining Avatar's 605 and /or Appli
 systems. Examples of these tools include Log4j , Logback , cation Program's 18 instruction sets , data , and / or other
 SmartInspect, NLog , log4net, Microsoft Enterprise Library , 5 information can be implemented through branch tracing or
 ObjectGuy Framework , and/or others. Other platforms,              profiling. Branch tracing may include an abbreviated
 tools, and / or techniques may provide equivalent or similar       instruction trace in which only the successfulbranch instruc
 functionalities as the above described ones .                      tion sets are traced or recorded . Branch tracing can be
   In a further example , obtaining Avatar's 605 and / or Appli     implemented through utilizing dedicated processor com
 cation Program's 18 instruction sets, data , and/or other 10 mands , for example. Executed branches may be saved into
                                                              special branch trace store area of memory. With the avail
 information can be implemented through tracing or profiling     ability and reference to a compiler listing of the application
 the operating system on which an application runs. As in        together with branch trace information , a full path of
 tracing or profiling an application , one of the techniques thatexecuted instruction sets can be reconstructed . The full path
 can be utilized includes adding instrumentation code to the 15 can also be reconstructed with a memory dump ( containing
 operating system's source code. Such instrumentation code the program storage) and branch trace information . In some
 can be added to the operating system's source code before aspects, branch tracing can be utilized for pre-learning or
 kernel compilation or recompilation , for instance. This type automated learning of an application's instruction sets, data ,
 of instrumentation may involve defining or finding locations and /or other information where a number of application
 in the operating system's source code where instrumentation 20 simulations ( i.e. simulations of likely /common operations,
 code may be inserted . Kernel instrumentation can also be etc. ) are performed . As such , the application's operation can
 performed without the need for kernel recompilation or be learned automatically saving the time that would be
 rebooting. In some aspects , instrumentation code can be needed to learn the application's operation directed by a
 added at locations of interest through binary rewriting of user. Other platforms, tools , and /or techniques may provide
 compiled kernel code. In other aspects , kernel instrumenta- 25 equivalent or similar functionalities as the above described
 tion can be performed dynamically where instrumentation ones .
 code is added and/ or removed where needed at runtime. For         In a further example, obtaining Avatar's 605 and /or Appli
 instance , dynamic instrumentation may overwrite kernel cation Program's 18 instruction sets, data , and /or other
 code with a branch instruction that redirects execution to         information can be implemented through assembly lan
 instrumentation code or instrumentation routine. In yet other 30 guage. Assembly language is a low - level programming
 aspects , kernel instrumentation can be performed using language for a computer or other programmable device in
 just-in -time (JIT ) dynamic instrumentation where execution which there is a strong correlation between the language and
 may be redirected to a copy of kernel's code segment that the architecture's machine instruction sets. Syntax, address
 includes instrumentation code. This type of instrumentation ing modes, operands, and /or other elements of an assembly
 may include a JIT compiler and creation of a copy of the 35 language instruction set may translate directly into numeric
 original code segment having instrumentation code or calls ( i.e. binary, etc.) representations of that particular instruction
 to instrumentation routines embedded into the original code set.Because of this direct relationship with the architecture's
 segment. Instrumentation of the operating system may machine instruction sets , assembly language can be a pow
 enable total system visibility including visibility into an erful tool for tracing or profiling an application's execution
 application's behavior by enabling generation of low level 40 in processor registers , memory , and /or other computing
 trace information . Other platforms, tools, and /or techniques system components . For example , using assembly language,
 may provide equivalent or similar functionalities as the memory locations of a loaded application can be accessed ,
 above described ones.                                          instrumented , and /or otherwise manipulated . In some
    In a further example, obtaining Avatar's 605 and /or Appli aspects , assembly language can be used to rewrite or over
 cation Program’s 18 instruction sets , data , and/or other 45 write original in -memory instruction sets of an application
 information can be implemented through tracing or profiling with instrumentation instruction sets. In other aspects ,
 the processor on which an application runs. For example, assembly language can be used to redirect application's
  some Intel processors provide Intel Processor Trace ( i.e. execution to instrumentation routine/ subroutine or other
 Intel PT, etc. ), a low -level tracing feature that enables code segment elsewhere in memory by inserting a jump into
 recording executed instruction sets , and/or other data or 50 the application's in -memory code, by redirecting program
 information of one or more applications. Intel PT is facili counter, or by other techniques. Some operating systems
 tated by the Processor Trace Decoder Library along with its may implement protection from changes to applications
 related tools . Intel PT is a low -overhead execution tracing loaded into memory . Operating system , processor, or other
 feature that records information about application execution low level commands such as Linux mprotect command or
 on each hardware thread using dedicated hardware facilities. 55 similar commands in other operating systems may be used
 The recorded execution /trace information is collected in data     to unprotect the protected locations in memory before the
 packets that can be buffered internally before being sent to change . In yet other aspects, assembly language can be used
 a memory subsystem or another system or element ( i.e. to obtain instruction sets, data , and /or other information
 Acquisition Interface 120, Artificial Intelligence Unit 110 , through accessing and / or reading instruction register, pro
 etc.). Intel PT also enables navigating the recorded execu- 60 gram counter, other processor registers, memory locations,
 tion / trace information via reverse stepping commands. Intel and /or other components of a computing system . In yet other
 PT can be included in an operating system's core files and aspects , high -level programming languages may call or
 provided as a feature of the operating system . Intel PT can execute an external assembly language program to facilitate
 trace globally some or all applications running on an oper obtaining instruction sets, data, and/or other information as
 ating system . Acquisition Interface 120 or Artificial Intelli- 65 previously described . In yet other aspects, relatively low
 gence Unit 110 can read or obtain the recorded execution/ level programming languages such as C may allow embed
 trace information from Intel PT. Other platforms, tools ,          ding assembly language directly in their source code such as,
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 for example, using asm keyword of C. Other platforms,              cated by the instruction set, saving the results of execution ,
 tools, and/or techniques may provide equivalent or similar        and/ or other execution steps. Examples of the types of
 functionalities as the above described ones .                     machine instruction sets that can be utilized include arith
    In a further example, it may be sufficient to obtain user or   metic , data handling, logical, program control, as well as
 other inputs , variables , parameters , and /or other data in 5 special and/ or other instruction set types. In addition to the
 some procedural, simple object oriented , or other applica ones described or shown, examples of other computing
 tions. In one instance, a simple procedural application system or processor components that can be used during an
 executes a sequence of instruction sets until the end of the instruction cycle include memory address register (MAR )
 program . During its execution , the application may receive thatmay hold the address of a memory block to be read from
 user or other input, store the input in a variable , and perform 10 or written to ; memory data register (MDR ) that may hold
 calculations using the variable to reach a result. The value of data fetched from memory or data waiting to be stored in
 the variable can be obtained or traced . In another instance , memory ; data registers that may hold numeric values, char
 a more complex procedural application comprises one or acters, small bit arrays , or other data ; address registers that
 more functions/ routines /subroutines each of which may may hold addresses used by instruction sets that indirectly
 include a sequence of instruction sets . The application may 15 access memory; general purpose registers (GPRS) that may
 execute a main sequence of instruction sets with a branch to      store both data and addresses ; conditional registers thatmay
 a function /routine/subroutine. During its execution , the        hold truth values often used to determine whether some
 application may receive user or other input, store the input      instruction set should or should not be executed ; floating
 in a variable , and pass the variable as a parameter to the point registers (FPRs) that may store floating point numbers ;
 function /routine/subroutine . The function / routine/subrou- 20 constant registers that may hold read -only values such as
 tine may perform calculations using the parameter and zero , one , or pi; special purpose registers (SPRs) such as
 return a value that the rest of the application can use to reach status register , program counter, or stack pointer that may
 a result . The value ofthe variable or parameter passed to the hold information on program state ; machine -specific regis
 function /routine/ subroutine, and /or return value can be ters that may store data and settings related to a particular
 obtained or traced . Values of user or other inputs, variables, 25 processor; Register Array 214 that may include an array of
 parameters, and/or other items of interest can be obtained        any number of processor registers; Arithmetic Logic Unit
 through previously described tracing , instrumentation , and /    215 that may perform arithmetic and logic operations ;
 or other techniques. Other platforms, tools, and/or tech          control unit that may direct processor's operation ; and /or
 niques may provide equivalent or similar functionalities as other circuits or components. Tracing, profiling , or sampling
 the above described ones .                                     30 of processor registers, memory, or other computing system
    Referring to FIG . 6 , in yet another example , obtaining components can be implemented in a program , combination
 Avatar's 605 and /or Application Program's 18 instruction ofhardware and program , or purely hardware system . Dedi
 sets , data , and/ or other information may be implemented cated hardware may be built to perform tracing, profiling, or
 through tracing , profiling, or sampling of instruction sets or sampling of processor registers or any computing system
 data in processor registers , memory, or other computing 35 components with marginal or no impact to computing over
 system components where instruction sets, data , and/ or other    head .
 information may be stored or utilized . For example, Instruc         One of ordinary skill in art will recognize that FIG . 6
 tion Register 212 may be part of Processor 11 and it may          depicts one ofmany implementations of processor or com
 store the instruction set currently being executed or decoded .   puting system components, and that various additional com
 In some processors, Program Counter 211 (also referred to 40 ponents can be included , or some of the disclosed ones can
 as instruction pointer, instruction address register, instruc be excluded , or a combination thereof can be utilized in
 tion counter, or part of instruction sequencer , etc.) may be alternate implementations. Processor or computing system
  incremented after fetching an instruction set, and it may hold components may be arranged or connected differently in
 or point to the memory address of the next instruction set to alternate implementations. Processor or computing system
 be executed . In a processor where the incrementation pre- 45 components may also be connected with external elements
 cedes the fetch , Program Counter 211 may point to the using various connections. For instance , the connection
 current instruction set being executed . In the instruction between Instruction Register 212 and Acquisition Interface
 cycle , an instruction set may be loaded into Instruction 120 may include any number or types of connections such
 Register 212 after Processor 11 fetches it from location in as, for example , a dedicated connection for each bit of
 Memory 12 pointed to by Program Counter 211. Instruction 50 Instruction Register 212 ( i.e. 32 connections for a 32 bit
 Register 212 may hold the instruction set while it is decoded Instruction Register 212 , etc.). Any of the described or other
 by Instruction Decoder 213, prepared , and executed . In connections or interfaces may be implemented among any
 some aspects, data (i.e. operands, etc.) needed for instruction processor or computing system components and Acquisition
 set execution may be loaded from Memory 12 into a register Interface 120 or other elements .
 within Register Array 214. In other aspects, the data may be 55 Other additional techniques or elements can be utilized as
 loaded directly into Arithmetic Logic Unit 215. For instance , needed for obtaining instruction sets , data, and /or other
 as instruction sets pass through Instruction Register 212 information , or some of the disclosed techniques or elements
 during application execution , they may be transmitted to can be excluded , or a combination thereof can be utilized in
 Acquisition Interface 120 as shown. Examples of the steps alternate embodiments . As an avatar (i.e. Avatar 605 , etc.)
  in execution of a machine instruction set may include 60 may be part ofan application ( i.e. Application Program 18 ,
 decoding the opcode ( i.e. portion of a machine instruction etc.), it should be noted that obtaining an avatar's instruction
 set that may specify the operation to be performed ), deter sets, data , and /or other information may include same or
 mining where the operands may be located (depending on similar techniques as the aforementioned obtaining an appli
 architecture , operands may be in registers, the stack , cation's instruction sets , data , and /or other information , and
 memory, I/O ports , etc.), retrieving the operands, allocating 65 vice versa.
 processor resources to execute the instruction set (needed in        Referring to FIGS. 7A -7E , some embodiments of Instruc
 some types of processors), performing the operation indi          tion Sets 526 are illustrated . In some aspects, Instruction Set
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 526 includes one or more instructions or commands related             stored in Extra Info 527 can be set by a user , by ACAAO
 to Avatar 605. For example , Instruction Set 526 may include          system administrator, or automatically by the system . Extra
 one or more instructions or commands for operating Avatar              Info 527 may include or be referred to as contextual infor
 605. In other aspects, Instruction Set 526 includes one or            mation , and vice versa. Therefore, these termsmay be used
 more instructions or commands of Application Program 18.5 interchangeably herein depending on context.
 For example, Instruction Set 526 may include one or more          In some aspects , time information ( i.e. time stamp, etc.)
 instructions or commands for operating Application Pro         can be utilized and / or stored in Extra Info 527. Time
 gram 18. In further aspects , Instruction Set 526 includes one information can be useful in comparisons or decision mak
 or more inputs into and /or outputs from Avatar 605 , Appli ing performed in autonomous Avatar 605 operation related
 cation Program 18 , Processor 11 , and /or other processing 10 to a specific time period . For example , Extra Info 527 may
 element. In further aspects , Instruction Set 526 includes one        include time information related to when Avatar 605 per
 ormore values or states of registers and /or other components         formed an operation . Time information can be obtained from
 of Processor 11 and/ or other processing element. In general,         the system clock , online clock , oscillator, or other time
 Instruction Set 526 may include one or more instructions,             source. In other aspects , location information ( i.e. coordi
 commands, keywords, symbols ( i.e. parentheses, brackets, 15 nates, etc.) can be utilized and /or stored in Extra Info 527.
 commas, semicolons, etc.), operators (i.e. 5 , > , etc. ),            Location information can be useful in comparisons or deci
 variables, values, objects, data structures , functions ( i.e.        sion making performed in autonomous Avatar 605 operation
 Function1( ), FIRST ( ) , MIN ( ) , SQRT ( ), etc. ), parameters,     related to a specific place. For example , Extra Info 527 may
 states, signals, inputs , outputs, characters , digits , references   include location information related to where Avatar 605
 thereto , and /or other components . Therefore, the terms 20 performed an operation . Location information can be
 instruction set, command , instruction , signal, or other such obtained from Application Program’s 18 engine ( i.e. game
 terms may be used interchangeably herein depending on engine in which the game is implemented , etc.), runtime
 context.                                                       environment, functions for providing location information
    In an embodiment shown in FIG . 7A , Instruction Set 526 on objects , and /or others as previously described . In further
 includes code of a high -level programming language ( i.e. 25 aspects , computed information can be utilized and /or stored
 Java, C ++, etc.) comprising the following function call in Extra Info 527. Computed information can be useful in
 construct :     Function1        (Parameter ,        Parameter2 ,     comparisons or decision making performed in autonomous
 Parameter3, . ). An example of a function call applying the           Avatar 605 operation where information can be calculated ,
 above construct includes the following Instruction Set 526 : inferred , or estimated from other available information .
 moveTo ( Avatar, 11, 23 ). The function or reference thereto 30 ACAAO Unit 100 may include computational functional
 “ moveTo ( Avatar, 11 , 23 )” may be an Instruction Set 526 ities to create Extra Info 527 by performing calculations,
 directing Avatar 605 to move to a location with coordinates inferences , or estimations using other information . In one
 11 and 23 , for example. In another embodiment shown in example , Avatar's 605 direction ofmovement can be com
 FIG . 7B , Instruction Set 526 includes structured query         puted or estimated using Avatar's 605 location information .
 language ( SQL ). In a further embodiment shown in FIG . 7C , 35 In another example, Avatar's 605 speed can be computed or
 Instruction Set 526 includes bytecode ( i.e. Java bytecode, estimated using Avatar's 605 location and /or time informa
 Python bytecode, CLR bytecode , etc.). In a further embodi tion . In a further example, speeds, directions ofmovement,
 ment shown in FIG . 7D , Instruction Set 526 includes assem      trajectories, distances, and /or other properties of objects
 bly code . In a further embodiment shown in FIG . 7E , around Avatar 605 can similarly be computed or estimated ,
 Instruction Set 526 includes machine code. Instruction Set 40 thereby providing geo -spatial and situational awareness and /
 526 may include any other language or construct in alternate or capabilities to Avatar 605.ACAAO Unit 100 can utilize
 embodiments .                                                    geometry, trigonometry, Pythagorean theorem , and /or other
    Referring to FIGS. 8A -88B , some embodiments of Extra theorems, formulas, or disciplines in its calculations, infer
 Information 527 (also referred to as Extra Info 527 ) are ences, or estimations. In further aspects , visual information
 illustrated. In an embodiment shown in FIG . 8A , Collection 45 can be utilized and /or stored in Extra Info 527. Visual
 of Object Representations 525 may include or be associated information can be useful in comparisons or decision mak
 with Extra Info 527. In an embodiment shown in FIG . 8B , ing performed in autonomous Avatar 605 operation related
 Instruction Set 526 may include or be associated with Extra to an object or environment that can be recognized from
 Info 527 .                                                       visual information . For example , an object or environment
    Extra Info 527 comprises the functionality for storing any 50 can be recognized by processing one or more digital pictures
 information useful in comparisons or decision making per from Picture Renderer 91, visual processor, visual program ,
 formed in autonomous Avatar 605 operation , and /or other             or other visual provider. Any features , functionalities, and
 functionalities . One or more Extra Infos 527 can be stored           embodiments of Picture Recognizer 92 can be utilized for
 in , appended to , or associated with a Collection of Object such recognizing as previously described . For instance, trees
 Representations 525 , Instruction Set 526 , and /or other ele- 55 recognized in the background of one or more digital pictures
 ment. In some embodiments , the system can obtain Extra from Picture Renderer 91 may indicate a park or forest. In
 Info 527 at a time of creating or generating Collection of further aspects, acoustic information can be utilized and /or
 Object Representations 525. In other embodiments , the stored in Extra Info 527. Acoustic information can be useful
 system can obtain Extra Info 527 at a time of acquiring in comparisons or decision making performed in autono
 Instruction Set 526. In general, Extra Info 527 can be 60 mous Avatar 605 operation related to a sound or accosting
 obtained at any time. Examples of Extra Info 527 include environment. For example , an object or environment can be
 time information , location information , computed informa recognized by processing digital sound from Sound Ren
 tion , visual information , acoustic information, contextual  derer 96 , sound processor, sound program , or other sound
 information , and /or other information . Any information can provider. Any features , functionalities , and embodiments of
 be utilized that can provide information for enhanced com- 65 Sound Recognizer 97 can be utilized for such recognizing as
 parisons or decision making performed in autonomous Ava previously described . For instance , sound of a horn recog
 tar 605 operation. Which information is utilized and/or               nized in digital sound from Sound Renderer 96 may indicate
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 a proximal vehicle. In further aspects, other information can another example , Knowledgebase 530 (later described ) can
 be utilized and / or stored in Extra Info 527. Examples of such  reside on Server 96 and the rest of the elements of ACAAO
 other information include user specific information ( i.e. skill Unit 100 can reside on Computing Device 70. Any other
 level, age, gender, etc.), group user information (i.e. access combination of local and remote elements can be imple
 level, etc.), version of Application Program 18 , type of 5 mented .
 Application Program 18, type of Avatar 605, name of Avatar         Referring to FIG . 11 , an embodiment of Artificial Intel
 605 , allegiance of Avatar 605 , type of Processor 11, type of ligence Unit 110 is illustrated . Artificial Intelligence Unit
 Computing Device 70 , and /or other information all ofwhich 110 comprises interconnected Knowledge Structuring Unit
 can be obtained from various devices, systems, repositories, 520 , Knowledgebase 530 , Decision -making Unit 540 , and
 functions, or elements of Computing Device 70 , Processor 10 Confirmation Unit 550. Other additional elements can be
 11, Application Program 18 , Avatar 605 , and /or other pro      included as needed , or some of the disclosed ones can be
 cessing elements.                                                excluded , or a combination thereof can be utilized in alter
    Referring to FIG . 9 , an embodiment where ACAAO Unit nate embodiments .
 100 is part of or operating on Processor 11 is illustrated . In     Artificial Intelligence Unit 110 comprises the functional
 one example, ACAAO Unit 100 may be a hardware element 15 ity for learning Avatar's 605 operation in circumstances
 or circuit embedded or built into Processor 11. In another         including objects with various properties. Artificial Intelli
 example, ACAAO Unit 100 may be a program operating on              gence Unit 110 comprises the functionality for learning one
 Processor 11 .                                                 or more collections of object representations correlated with
    Referring to FIG . 10 , an embodimentwhere ACAAO Unit any instruction sets , data, and/ or other information . In some
  100 resides on Server 96 accessible over Network 95 is 20 aspects, Artificial Intelligence Unit 110 comprises the func
 illustrated . Any number of Computing Devices 70 , Proces      tionality for learning one or more Collections of Object
 sors 11, Application Programs 18 , and/or other elements Representations 525 representing Objects 615 in Avatar's
 may connect to such remote ACAAO Unit 100 and the 605 surrounding correlated with any Instruction Sets 526
 remote ACAAO Unit 100 may learn operations of their and /or Extra Info 527. The Instruction Sets 526 may be used
 Avatars 605 in circumstances including objects with various 25 or executed in operating Avatar 605. In other aspects,
  properties. In turn , any number of Computing Devices 70 , Artificial Intelligence Unit 110 comprises the functionality
  Processors 11, Application Programs 18 , and /or other ele for learning one ormore Collections of Object Representa
 ments can utilize the remote ACAAO Unit 100 for autono           tions 525 representing Objects 615 in Avatar's 605 sur
 mous operation of their Avatars 605. A remote ACAAO Unit rounding some of which may not be correlated with any
  100 can be offered as a network service ( i.e. online appli- 30 Instruction Sets 526 and /or Extra Info 527. Further, Artificial
 cation, etc.). In some aspects , a remote ACAAO Unit 100 Intelligence Unit 110 comprises the functionality for antici
 ( i.e. global ACAAO Unit 100 , etc.) may reside on the pating Avatar's 605 operation in circumstances including
  Internet and be available to all the world's Computing objects with various properties. Artificial Intelligence Unit
 Devices 70 , Processors 11, Application Programs 18 , and /or 110 comprises the functionality for anticipating one or more
  other elements configured to transmit operations of their 35 instruction sets , data , and/or other information . Artificial
  Avatars 605 in circumstances including objects with various Intelligence Unit 110 comprises the functionality for antici
  properties and /or configured to utilize the remote ACAAO pating one or more Instruction Sets 526 ( i.e. anticipatory
 Unit 100 for autonomous operation of their Avatars 605. For Instruction Sets 526 , etc.) based on one or more incoming
  example , multiple players ( i.e. Users 50 , etc.) may operate Collections of Object Representations 525 representing
 their Avatars 605 in a computer game ( i.e. Application 40 Objects 615 in Avatar's 605 surrounding . The one ormore
  Program 18 , etc. ) running on their respective Computing Instruction Sets 526 ( i.e. anticipatory Instruction Sets 526 ,
 Devices 70 where the Computing Devices 70 and /or ele            etc.) may be used or executed in Avatar's 605 autonomous
 ments thereof may be configured to transmit Avatar's 605 operation . In some embodiments of Application Programs
  operations in circumstances including objects with various 18 that do not comprise Avatar 605 or rely on Avatar 605 for
 properties to a remote ACAAO Unit 100. Such remote 45 their operation , Artificial Intelligence Unit 110 comprises
  ACAAO Unit 100 enables learning of the players ' collective the functionality for learning Application Program's 18
 knowledge of operating Avatar 605 in circumstances includ operation in circumstances including objects with various
  ing objects with various properties . Server 96 may be or properties similar to the learning functionalities described
 include any type or form of a remote computing device such with respect to Avatar 605. Also , in such embodiments ,
  as an application server, a network service server, a cloud 50 Artificial Intelligence Unit 110 comprises the functionality
  server, a cloud , and /or other remote computing device . for anticipating Application Program's 18 operation in cir
 Server 96 may include any features , functionalities , and cumstances including objects with various properties similar
 embodiments of Computing Device 70. It should be under           to the anticipating functionalities described with respect to
 stood that Server 96 does not have to be a separate com          Avatar 605. Artificial Intelligence Unit 110 also comprises
 puting device and that Server 96 , its elements, or its func- 55 other disclosed functionalities .
 tionalities can be implemented on Computing Device 70 .             Knowledge Structuring Unit 520 , Knowledgebase 530 ,
 Network 95 may include various networks, connection and Decision -making Unit 540 are described later.
 types, protocols, interfaces, APIs , and /or other elements or      Confirmation Unit 550 comprises the functionality for
 techniques known in art all ofwhich are within the scope of confirming, modifying, evaluating ( i.e. rating, etc. ), and /or
 this disclosure. Any of the previously described networks, 60 canceling one or more anticipatory Instruction Sets 526 ,
 network or connection types, networking interfaces, and /or and/ or other functionalities. Confirmation Unit 550 is an
 other networking elements or techniques can similarly be optional element that can be omitted depending on imple
 utilized . Any of the disclosed elements can reside on Server    mentation . In some embodiments, Confirmation Unit 550
 96 in alternate implementations. In one example , Artificial can serve as a means of confirming anticipatory Instruction
 Intelligence Unit 110 can reside on Server 96 and Acquisi- 65 Sets 526. For example , Decision -making Unit 540 may
 tion Interface 120 ,Modification Interface 130 , and / or Object determine one or more anticipatory Instruction Sets 526 and
 Processing Unit 140 can reside on Computing Device 70. In provide them to User 50 for confirmation . User 50 may be
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 provided with an interface ( i.e. graphical user interface, in order to provide an uninterrupted operation of Avatar 605 ,
 selectable list of anticipatory Instruction Sets 526 , etc.) to Processor 11 , and/or Application Program 18. For example ,
 approve or confirm execution of the anticipatory Instruction a form based application may be suitable for implementing
 Sets 526. In some aspects, Confirmation Unit 550 can the user confirmation step ,whereas, a game application may
 automate User 50 confirmation . In one example , if one or 5 be less suitable for implementing such interrupting step due
 more incoming Collections of Object Representations 525 to the real time nature of game application's operation .
 from Object Processing Unit 140 and one or more Collec            Referring to FIG . 12 , an embodiment of Knowledge
  tions of Object Representations 525 from a Knowledge Cell Structuring Unit 520 correlating individual Collections of
 800 were found to be a perfect or highly similar match , Object Representations 525 with any Instruction Sets 526
 anticipatory Instruction Sets 526 correlated with the one or 10 and /or Extra Info 527 is illustrated . Knowledge Structuring
 more Collections of Object Representations 525 from the Unit 520 comprises the functionality for structuring the
 Knowledge Cell 800 can be automatically executed without           knowledge of Avatar's 605 operation in circumstances
 User's 50 confirmation . Conversely , if one or more incom   including objects with various properties, and /or other func
 ing Collections of Object Representations 525 from Object tionalities. Knowledge Structuring Unit 520 comprises the
 Processing Unit 140 and one or more Collections of Object 15 functionality for correlating one or more Collections of
 Representations 525 from a Knowledge Cell 800 were found Object Representations 525 representing Objects 615 in
  to be less than a highly similar match , anticipatory Instruc Avatar's 605 surrounding with any Instruction Sets 526
  tion Sets 526 correlated with the one or more Collections of and/or Extra Info 527. The Instruction Sets 526 may be used
 Object Representations 525 from the Knowledge Cell 800 or executed in operating Avatar 605. Knowledge Structuring
  can be presented to User 50 for confirmation and /or modi- 20 Unit 520 comprises the functionality for creating or gener
 fying. Any features , functionalities, and/or embodiments of ating Knowledge Cell 800 and storing one or more Collec
  Similarity Comparison 125 ( later described ) can be utilized tions of Object Representations 525 correlated with any
  for such similarity determination. In other embodiments, Instruction Sets 526 and/ or Extra Info 527 into the Knowl
  Confirmation Unit 550 can serve as a means ofmodifying or edge Cell 800. As such , Knowledge Cell 800 comprises the
 editing anticipatory Instruction Sets 526. For example , Deci- 25 functionality for storing one or more Collections of Object
 sion -making Unit 540 may determine one or more antici Representations 525 correlated with any Instruction Sets 526
 patory Instruction Sets 526 and provide them to User 50 for and/or Extra Info 527. Knowledge Cell 800 includes knowl
 modification .User 50 may be provided with an interface ( i.e. edge (i.e. unit of knowledge , etc.) of how Avatar 605
  graphical user interface , etc.) to modify the anticipatory operated in a circumstance including objects with various
 Instruction Sets 526 before their execution . In further 30 properties. Once created or generated ,Knowledge Cells 800
  embodiments, Confirmation Unit 550 can serve as a means can be used in /as neurons, nodes, vertices , or other elements
 of evaluating or rating anticipatory Instruction Sets 526 if in any of the data structures or arrangements ( i.e. neural
 they matched User's 50 intended operation . For example, networks , graphs, sequences, etc.) used for storing the
 Decision -making Unit 540 may determine one or more knowledge of Avatar's 605 operation in circumstances
 anticipatory Instruction Sets 526 , which the system may 35 including objects with various properties, thereby facilitat
 automatically execute. User 50 may be provided with an ing learning functionalities herein . It should be noted that
 interface ( i.e. graphical user interface , etc.) to rate ( i.e. on a Extra Info 527 may be optionally used in some implemen
  scale from 0 to 1, etc.) how well Decision -making Unit 540 tations to enable enhanced comparisons or decision making
 predicted the executed anticipatory Instruction Sets 526. In in autonomous Avatar 605 operation where applicable, and
  some aspects, rating can be automatic and based on a 40 that Extra Info 527 can be omitted in alternate implemen
 particular function ormethod that rates how well the antici         tations .
 patory Instruction Sets 526 matched the desired operation .             In some embodiments , Knowledge Structuring Unit 520
  In one example , a rating function or method can assign a receives one or more Collections of Object Representations
  higher rating to anticipatory Instruction Sets 526 that were 525 from Object Processing Unit 140. Knowledge Structur
  least modified in the confirmation process . In another 45 ing Unit 520 may also receive one or more Instruction Sets
  example, a rating function or method can assign a higher 526 from Acquisition Interface 120. Knowledge Structuring
  rating to anticipatory Instruction Sets 526 that were canceled Unit 520 may further receive any Extra Info 527. Although ,
  least number of times by User 50. Any other automatic Extra Info 527 is not shown in this and/or other figures for
  rating function or method can be utilized . In yet other clarity of illustration , it should be noted that any Collection
 embodiments, Confirmation Unit 550 can serve as a means 50 of Object Representations 525 , Instruction Set 526 , and /or
  of canceling anticipatory Instruction Sets 526 if they did not other elementmay include or be associated with Extra Info
 match User's 50 intended operation . For example , Decision          527. Knowledge Structuring Unit 520 may correlate one or
 making Unit 540 may determine one or more anticipatory more Collections of Object Representations 525 with any
  Instruction Sets 526 , which the system may automatically Instruction Sets 526 and/or Extra Info 527. Knowledge
 execute. The system may save the state of Computing 55 Structuring Unit 520 may then create Knowledge Cell 800
 Device 70, Processor 11 (save its register values, etc.), and store the one or more Collections of Object Represen
  Application Program 18 (i.e. save its variables, data struc         tations 525 correlated with Instruction Sets 526 and/or Extra
 tures, objects , location of its current instruction , etc.), Avatar Info 527 into the Knowledge Cell 800. Knowledge Cell 800
 605 , and/or other processing elements before executing may include any data structure or arrangement that can
 anticipatory Instruction Sets 526. User 50 may be provided 60 facilitate such storing. For example , Knowledge Structuring
 with an interface ( i.e. graphicaluser interface , selectable list Unit 520 may create Knowledge Cell 800ax and structure
 of prior executed anticipatory Instruction Sets 526 , etc.) to within it Collection of Object Representations 525al corre
 cancel one or more of the prior executed anticipatory lated with Instruction Sets 526a1-526a3 and / or any Extra
  Instruction Sets 526 , and restore Computing Device 70 , Info 527 (not shown). Knowledge Structuring Unit 520 may
 Processor 11 , Application Program 18 , Avatar 605 , and /or 65 further structure within Knowledge Cell 800ax a Collection
  other processing elements to a prior state. In some aspects, of Object Representations 525a2 correlated with Instruction
  Confirmation Unit 550 can optionally be disabled or omitted Set 526a4 and /or any Extra Info 527 (not shown). Knowl
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 edge Structuring Unit 520 may further structure within           Instruction Sets 526 used and /or Extra Info 527 obtained
 Knowledge Cell 800ax a Collection of Object Representa from the time of generating a previous Collection ofObject
 tions 525a3 without a correlated Instruction Set 526 and/ or Representations 525 to the time of generating the Collection
 Extra Info 527. Knowledge Structuring Unit 520 may fur of Object Representations 525. Any other temporal relation
 ther structure within Knowledge Cell 800ax a Collection of 5 ship or correspondence between Collections of Object Rep
 Object Representations 525a4 correlated with Instruction         resentations 525 and correlated Instruction Sets 526 and/ or
 Sets 526a5-526a6 and /or any Extra Info 527 (not shown). Extra Info 527 can be implemented .
 Knowledge Structuring Unit 520 may further structure               In some embodiments, Knowledge Structuring Unit 520
 within Knowledge Cell 800ax a Collection of Object Rep           can structure the knowledge of Avatar's 605 operation in a
 resentations 525a5 without a correlated Instruction Set 526 10 circumstance including objects with various properties into
 and/or Extra Info 527.Knowledge Structuring Unit 520 may any number of Knowledge Cells 800. In some aspects,
 structure within Knowledge Cell 800ax additional Collec Knowledge Structuring Unit 520 can structure into a Knowl
 tions of Object Representations 525 correlated with any edge Cell 800 a single Collection of Object Representations
 number ( including zero [ i.e. uncorrelated ]) of Instruction 525 correlated with any Instruction Sets 526 and/or Extra
 Sets 526 and /or Extra Info 527 by following similar logic as 15 Info 527. In other aspects , Knowledge Structuring Unit 520
 described above.                                                 can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
    In some embodiments, Knowledge Structuring Unit 520 3 , 6 , 9 , 21, 98 , 3210 , 13592 , 513299 , 9147224 , etc.) of
 may correlate a Collection of Object Representations 525 Collections of Object Representations 525 correlated with
 with one or more temporally corresponding Instruction Sets any Instruction Sets 526 and /or Extra Info 527. In a special
 526 and /or Extra Info 527. This way,Knowledge Structuring 20 case, Knowledge Structuring Unit 520 can structure all
 Unit 520 can structure the knowledge of Avatar's 605             Collections of Object Representations 525 correlated with
 operation at or around the time of generating Collections of any Instruction Sets 526 and / or Extra Info 527 into a single
 Object Representations 525. Such functionality enables long Knowledge Cell 800. In further aspects, Knowledge
 spontaneous or seamless learning of Avatar's 605 operation Structuring Unit 520 can structure Collections of Object
 in circumstances including objects with various properties as 25 Representations 525 correlated with any Instruction Sets 526
 Avatar 605 is operated in real time. In some designs , and /or Extra Info 527 into a plurality of Knowledge Cells
 Knowledge Structuring Unit 520 may receive a stream of 800. In a special case, Knowledge Structuring Unit 520 can
 Instruction Sets 526 used or executed to effect Avatar's 605     store periodic streams of Collections of Object Representa
 operations as well as a stream of Collections of Object tions 525 correlated with any Instruction Sets 526 and /or
 Representations 525 representing Objects 615 in Avatar's 30 Extra Info 527 into a plurality of Knowledge Cells 800 such
 605 surrounding as the operations are performed . Knowl as hourly , daily, weekly, monthly, yearly , or other periodic
 edge Structuring Unit 520 can then correlate Collections of Knowledge Cells 800.
 Object Representations 525 from the stream of Collections          Referring to FIG . 13 , another embodiment of Knowledge
 of Object Representations 525 with temporally correspond Structuring Unit 520 correlating individual Collections of
 ing Instruction Sets 526 from the stream of Instruction Sets 35 Object Representations 525 with any Instruction Sets 526
 526 and/or any Extra Info 527. Collections of Object Rep and /or Extra Info 527 is illustrated . In such embodiments,
 resentations 525 without a temporally corresponding Knowledge Structuring Unit 520 may generate Knowledge
 Instruction Set 526 may be uncorrelated , for instance . In Cells 800 each comprising a single Collection of Object
 some aspects , Instruction Sets 526 and /or Extra Info 527 that Representations 525 correlated with any Instruction Sets 526
 temporally correspond to a Collection of Object Represen- 40 and /or Extra Info 527.
 tations 525 may include Instruction Sets 526 used and /or          Referring to FIG . 14, an embodiment of Knowledge
 Extra Info 527 obtained at the time of generating the Structuring Unit 520 correlating streams of Collections of
  Collection of Object Representations 525. In other aspects , Object Representations 525 with any Instruction Sets 526
 Instruction Sets 526 and /or Extra Info 527 that temporally and/or Extra Info 527 is illustrated . For example, Knowl
 correspond to a Collection of Object Representations 525 45 edge Structuring Unit 520 may create Knowledge Cell
 may include Instruction Sets 526 used and /or Extra Info 527   800ax and structure within it a stream of Collections of
 obtained within a certain time period before and /or after     Object Representations 525a1-525an correlated with
 generating the Collection of Object Representations 525 . Instruction Set 526al and /or any Extra Info 527 (not
 For example , Instruction Sets 526 and/ or Extra Info 527 that shown ). Knowledge Structuring Unit 520 may further struc
 temporally correspond to a Collection of Object Represen- 50 ture within Knowledge Cell 800ax a stream of Collectionsof
 tations 525 may include Instruction Sets 526 used and/or Object Representations 525b1-525bn correlated with
 Extra Info 527 obtained within 50 milliseconds, 1 second , 3 Instruction Sets 526a2-526a4 and /or any Extra Info 527 (not
 seconds, 20 seconds, 1 minute , 41 minutes, 2 hours, or any shown ).Knowledge Structuring Unit 520 may further struc
 other time period before and /or after generating the Collec   ture within Knowledge Cell 800ax a stream of Collections of
 tion of Object Representations 525. Such time periods can 55 Object Representations 525c1-525cn without correlated
 be defined by a user, by ACAAO system administrator, or Instruction Sets 526 and /or Extra Info 527. Knowledge
 automatically by the system based on experience , testing, Structuring Unit 520 may further structure within Knowl
 inquiry , analysis , synthesis, or other techniques, knowledge , edge Cell 800ax a stream of Collections of Object Repre
 or input. In other aspects, Instruction Sets 526 and/or Extra sentations 525d1-525dn correlated with Instruction Sets
 Info 527 that temporally correspond to a Collection of 60 526a5-526a6 and/or any Extra Info 527 (not shown ).
 Object Representations 525 may include Instruction Sets          Knowledge Structuring Unit 520 may further structure
 526 used and /or Extra Info 527 obtained from the time of        within Knowledge Cell 800ax additional streams of Collec
 generating the Collection of Object Representations 525 to tions of Object Representations 525 correlated with any
 the time of generating a next Collection of Object Repre number ( including zero [ i.e. uncorrelated ]) of Instruction
 sentations 525. In further aspects, Instruction Sets 526 65 Sets 526 and /or Extra Info 527 by following similar logic as
 and/ or Extra Info 527 that temporally correspond to a described above. The number of Collections of Object
 Collection of Object Representations 525 may include Representations 525 in some or all streams of Collections of
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 Object Representations 525a1-525an , 525b1-525bn, 525c1          operation in circumstances including objects with various
 525cn , 525d1-525dn , etc. may be equal or different. It properties learned or stored on the originating Computing
 should be noted that n or other such letters or indicia may Device 70 or ACAAO Unit 100 .
 follow the sequence and /or context where they are indicated .    In some embodiments ,multiple Knowledgebases 530 (i.e.
 Also , a same letter or indicia such as n may represent a 5 Knowledgebases 530 from different Computing Devices 70
 different number in different sequences or elements of a or ACAAO Units 100 , etc.) can be combined to accumulate
 drawing                                                        collective knowledge of operating Avatar 605 in circum
   Referring to FIG . 15, another embodiment of Knowledge         stances including objects with various properties. In one
 Structuring Unit 520 correlating streams of Collections of       example , one Knowledgebase 530 can be appended to
 Object Representations 525 with any Instruction Sets 526 10 another Knowledgebase 530 such as appending one Collec
 and/ or Extra Info 527 is illustrated . In such embodiments, tion of Sequences 530c ( later described ) to another Collec
 Knowledge Structuring Unit 520 may generate Knowledge tion of Sequences 530c, appending one Sequence 533 ( later
 Cells 800 each comprising a single stream ofCollections of described ) to another Sequence 533 , appending one Collec
 Object Representations 525 correlated with any Instruction tion of Knowledge Cells 530d (later described ) to another
 Sets 526 and / or Extra Info 527 .                           15 Collection of Knowledge Cells 530d, and /or appending
   Knowledgebase 530 comprises the functionality for stor        other data structures or elements thereof. In another
  ing knowledge of Avatar's 605 operation in circumstances example , one Knowledgebase 530 can be copied into
 including objects with various properties , and/or other func another Knowledgebase 530 such as copying one Collection
 tionalities . Knowledgebase 530 comprises the functionality of Sequences 530c into another Collection of Sequences
 for storing one or more Collections of Object Representa- 20 530c, copying one Collection of Knowledge Cells 530d into
 tions 525 representing Objects 615 in Avatar's 605 sur another Collection of Knowledge Cells 530d , and /or copy
 rounding correlated with any Instruction Sets 526 and/or         ing other data structures or elements thereof. In a further
 Extra Info 527. The Instruction Sets 526 ay be used or           example , in the case ofKnowledgebase 530 being or includ
 executed in operating Avatar 605. Knowledgebase 530 com       ing Graph 530b or graph - like data structure ( i.e. Neural
 prises the functionality for storing one or more Knowledge 25 Network 530a , tree, etc.), a union can be utilized to combine
 Cells 800 each including one ormore Collections of Object two or more Graphs 530b or graph -like data structures. For
 Representations 525 correlated with any Instruction Sets 526 instance , a union of two Graphs 530b or graph -like data
 and / or Extra Info 527. In some aspects, Collections of structures may include a union of their vertex ( i.e. node , etc.)
 Object Representations 525 correlated with Instruction Sets sets and their edge ( i.e. connection , etc.) sets . Any other
 526 and /or Extra Info 527 can be stored directly within 30 operations or combination thereof on graphs or graph -like
 Knowledgebase 530 without using Knowledge Cells 800 as data structures can be utilized to combine Graphs 530b or
 the intermediary data structures . In some embodiments, graph - like data structures . In a further example, one Knowl
 Knowledgebase 530 may be or include Neural Network edgebase 530 can be combined with another Knowledgebase
 530a ( later described ). In other embodiments , Knowledge 530 through later described learning processes where
 base 530 may be or include Graph 530b (later described ). In 35 Knowledge Cells 800 may be applied one at a time and
 further embodiments, Knowledgebase 530 may be or connected with prior and / or subsequent Knowledge Cells
 include Collection of Sequences 530c ( later described ). In 800 such as in Graph 530b or Neural Network 530a . In such
  further embodiments, Knowledgebase 530 may be or embodiments, instead ofKnowledge Cells 800 generated by
 include Sequence 533 ( later described ). In further embodi Knowledge Structuring Unit 520 , the learning process may
 ments , Knowledgebase 530 may be or include Collection of 40 utilize Knowledge Cells 800 from one Knowledgebase 530
 Knowledge Cells 530d ( later described ). In general, Knowl to apply them onto another Knowledgebase 530. Any other
 edgebase 530 may be or include any data structure or techniques known in art including custom techniques for
 arrangement capable of storing knowledge of Avatar's 605 combining data structures can be utilized for combining
 operation in circumstances including objects with various Knowledgebases 530 in alternate implementations. In any of
 properties. Knowledgebase 530 may reside locally on Com- 45 the aforementioned and /or other combining techniques,
 puting Device 70 , or remotely (i.e. remote Knowledgebase similarity of elements ( i.e. nodes/ vertices, edges/connec
 530 , etc. ) on a remote computing device ( i.e. server , cloud, tions , etc. ) can be utilized in determining whether an ele
  etc.) accessible over a network or an interface.                ment from one Knowledgebase 530 matches an element
     In some embodiments , Knowledgebase 530 from one from another Knowledgebase 530 , and substantially or
 Computing Device 70 or ACAAO Unit 100 can be trans- 50 otherwise similar elements may be considered a match for
 ferred to one or more other Computing Devices 70 or combining purposes in some designs . Any features, func
 ACAAO Units 100. Therefore, the knowledge of Avatar's tionalities, and embodiments of Similarity Comparison 125
 605 operation in circumstances including objects with vari ( later described ) can be used in such similarity determina
 ous properties learned and /or stored on one Computing tions . A combined Knowledgebase 530 can be offered as a
 Device 70 or ACAAO Unit 100 can be transferred to one or 55 network service (i.e. online application , etc.), downloadable
 more other Computing Devices 70 or ACAAO Units 100. In file , or other repository to all ACAAO Units 100 configured
 one example, Knowledgebase 530 can be copied or down             to utilize the combined Knowledgebase 530. For example, a
 loaded to a file or other repository from one Computing          computer game ( i.e. Application Program 18 , etc.) including
 Device 70 or ACAAO Unit 100 and loaded or inserted into          or interfaced with ACAAO Unit 100 having access to a
 another Computing Device 70 or ACAAO Unit 100. In 60 combined Knowledgebase 530 can use a collective knowl
 another example , Knowledgebase 530 from one Computing           edge for Avatar's 605 operation in circumstances including
 Device 70 or ACAAO Unit 100 can be available on a server        objects with various properties learned from multiple play
 accessible by other Computing Devices 70 or ACAAO Units         ers ( i.e. Users 50 , etc.) for Avatar's 605 autonomous opera
 100 over a network or an interface. Once loaded into or          tion .
 accessed by a receiving Computing Device 70 or ACAAO 65 Referring to FIG . 16 , the disclosed artificially intelligent
 Unit 100 , the receiving Computing Device 70 or ACAAO devices, systems, and methods for learning and /or using an
 Unit 100 can then implement the knowledge of Avatar's 605 avatar's circumstances for autonomous avatar operation
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 may include various artificial intelligence models and /or graph can be utilized as a predictive modeling approach in
 techniques. The disclosed devices, systems, and methods are machine learning. Nodes 852 , Connections 853 , and /or other
 independent of the artificial intelligence model and /or tech         elements or operations of a graph may include any features,
 nique used and any model and /or technique can be utilized functionalities , and embodiments of the aforementioned
 to facilitate the functionalities described herein . Examples of 5 Nodes 852 , Connections 853 , and /or other elements or
 these models and/or techniques include deep learning, operations of a neural network , and vice versa. An exem
 supervised learning , unsupervised learning, neural networks plary embodiment of a graph (i.e. Graph 530b , etc.) is
 ( i.e. convolutional neural network , recurrentneuralnetwork , described later.
 deep neural network , etc.), search - based , logic and/or fuzzy         In a further example shown in Model C , the disclosed
 logic -based , optimization -based, tree /graph /other data struc- 10 artificially intelligent devices, systems, and methods for
 ture -based , hierarchical, symbolic and /or sub -symbolic , learning and/ or using an avatar's circumstances for autono
 evolutionary, genetic, multi-agent, deterministic , probabilis        mous avatar operation may include a tree or tree -like data
 tic, statistical, and /or other models and /or techniques.            structure . As such ,machine learning, knowledge structuring
     In one example shown in Model A , the disclosed artifi or representation , decision making , pattern recognition , and /
 cially intelligent devices, systems, and methods for learning 15 or other artificial intelligence functionalities may include
 and /or using an avatar's circumstances for autonomous Nodes 852 and Connections 853 (also referred to as refer
 avatar operation may include a neuralnetwork ( also referred ences, edges, etc.) organized as a tree . In general, a Node
 to as artificial neural network , etc.). As such , machine         852 in a tree can be connected to any number (i.e. including
 learning, knowledge structuring or representation , decision       zero , etc.) of children Nodes 852. A tree can be utilized as
 making, pattern recognition , and /or other artificial intelli- 20 a predictive modeling approach in machine learning. Nodes
  gence functionalities may include a network of Nodes 852 852, Connections 853, and/or other elements or operations
  (also referred to as neurons, etc.) and Connections 853 of a tree may include any features, functionalities , and
  similar to that of a brain . Node 852 can store any data , embodiments of the aforementioned Nodes 852, Connec
 object, data structure, and /or other item , or reference thereto . tions 853 , and /or other elements or operations of a neural
 Node 852 may also include a function for transforming or 25 network and /or graph , and vice versa.
 manipulating any data , object, data structure , and/or other          In a further example shown in Model D , the disclosed
  item . Examples of such transformation functions include artificially intelligent devices, systems, and methods for
 mathematical functions (i.e. addition , subtraction , multipli      learning and/or using an avatar's circumstances for autono
  cation , division , sin , cos, log, derivative , integral, etc. ), mous avatar operation may include a sequence or sequence
 object manipulation functions ( i.e. creating an object, modi- 30 like data structure . As such , machine learning, knowledge
  fying an object, deleting an object, appending objects , etc.) , structuring or representation , decision making , pattern rec
 data structure manipulation functions ( i.e. creating a data ognition , and /or other artificial intelligence functionalities
  structure , modifying a data structure , deleting a data struc may include a str ure of Nodes 852 and / or Connections
 ture , creating a data field , modifying a data field , deleting a 853 organized as a sequence . In some aspects, Connections
 data field , etc.), and /or other transformation functions. Con- 35 853 may be optionally omitted from a sequence as the
 nection 853 may include or be associated with a value such sequential order of Nodes 852 in a sequence may be implied
 as a symbolic label or numeric attribute (i.e. weight, cost, in the structure . A sequence can be utilized as a predictive
 capacity, length , etc.). A computational model can be uti modeling approach in machine learning. Nodes 852, Con
  lized to compute values from inputs based on a pre-pro             nections 853, and / or other elements or operations of a
 grammed or learned function or method . For example , a 40 sequence may include any features, functionalities, and
 neural network may include one ormore input neurons that embodiments of the aforementioned Nodes 852 , Connec
 can be activated by inputs. Activations of these neurons can tions 853, and /or other elements or operations of a neural
  then be passed on, weighted , and transformed by a function network , graph , and /or tree, and vice versa . An exemplary
  to other neurons . Neural networks may range from those embodiment of a sequence ( i.e. Collection of Sequences
 with only one layer of single direction logic to multi-layer of 45 530c, Sequence 533, etc.) is described later .
 multi-directional feedback loops. A neural network can use             In yet another example , the disclosed artificially intelli
 weights to change the parameters of the network's through           gent devices, systems, and methods for learning and/or using
 put. A neural network can learn by input from its environ an avatar's circumstances for autonomous avatar operation
 ment or from self-teaching using written -in rules. A neural may include a search -based model and /or technique . As
 network can be utilized as a predictive modeling approach in 50 such , machine learning, knowledge structuring or represen
 machine learning. An exemplary embodiment of a neural tation , decision making , pattern recognition , and /or other
 network ( i.e. Neural Network 530a , etc.) is described later. artificial intelligence functionalities may include searching
     In another example shown in Model B , the disclosed through a collection of possible solutions. For example , a
 artificially intelligent devices, systems, and methods for search method can search through a neural network , graph ,
 learning and /or using an avatar's circumstances for autono- 55 tree , sequence, or other data structure that includes data
 mous avatar operation may include a graph or graph - like elements of interest. A search may use heuristics to limit the
 data structure. As such , machine learning, knowledge struc       search for solutions by eliminating choices that are unlikely
 turing or representation , decision making , pattern recogni to lead to the goal. Heuristic techniques may provide a best
 tion , and / or other artificial intelligence functionalities may guess solution. A search can also include optimization . For
 include Nodes 852 (also referred to as vertices or points, 60 example, a search may begin with a guess and then refine the
  etc.) and Connections 853 (also referred to as edges, arrows, guess incrementally until no more refinements can be made .
 lines, arcs, etc. ) organized as a graph . In general, any Node In a further example , the disclosed systems, devices, and
 852 in a graph can be connected to any other Node 852. A methods may include logic -based model and/or technique .
 Connection 853 may include unordered pair of Nodes 852 in As such , machine learning, knowledge structuring or repre
 an undirected graph or ordered pair of Nodes 852 in a 65 sentation , decision making, pattern recognition , and /or other
 directed graph . Nodes 852 can be partof the graph structure artificial intelligence functionalities can use formal or other
 or external entities represented by indices or references. A type of logic . Logic based models may involve making
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  inferences or deriving conclusions from a set of premises . As Also , the weight of Connection 853z2 can be calculated or
 such , a logic based system can extend existing knowledge or determined as 15 /( 10 + 15 ) = 0.6 , for example . Therefore , the
 create new knowledge automatically using inferences . sum of weights of Connection 853z1, Connection 853z2 ,
 Examples of the types of logic that can be utilized include and/ or any other Connections 853 originating from Knowl
 propositional or sentential logic that comprises logic of 5 edge Cell 800za may equal to 1 or 100 % . As shown for
 statements which can be true or false ; first-order logic that example in FIG . 17B , in the case that Knowledge Cell 800zd
 allows the use of quantifiers and predicates and that can is inserted and an observation is made that Knowledge Cell
 express facts about objects, their properties, and their rela    800zd follows Knowledge Cell 800za , Connection 853z3
  tionswith each other; fuzzy logic that allows degrees of truth can be created between Knowledge Cell 800za and Knowl
 to be represented as a value between 0 and 1 rather than 10 edge Cell 800zd . The occurrence count of Connection 853z3
 simply 0 ( false ) or 1 (true), which can be used for uncertain can be set to 1 and weight determined as 1/ ( 10+
  reasoning; subjective logic that comprises a type of proba      15 + 1 ) = 0.038. The weights of all other connections ( i.e.
 bilistic logic that may take uncertainty and belief into Connection 853z1 , Connection 853z2 , etc.) originating from
 account, which can be suitable for modeling and analyzing Knowledge Cell 800za may be updated to account for the
 situations involving uncertainty , incomplete knowledge, and 15 creation of Connection 853z3. Therefore , the weight of
 different world views; and /or other types of logic . In a Connection 853zl can be updated as 10 /( 10 + 15 + 1) = 0.385 .
  further example, the disclosed systems, devices, and meth        The weight of Connection 853z2 can also be updated as
 ods may include a probabilistic model and / or technique . As 15 /( 10 + 15 + 1 ) = 0.577 . As shown for example in FIG . 17C , in
 such , machine learning, knowledge structuring or represen the case that an additional occurrence of Connection 853z1
 tation , decision making, pattern recognition , and/or other 20 is observed ( i.e. Knowledge Cell 800zb followed Knowl
 artificial intelligence functionalities can be implemented to edge Cell 800za , etc.), occurrence count of Connection
 operate with incomplete or uncertain information where 853z1 and weights of all connections ( i.e. Connection 853z1 ,
 probabilities may affect outcomes . Bayesian network , Connection 853z2 , and Connection 853z3, etc.) originating
 among other models , is an example of a probabilistic tool from Knowledge Cell 800za may be updated to account for
 used for purposes such as reasoning , learning, planning , 25 this observation . The occurrence count of Connection 853z1
 perception , and /or others . One of ordinary skill in art will can be increased by 1 and its weight updated as 11/( 11 + 15 +
 understand that the aforementioned artificial intelligence 1 ) = 0.407. The weight of Connection 853z2 can also be
 models and /or techniques are described merely as examples updated as 15/( 11 + 15 + 1 )= 0.556 . The weight of Connection
 of a variety of possible implementations, and that while all 853z3 can also be updated as 1/(11 + 15 + 1) = 0.037 .
 possible artificial intelligence models and /or techniques are 30 Referring to FIG . 18 , an embodiment of learning Knowl
  too voluminous to describe , other artificial intelligence edge Cells 800 comprising one or more Collections of
 models and/or techniques known in art are within the scope Object Representations 525 correlated with any Instruction
 of this disclosure. One of ordinary skill in art will also Sets 526 and / or Extra Info 527 using Collection of Knowl
 recognize that an intelligent system may solve a specific edge Cells 530d is illustrated . Collection of Knowledge
 problem by using any model and /or technique that works 35 Cells 530d comprises the functionality for storing any
 such as, for example , some systems can be symbolic and number of Knowledge Cells 800. In some aspects , Knowl
  logical, some can be sub -symbolic neural networks, some edge Cells 800 may be stored into or applied onto Collection
 can be deterministic or probabilistic, some can be hierar of Knowledge Cells 530d in a learning or training process .
 chical, some may include searching techniques, some may In effect, Collection of Knowledge Cells 530d may store
 include optimization techniques, while others may use other 40 Knowledge Cells 800 that can later be used to enable
 or a combination of models and/or techniques. In general, autonomous Avatar 605 operation. In some embodiments,
 any artificial intelligence model and/or technique can be          Knowledge Structuring Unit 520 structures or generates
 utilized that can facilitate the functionalities described Knowledge Cells 800 as previously described and the sys
 herein .                                                      tem applies them onto Collection of Knowledge Cells 530d ,
    Referring to FIGS. 17A - 17C , embodiments of intercon- 45 thereby implementing learning Avatar's 605 operation in
 nected Knowledge Cells 800 and updating weights of Con        circumstances including objects with various properties. The
 nections 853 are illustrated . As shown for example in FIG . term apply or applying may refer to storing , copying ,
 17A , Knowledge Cell 800za is connected to Knowledge inserting, updating , or other similar action , therefore , these
  Cell 800zb and Knowledge Cell 800zc by Connection 853z1 terms may be used interchangeably herein depending on
 and Connection 853z2, respectively . Each of Connection 50 context. The system can perform Similarity Comparisons
  853z1 and Connection 853z2 may include or be associated 125 (later described ) of a newly structured Knowledge Cell
 with occurrence count, weight, and/ or other parameters or 800 from Knowledge Structuring Unit 520 with Knowledge
 data . The number of occurrences may track or store the Cells 800 in Collection of Knowledge Cells 530d . If a
 number of observations that a Knowledge Cell 800 was substantially similar Knowledge Cell 800 is not found in
  followed by another Knowledge Cell 800 indicating a con- 55 Collection of Knowledge Cells 530d ,the system may insert
 nection or relationship between them . For example , Knowl ( i.e. copy , store , etc.) the Knowledge Cell 800 from Knowl
 edge Cell 800za was followed by Knowledge Cell 800zb 10 edge Structuring Unit 520 into Collection of Knowledge
 times as indicated by the number of occurrences of Con             Cells 530d , for example . On the other hand , if a substantially
 nection 853z1. Also , Knowledge Cell 800za was followed            similar Knowledge Cell 800 is found in Collection of
 by Knowledge Cell 800zc times as indicated by the number 60 Knowledge Cells 530d, the system may optionally omit
 of occurrences of Connection 853z2 . The weight of Con             inserting the Knowledge Cell 800 from Knowledge Struc
 nection 853z1 can be calculated or determined as the number turing Unit 520 as inserting a substantially similar Knowl
 of occurrences of Connection 853z1 divided by the sum of edge Cell 800 may not add much or any additional knowl
 occurrences of all connections ( i.e. Connection 853z1 and edge to the Collection of Knowledge Cells 530d , for
 Connection 853z2 , etc.) originating from Knowledge Cell 65 example . Also , inserting a substantially similar Knowledge
 800za . Therefore , the weight of Connection 853zl can be Cell 800 can optionally be omitted to save storage resources
 calculated or determined as 10 / (10 + 15 ) = 0.4 , for example . and limit the number of Knowledge Cells 800 thatmay later
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 need to be processed or compared . Any features , function       parameter or data as previously described . Neural Network
 alities, and embodiments of Similarity Comparison 125 ,          530a may include any number of Layers 854 comprising any
 importance index (later described ), similarity index (later     number of Knowledge Cells 800. In some aspects , Neural
 described ), and /or other disclosed elements can be utilized    Network 530a may store Knowledge Cells 800 intercon
 to facilitate determination of substantial or other similarity 5 nected by Connections 853 where following a path through
 and whether to insert a newly structured Knowledge Cell the Neural Network 530a can later be used to enable
 800 into Collection of Knowledge Cells 530d .                    autonomous Avatar 605 operation . It should be understood
    For example , the system can perform Similarity Com           that, in some embodiments , Knowledge Cells 800 in one
 parisons 125 (later described ) of Knowledge Cell 800ba Layer 854 of Neural Network 530a need not be connected
 from Knowledge Structuring Unit 520 with Knowledge 10 only with Knowledge Cells 800 in a successive Layer 854,
 Cells 800 in Collection of Knowledge Cells 530d . In the         but also in any other Layer 854 , thereby creating shortcuts
 case that a substantially similar match is found between         (i.e. shortcut Connections 853 , etc.) through NeuralNetwork
 Knowledge Cell 800ba and any of the Knowledge Cells 800          530a . A Knowledge Cell 800 can also be connected to itself
 in Collection of Knowledge Cells 530d , the system may           such as , for example , in recurrent neural networks . In
 perform no action . The system can then perform Similarity 15 general, any Knowledge Cell 800 can be connected with any
 Comparisons 125 of Knowledge Cell 800bb from Knowl other Knowledge Cell 800 anywhere else in Neural Network
 edge Structuring Unit 520 with Knowledge Cells 800 in            530a . In further embodiments , back -propagation of any data
 Collection of Knowledge Cells 530d . In the case that a          or information can be implemented . In one example , back
 substantially similar match is not found , the system may        propagation of similarity ( i.e. similarity index , etc.) of
 insert a new Knowledge Cell 800 into Collection of Knowl- 20 compared Knowledge Cells 800 in a path through Neural
 edge Cells 530d and copy Knowledge Cell 800bb into the Network 530a can be implemented . In another example ,
 inserted new Knowledge Cell 800. The system can then back -propagation of errors can be implemented. Such back
 perform Similarity Comparisons 125 of Knowledge Cell propagations can then be used to adjust occurrence counts
 800bc from Knowledge Structuring Unit 520 with Knowl and /or weights of Connections 853 for better future predic
 edge Cells 800 in Collection of Knowledge Cells 530d . In 25 tions, for example . Any other back -propagation can be
 the case that a substantially similar match is found between implemented for other purposes. Any combination of Nodes
 Knowledge Cell 800bc and any of the Knowledge Cells 800 852 ( i.e. Nodes 852 comprising Knowledge Cells 800 , etc.),
 in Collection of Knowledge Cells 530d, the system may Connections 853 , Layers 854 , and /or other elements or
 perform no action . The system can then perform Similarity techniques can be implemented in alternate embodiments.
 Comparisons 125 of Knowledge Cell 800bd from Knowl- 30 Neural Network 530a may include any type or form of a
 edge Structuring Unit 520 with Knowledge Cells 800 in neural network known in art such as a feed - forward neural
 Collection of Knowledge Cells 530d . In the case that a network , a back -propagating neural network , a recurrent
 substantially similar match is not found, the system may neural network , a convolutional neural network , deep neural
 insert a new Knowledge Cell 800 into Collection of Knowl network , and /or others including a custom neural network .
 edge Cells 530d and copy Knowledge Cell 800bd into the 35 In some embodiments , Knowledge Structuring Unit 520
 inserted new Knowledge Cell 800. The system can then structures or generates Knowledge Cells 800 and the system
 perform Similarity Comparisons 125 of Knowledge Cell applies them onto Neural Network 530a , thereby imple
 800be from Knowledge Structuring Unit 520 with Knowl menting learning Avatar's 605 operation in circumstances
 edge Cells 800 in Collection of Knowledge Cells 530d . In including objects with various properties . The system can
 the case that a substantially similar match is not found, the 40 perform Similarity Comparisons 125 (later described ) of a
 system may insert a new Knowledge Cell 800 into Collec Knowledge Cell 800 from Knowledge Structuring Unit 520
 tion of Knowledge Cells 530d and copy Knowledge Cell with Knowledge Cells 800 in a Layer 854 of Neural Net
 800be into the inserted new Knowledge Cell 800. Applying work 530a . If a substantially similar Knowledge Cell 800 is
 any additional Knowledge Cells 800 from Knowledge Struc not found in the Layer 854 of Neural Network 530a , the
 turing Unit 520 onto Collection of Knowledge Cells 530d 45 system may insert ( i.e. copy, store , etc.) the Knowledge Cell
 follows similar logic or process as the above -described .       800 from Knowledge Structuring Unit 520 into the Layer
   Referring to FIG . 19 , an embodiment of learning Knowl 854 of Neural Network 530a, and create a Connection 853
 edge Cells 800 comprising one or more Collections of to the inserted Knowledge Cell 800 from a Knowledge Cell
 Object Representations 525 correlated with any Instruction 800 in a prior Layer 854 including assigning an occurrence
 Sets 526 and /or Extra Info 527 using Neural Network 530a 50 count to the new Connection 853, calculating a weightof the
 is illustrated . Neural Network 530a includes a number of new Connection 853 , and updating any other Connections
 neurons or Nodes 852 interconnected by Connections 853 as 853 originating from the Knowledge Cell 800 in the prior
 previously described . Knowledge Cells 800 are shown Layer 854. On the other hand , if a substantially similar
 instead ofNodes 852 to simplify the illustration as Node 852 Knowledge Cell 800 is found in the Layer 854 of Neural
 includes a Knowledge Cell 800, for example. Therefore, 55 Network 530a ,the system may update occurrence count and
 Knowledge Cells 800 and Nodes 852 can be used inter weight of Connection 853 to that Knowledge Cell 800 from
 changeably herein depending on context. It should be noted a Knowledge Cell 800 in a prior Layer 854, and update any
 that Node 852 may include other elements and/or function         other Connections 853 originating from the Knowledge Cell
 alities instead of or in addition to Knowledge Cell 800. In      800 in the prior Layer 854.
 some aspects , Knowledge Cells 800 may be stored into or 60 For example, the system can perform Similarity Com
 applied onto Neural Network 530a individually or collec      parisons 125 (later described ) of Knowledge Cell 800ba
 tively in a learning or training process. In some designs, from Knowledge Structuring Unit 520 with Knowledge
 Neural Network 530a comprises a number of Layers 854 Cells 800 in Layer 854a of NeuralNetwork 530a . In the case
 each of which may include one or more Knowledge Cells that a substantially similar match is found between Knowl
 800. Knowledge Cells 800 in successive Layers 854 can be 65 edge Cell 800ba and Knowledge Cell 800ea , the system may
 connected by Connections 853. Connection 853 may include perform no action since Knowledge Cell 800ea is the initial
 or be associated with occurrence count,weight, and /or other Knowledge Cell 800. The system can then perform Simi
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 larity Comparisons 125 of Knowledge Cell 800bb from       herein depending on context. As such , Similarity Compari
 Knowledge Structuring Unit 520 with Knowledge Cells 800   son 125 may include determining substantial similarity or
 in Layer 854b of Neural Network 530a . In the case that a substantial match of compared elements . Although , substan
 substantially similar match is found between Knowledge tial similarity or substantial match is frequently used herein ,
 Cell 800bb and Knowledge Cell 800eb , the system may 5 it should be understood that any level of similarity , however
 update occurrence count and weight of Connection 853e1 high or low , may be utilized as defined by the rules ( i.e.
 between Knowledge Cell 800ea and Knowledge Cell 800eb , thresholds, etc.) for similarity . The rules for similarity or
 and update weights of other Connections 853 originating similar match can be defined by a user, by ACAAO system
 from Knowledge Cell 800ea as previously described . The administrator, or automatically by the system based on
 system can then perform Similarity Comparisons 125 of 10 experience, testing , inquiry, analysis , synthesis, or other
 Knowledge Cell 800bc from Knowledge Structuring Unit techniques, knowledge, or input. In some designs, Similarity
 520 with Knowledge Cells 800 in Layer 854c of Neural Comparison 125 comprises the functionality to automati
 Network 530a . In the case that a substantially similarmatch cally define appropriately strict rules for determining simi
 is not found , the system may insert Knowledge Cell 800ec larity of the compared elements . Similarity Comparison 125
 into Layer 854c and copy Knowledge Cell 800bc into the 15 can therefore set, reset, and /or adjust the strictness of the
 inserted Knowledge Cell 800ec . The system may also create rules for finding or determining similarity of the compared
 Connection 853e2 between Knowledge Cell 800eb and elements, thereby fine tuning Similarity Comparison 125 so
 Knowledge Cell 800ec with occurrence count of 1 and that the rules for determining similarity are appropriately
 weight calculated based on the occurrence count as previ strict. In some aspects , the rules for determining similarity
 ously described . The system may also update weights of 20 may include a similarity threshold . As such , Similarity
 other Connections 853 (one in this example ) originating Comparison 125 can determine similarity of compared ele
 from Knowledge Cell 800eb as previously described . The ments if their similarity exceeds a similarity threshold . In
 system can then perform Similarity Comparisons 125 of other aspects , the rules for determining similarity may
 Knowledge Cell 800bd from Knowledge Structuring Unit include a difference threshold . As such , Similarity Compari
 520 with Knowledge Cells 800 in Layer 854d of Neural 25 son 125 can determine similarity of compared elements if
 Network 530a . In the case that a substantially similar match their difference is lower than a difference threshold . In
 is not found, the system may insert Knowledge Cell 800ed further aspects, the rules for determining similarity may
 into Layer 854d and copy Knowledge Cell 800bd into the include other thresholds. Similarity Comparison 125 enables
  inserted Knowledge Cell 800ed . The system may also create comparing circumstances including objects with various
  Connection 853e3 between Knowledge Cell 800ec and 30 properties and determining their similarity or match . In one
 Knowledge Cell 800ed with occurrence count of 1 and example , a circumstance including an object located at a
 weight of 1. The system can then perform Similarity Com       distance of 9 m and an angle/bearing of 97 ° relative to
 parisons 125 of Knowledge Cell 800be from Knowledge Avatar 605 may be found similar or matching by Similarity
 Structuring Unit 520 with Knowledge Cells 800 in Layer Comparison 125 to a circumstance including the same or
 854e of Neural Network 530a . In the case that a substan- 35 similar object located at a distance of 8.7 m and an angle/
 tially similar match is not found , the system may insert bearing of 101 ° relative to Avatar 605. In another example ,
 Knowledge Cell 800ee into Layer 854e and copy Knowl a circumstance including an object detected as a female
 edge Cell 800be into the inserted Knowledge Cell 800ee . person may be found similar or matching by Similarity
  The system may also create Connection 853e4 between                 Comparison 125 to a circumstance including an object
 Knowledge Cell 800ed and Knowledge Cell 800ee with 40 detected as a male person . In general, any one or more
 occurrence count of 1 and weight of 1. Applying any properties ( i.e. existence, type, identity , distance , bearing /
 additional Knowledge Cells 800 from Knowledge Structur angle , location , shape /size , activity , etc.) of one or more
 ing Unit 520 onto Neural Network 530a follows similar objects can be utilized for determining similarity or match of
 logic or process as the above -described .                   circumstances including objects with various properties.
   Referring now to Similarity Comparison 125 , Similarity 45 Therefore, Similarity Comparison 125 provides flexibility in
 Comparison 125 comprises the functionality for comparing comparing and determining similarity of a variety of pos
 or matching Knowledge Cells 800 or portions thereof,                 sible circumstances of Avatar 605 .
 and /or other functionalities. Similarity Comparison 125                In some embodiments where compared Knowledge Cells
 comprises the functionality for comparing or matching Col            800 include a single Collection of Object Representations
 lections of Object Representations 525 or portions thereof. 50 525 , in determining similarity of Knowledge Cells 800 ,
 Similarity Comparison 125 comprises the functionality for Similarity Comparison 125 can perform comparison of
 comparing or matching streams of Collections of Object individual Collections of Object Representations 525 or
 Representations 525 or portions thereof. Similarity Com                 portions ( i.e. Object Representations 625 , Object Properties
 parison 125 comprises the functionality for comparing or 630 , etc.) thereofsuch as comparison of Collection ofObject
 matching Object Representations 625 or portions thereof. 55 Representations 525 or portions thereof from one Knowl
 Similarity Comparison 125 comprises the functionality for edge Cell 800 with Collection of Object Representations 525
  comparing or matching Object Properties 630 or portions or portions thereof from another Knowledge Cell 800. In
  thereof. Similarity Comparison 125 comprises the function              some aspects, total equivalence is achieved when Collection
 ality for comparing or matching Instruction Sets 526 , Extra of Object Representations 525 or portions thereof from one
 Info 527 ,text ( i.e. characters , words, phrases , etc.), numbers , 60 Knowledge Cell 800 matches Collection of Object Repre
 and /or other elements or portions thereof. Similarity Com              sentations 525 or portions thereof from another Knowledge
 parison 125 may include functions, rules, and /or logic for Cell 800. If total equivalence is not found , Similarity Com
 performing matching or comparisons and for determining parison 125 may attempt to determine substantial or other
  that while a perfect match is not found , partial or similar similarity of compared Knowledge Cells 800 .
 match has been found . In some aspects, a partial match may 65 In some embodiments, in determining substantial simi
 include a substantially or otherwise similar match , and vice larity of individually compared Collections of Object Rep
 versa . Therefore , these termsmay be used interchangeably resentations 525 ( i.e. Collections of Object Representations
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